Case:Highly
      1:17-md-02804-DAP Doc #:
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                                                                            Review

     1                        UNITED STATES DISTRICT COURT

     2                     FOR THE NORTHERN DISTRICT OF OHIO

     3                               EASTERN DIVISION

     4    IN RE: NATIONAL                 *

     5    PRESCRIPTION                    *     MDL No. 2804

     6    OPIATE LITIGATION               *        Case No.

     7    _____________________           *     1:17-MD-2804

     8    THIS DOCUMENT RELATES           *      Hon. Dan A.

     9    TO ALL CASES                    *        Polster

    10

    11                     THURSDAY, DECEMBER 13, 2018

    12

    13             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER

    14                     CONFIDENTIALITY REVIEW

    15                               – – –

    16             Videotaped deposition of DEANNA STACY AYERS

    17             CHICK, held at the Law Offices of Robbins

    18             Geller Rudman & Dowd, 3424 Peachtree Road, NE,

    19             Suite 1650, Atlanta, Georgia, commencing

    20             at 9:11 a.m., on the above date, before

    21             Lois A. Robinson, Registered Diplomate

    22             Reporter and Certified Realtime Reporter.

    23

    24

    25

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    1          APPEARANCES                                                     1                  INDEX
    2 COUNSEL FOR PLAINTIFFS:
                  LIEFF CABRASER HEIMANN & BERNSTEIN                           2 EXHIBITS                                PAGE
    3             222 2nd Avenue South, Suite 1640
                  Nashville, Tennessee 37201-2379                              3 Mallinckrodt Chick 1                       18
    4             BY: MARK P. CHALOS, ESQUIRE                                  4   Notice of Deposition
                     Mchalos@lchb.com
    5                                                                          5 Mallinckrodt Chick 2                       26
                  LIEFF CABRASER HEIMANN & BERNSTEIN
    6             275 Battery Street, 29th Floor                               6   LinkedIn Profile of Stacy Chick
                  San Francisco, California 94111
    7             BY: PETER ROOS, ESQUIRE                                      7 Mallinckrodt Chick 3                       52
                     Proos@lchb.com
    8                                                                          8   Offer Letter - MNK-T1_0007147310 - MNK-T1_0007147317
      COUNSEL FOR THE TENNESSEE ACTION:
    9     BRANSTETTER, STRANCH & JENNINGS, PLLC                                9 Mallinckrodt Chick 4                       67
          The Freedom Center                                                  10   Separation of Employment Agreement and General Release -
   10     223 Rosa L. Parks Avenue, Suite 200
          Nashville, Tennessee 37203                                          11   MNK-T1_0007147236 - MNK-T1_0007147259
   11     BY: TRICIA HERZFELD, ESQUIRE
             Triciah@bsjfirm.com                                              12 Mallinckrodt Chick 5                       80
   12
      COUNSEL FOR MALLINCKRODT:                                               13   Organizational announcement - MNK-T1_0000944549
   13     ROPES & GRAY
          Prudential Tower                                                    14 Mallinckrodt Chick 6                       90
   14     800 Boylston Street                                                      Organizational announcement - MNK-T1_0000546859 - 0000546862
          Boston, Massachusetts 02199                                         15
   15     BY: WILLIAM T. DAVISON, ESQUIRE                                     16 Mallinckrodt Chick 7                       96
             William.davison@ropesgray.com
   16        MAX R. MAEROWITZ, ESQUIRE                                        17   Organizational Structure of Specialty Pharmaceuticals
             Max maerowitz@ropesgray.com
   17                                                                         18   Business - MNK-T1_00023333495
        COUNSEL FOR WALMART:
   18       JONES DAY                                                         19 Mallinckrodt Chick 8                      111
            51 Louisiana Avenue, N.W.
   19       Washington, D.C. 20001-2113                                       20   Noncompete agreement - MNK-T1_0007147292
            BY: SHIRLETHIA V. FRANKLIN, ESQUIRE
   20          Sfranklin@jonesday.com                                         21 Mallinckrodt Chick 9                      115
   21   COUNSEL FOR CARDINAL HEALTH, INC.:                                    22   Separation agreement for Payroll Purposes Only -
            BAKER HOSTETLER
   22       1170 Peachtree Street, NW, Suite 2400                             23   MNK-T1_0007147320 - 0007147321
            Atlanta, Georgia 30309-9814
   23       BY: CHRISTOPHER A. WIECH, ESQUIRE                                 24
               Cwiech@bakerlaw.com
   24                                                                         25             (Continued on next page)
   25              (Continued on next page)
                                                                     Page 3                                                                   Page 5
    1           A P P E A R A N C E S - (continue)                             1              I N D E X - (continued)
    2   (Appearing via teleconference)
    3   COUNSEL FOR AMERISOURCEBERGEN:                                         2 Mallinckrodt Chick 10                       117
              JACKSON KELLY
                                                                               3 U.S. Specialties Pharmaceuticals Town Hall - MNK-T1_0000546174
    4         500 Lee Street East, Suite 1600
              Charleston, West Virginia 25322                                  4 - MNK-T1_0000546204
    5         BY: Jon L Anderson, ESQUIRE
                 Jlanderson@jacksonkelly com                                   5 Mallinckrodt Chick 11                       130
    6                                                                          6   Email from Rhonda Sciarra - 1/15/15 - MNK-T1_0000543744
    7   COUNSEL FOR ENDO HEALTH SOLUTIONS, INC , ENDO PHARMACEUTICALS,
        INC , PAR PHARMACEUTICAL, INC , PAR PHARMACEUTICAL COMPANIES,          7 Mallinckrodt Chick 12                       134
        INC (F/k/a PAR PHARMACEUTICAL HOLDINGS, INC ):
    8                                                                          8   Email from D. Hasse re MNK-795 Launch plan -
               BAKER HOSTETLER
    9          127 Public Square, Suite 2000                                   9   MNK-T1_0000540835 - MNK-T1_0000540842
               Cleveland, Ohio 44114-1214
               BY: DOUG L SHIVELY, ESQUIRE                                    10 Mallinckrodt Chick 13                       142
   10
                  Dshively@bakerlaw com                                       11   May 20, 2014, communication - MNK-T1_0000136035 -
   11
        COUNSEL FOR VALIDUS PHARMACEUTICALS:                                  12   MNK-T1_0000136037
   12
            FOX ROTHSCHILD, LLP
                                                                              13 Mallinckrodt Chick 14                       162
   13       1301 Atlantic Avenue
            Midtown Building, Suite 400                                       14   MNK-T1_0000135662 - MNK-T1_0000135664
   14       Atlantic City, New Jersey 08401-7212
            BY: EILEEN OAKES MUSKETT, ESQUIRE                                 15 Mallinckrodt Chick 15                       163
   15          Emuskett@foxrothschild com                                     16   Email from S. Chick - 7/23/14 - MNK-T1_0000545292 -
   16   COUNSEL FOR McKESSON:
            COVINGTON & BURLING LLP                                           17   MNK-T1_0000545294
            One City Center
   17                                                                         18 Mallinckrodt Chick 16                       169
            850 Tenth Street, NW
   18       Washington, DC 20001-4956                                         19   Email from S. Chick re "Important Information" -
            BY: WEISS NUSRATY, ESQUIRE
               Wnusraty@cov com                                               20   MNK-T1_0000537717 - MNK-T1_0000537718
   19
   20                                                                         21 Mallinckrodt Chick 17                       173
        ALSO PRESENT:         JASON TILLY
                                                                              22   Letter of recognition - MNK-T1_0001024933
   21
        VIDEOGRAPHER:          JOSH COLEMAN
   22                                                                         23 Mallinckrodt Chick 18                       178
   23
        REPORTER:           LOIS ANNE ROBINSON, RPR, RDR, CRR, CRC            24   Emails - MNK-T1_0002235394 - MNK-T1_0002235397
   24                                                                         25              (Continued on next page)
   25

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    1             I N D E X - (continued)                             1         Before we went on the record, you
    2 Mallinckrodt Chick 19                     184                   2   spelled and said your full name. Can you please
    3   Email from S. Chick - 4/16/14 re XXR Performance to Date -    3   do that again.
    4   MNK-T1_0000173752 - MNK-T1_0000173753                         4   A       Yes. Deanna Stacy Ayers Chick. D-E --
    5 Mallinckrodt Chick 20                     188                   5   Q       Okay. I'm sorry. Yeah. Perfect.
    6   District Analysis of Xartemis XR Performance -                6   A       Spell it?
    7   MNK-T1_0000740311 - MNK-T1_0000740327                         7   Q       Yes, please.
    8 Mallinckrodt Chick 21                     226                   8   A       D-E-A-N-N-A, S-T-A-C-Y, A-Y-E-R-S,
    9   Push report - MNK-TNSTA00224454                               9   C-H-I-C-K.
   10 Mallinckrodt Chick 22                     230                  10   Q       Okay. Have you ever been known by any
   11   Midyear Performance Discussion Guide - MNK-TNSTA013717 11         other names?
   12 Mallinckrodt Chick 23                     235                  12   A       No.
   13   Email 5/13/14 - MNK-TNSTA00222642                            13   Q       Is Ayers your maiden name?
   14 Mallinckrodt Chick 24                     237                  14   A       My maiden name, yes.
   15   Email from J. Meyer - MNK-TNSTA02582409                      15   Q       So at some point you were known as
   16                                                                16   Deanna Stacy Ayers?
   17                                                                17   A       Deanna Stacy Ayers, yes.
   18                                                                18   Q       Gotcha.
   19                                                                19         Have you ever given a deposition
   20                                                                20   before?
   21                                                                21   A       Yes.
   22                                                                22   Q       On how many occasions?
   23                                                                23   A       Two in particular I can recall.
   24                                                                24   Q       What was the subject matter of those
   25                                                                25   depositions?
                                                            Page 7                                                 Page 9
    1   VIDEOGRAPHER:                                                 1   A      One was involving an action with
    2           We are now on the video record. My                    2   Mallinckrodt in an HR-related matter that
    3   name is Josh Coleman. I'm the videographer for                3   preceded my being with the company, and another
    4   Golkow Litigation Services.                                   4   was when I was employed with
    5           Today's date is December 13th, 2018.
    6   The time is approximately 9:11 a.m.
    7           This video deposition is being held in
    8   Atlanta, Georgia, in the matter of National
    9   Prescription Opiate Litigation, Number 2804, for
   10   the United States District Court for the Northern
   11   District of Ohio, Eastern Division.
   12           The deponent is Stacy Chick.
   13           Counsel will be noted on the
   14   stenographic record.
   15           The court reporter is Lois Robinson,
   16   who will now swear in the witness.
   17              DEANNA STACY AYERS CHICK,
   18          the witness, after having first been
   19   duly sworn to tell the truth, the whole truth,
   20   and nothing but the truth, was examined and
   21   testified as follows:
   22                 EXAMINATION
   23   BY MR. CHALOS:
   24   Q        Thank you, Miss Chick, for being here
   25   today.

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    1   A       No.                                          1   A        It would have been sometime in the
    2   Q       Going back to the Mallinckrodt               2   period of my employment there, which would have
    3   deposition that you gave on the HR matter, who       3   been between 20- --
    4   was the -- the claimant there, the person making     4          I have to go back and -- and look at
    5   the claims?                                          5   time frames.
    6   A       I don't recall the individual's name.        6   Q        I believe your --
    7   Again, this -- this action preceded my employment    7   A        So between --
    8   with the company. I was there to provide some        8   Q        I'm sorry.
    9   subject matter expertise on the current              9   A        -- August of 2013 and June of 2015 was
   10   situation.                                          10   my employment. I can't recall specifically
   11   Q       Was this a district manager who made        11   the -- the time of that event.
   12   the claim?                                          12   Q        Do you recall what lawyers you worked
   13   A       I don't recall the specific person's        13   with there?
   14   name or title. I did not interact with them.        14   A        I don't.
   15   Q       Was it a salesperson, somebody in the       15   Q        Those were lawyers hired my
   16   sales division?                                     16   Mallinckrodt to represent you?
   17   A       I believe it was a sales-related            17   A        I don't know, but I would assume so,
   18   individual. I don't know their name or -- or        18   yes. I just simply don't recall.
   19   title.                                              19   Q        Did you hire your own lawyers in
   20   Q       Where did you give that deposition?         20   connection with the Mallinckrodt --
   21   A       I believe --                                21   A        No.
   22   Q       Where were you physically --                22   Q        -- matter?
   23   A       I believe that was in St. Louis.            23          Okay. Were they the same lawyers who
                                                            24   represent you here today?
                                                            25   A        No.
                                                                                                         Page 13
                                                             1   Q       Was it the same law firm?
                                                             2   A       I don't believe so.
                                                             3   Q       And do you have lawyers representing
                                                             4   you here today?
                                                             5   A       No -- yes. I beg your pardon. Yes.
                                                             6   Mallinckrodt, yes.
                                                             7   Q       Do you believe they're representing you
                                                             8   individually?
                                                             9   A       Yes.
                                                            10   Q       Have you hired those lawyers?
                                                            11   A       So I have agreed to an engagement,
                                                            12   signed an engagement letter with Ropes & Gray.
                                                            13   Q       Have you paid them any money?
                                                            14   A       No.
                                                            15   Q       Do you expect to pay them any money?
                                                            16   A       No.
                                                            17   Q       Do you know who's paying them?
                                                            18   A       Mallinckrodt.
                                                            19   Q       When did you sign the agreement with
                                                            20   Ropes & Gray?
                                                            21   A       I'm trying to recall the specific date.
                                                            22   It would have been sometime within the last six
                                                            23   to nine months, when I was contacted about this.
   24   Q      And when was the Mallinckrodt                24   Q       Okay. Who contacted you about this?
   25   deposition?                                         25   A       So I was contacted, I believe -- I

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    1   believe by Ropes & Gray.                                  1   3 o'clock in the afternoon.
    2   Q       You believe that was within the last              2   Q       Where was that meeting?
    3   six to nine months?                                       3   A       At the J. W. Marriott in Buckhead.
    4   A       Yes.                                              4   Q       Do you recall who was there?
    5   Q       Do you recall who contacted you?                  5   A       Bill, counsel here with Ropes & Gray,
    6   A       I believe Bill contacted me.                      6   and one of his associates.
    7   Q       Who is Bill? The man sitting next to              7   Q       Anyone else?
    8   you?                                                      8   A       Cassie --
    9   A       Bill, the man sitting next to me.                 9          And I'm sorry. I don't recall Cassie's
   10   Thank you.                                               10   last name.
   11   Q       And how long after that contact did you          11   Q       Okay. So two people? Two lawyers?
   12   enter into an agreement with Ropes & Gray?               12   A       Yes.
   13   A       So I would say approximately two weeks.          13   Q       Okay. Is Cassie a lawyer?
   14   Q       Are you being paid by anyone in                  14   A       I believe so.
   15   connection with today?                                   15   Q       Okay. And how about yesterday? How
   16   A       No.                                              16   long did that meeting last?
   17   Q       Did you prepare for the deposition               17   A       We began at 9 a.m. and concluded about
   18   today?                                                   18   4:30.
   19   A       Yes.                                             19   Q       And who was there?
   20   Q       How did you do that?                             20   A       Counsel as represented here, Bill and
   21   A       So I met with counsel.                           21   Max, with Ropes & Gray.
   22   Q       What else?                                       22   Q       Two lawyers?
   23   A       Met with counsel.                                23   A       Yes.
   24   Q       Okay. Is that --                                 24   Q       Where was that meeting?
   25          On how many occasions did you meet with           25   A       Also at the J. W. Marriott in Buckhead.
                                                       Page 15                                                 Page 17
    1   counsel?                                                  1   Q        Okay. Somebody's got some Marriott
    2   A       We've actually met twice, once                    2   points, I guess.
    3   yesterday, once sometime ago, I believe in                3          Did you look at documents during the
    4   August, when the time frame was more imminent for         4   first meeting in August?
    5   this deposition, and then, subsequently, it was           5   A        Yes.
    6   rescheduled.                                              6   Q        Did you look at documents yesterday?
    7   Q       Okay. So you've met two times with                7   A        Yes.
    8   counsel?                                                  8   Q        Did those documents help refresh your
    9   A       Yes.                                              9   memory for either of the meetings?
   10   Q       Have you talked on the phone other than          10   A        In some instances, yes.
   11   those two meetings?                                      11   Q        Okay. What do you do now?
   12   A       Yes.                                             12   A        So I'm employed by a privately --
   13   Q       Substantive -- did you have substantive          13   privately held company, a molecular diagnostics
   14   conversations on the phone?                              14   company called Inivata. I'm the chief commercial
   15   A       No.                                              15   officer.
   16   Q       Have you ever communicated by video              16   Q        What do they do at that company?
   17   conference with counsel?                                 17   A        The company produces proprietary
   18   A       No.                                              18   technology-based assay specific for patients with
   19   Q       How long -- let's talk about the first           19   advanced non-small cell lung cancer.
   20   meeting in August. How long did that last?               20   Q        Is it a test for cancer?
   21   A       Less than a full day.                            21   A        It's a molecular diagnostics test, yes.
   22   Q       How much less than a full day?                   22   Q        What is -- what does that mean?
   23   A       I don't recall the specific time. I              23   A        It means it sequences circulating tumor
   24   believe we met at 9 o'clock in the morning and           24   DNA to stratify patients' DNA for certain genetic
   25   concluded some -- somewhere around maybe                 25   markers associated with advanced non-small cell

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    1 lung cancer.                                           1          -- down the line that I'm gonna have a
    2 Q          Is that to direct the type of treatment     2   copy.
    3   that the patient receives?                           3   MR. CHALOS:
    4   A        It is.                                      4          We have copies. We got all the
    5   Q        How long have you had that job?             5   documents from you guys, so that --
    6   A        So I became the chief commercial            6   MR. DAVISON:
    7   officer in September of 2018. That was preceded      7          Okay. And I understand that --
    8   by a consulting arrangement, exclusive consulting    8   MR. CHALOS:
    9   arrangement with the company since February of       9          We --
   10   2018.                                               10   MR. DAVISON:
   11   Q        Are you still based in Atlanta?            11          -- but the protocol does require copies
   12   A        I live in Atlanta. The company is          12   for attorneys who are here. So...
   13   based in the U.S. in Raleigh, North Carolina, so    13   MR. CHALOS:
   14   I travel there quite a bit.                         14          We both have copies, and we'll put them
   15   Q        You can fly there; right?                  15   up on the big screen so everybody can see them
   16   A        Yes.                                       16   who doesn't have a copy. But -- and we'll make
   17   Q        Okay. What's that weird -- it's -- the     17   sure everybody sees what we are talking about.
   18   airport's not right there, though; right? Is it?    18   Q        So, while we focus this contraption
   19   Where --                                            19   over here, what I'm gonna ask you about in
   20   A        Yes. It's in -- in Raleigh.                20   particular, Miss Chick, is the Requests For
   21   Q        Oh, yeah. RVU. That's right. That's        21   Production, which are on pages 4 and 5 of Exhibit
   22   right.                                              22   Number 1.
   23          (MALLINCKRODT CHICK EXHIBIT NUMBER 1         23          I'll hand out a few copies for
   24           WAS MARKED FOR IDENTIFICATION.)             24   Mr. Bill. Thank you.
   25   MR. CHALOS:                                         25          That might be focused. I can't -- I
                                                 Page 19                                                  Page 21
    1   Q       Let me show you what we'll mark as           1   can't tell.
    2   Exhibit Number 1, which is the notice for your       2   MR. ROOS:
    3   deposition here today. We'll put that up on the      3          It is.
    4   screen as well.                                      4   MR. CHALOS:
    5   MR. DAVISON:                                         5          It is?
    6         Counsel, do you have copies?                   6   Q        Okay. With the notice that we sent --
    7   MR. CHALOS:                                          7          Well, let me start here. Have you seen
    8         No.                                            8   this notice before today?
    9   MR. DAVISON:                                         9   A        Yes.
   10         Do you have copies for other --               10   Q        Okay. When did you see it?
   11         I'm fine with this one, but I would           11   A        I believe within the last week I was
   12   assume there are copies for other exhibits?         12   forwarded a copy from Bill.
   13   MR. CHALOS:                                         13   Q        Okay. And, in this notice, we asked
   14         Yeah. We -- I mean, we have some              14   for production of some documents, as you'll see
   15   copies.                                             15   on pages 4 and 5.
   16   MR. DAVISON:                                        16          Do you see that?
   17         Okay.                                         17   A        Yes.
   18   MR. CHALOS:                                         18   Q        Page 4 has got a doc- -- request for a
   19         Well, we've got two copies.                   19   copy of your current résumé or curriculum vitae.
   20   MR. DAVISON:                                        20          Do you see that?
   21         All right. This one -- I just want to         21   A        Yes.
   22   make sure for other exhibits down the --            22   Q        Do you have a current résumé?
   23   MR. CHALOS:                                         23   A        I have a résumé. I have not updated it
   24         Yeah. We have --                              24   over the course of the last year. I simply have
   25   MR. DAVISON:                                        25   not. With my engagement, I've been quite busy.

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    1   Q        Right. So it's current as of 2017,               1   going to have to produce anything until 30 days.
    2   would you say?                                            2   MR. DAVISON:
    3   A        I believe so. I -- I haven't looked at           3          We're not withholding the document
    4   it in quite some time.                                    4   because we do not have --
    5   Q        Do you have that on a computer?                  5   MR. CHALOS:
    6   A        I do.                                            6          Okay.
    7   Q        Would you be able to email that to               7   MR. DAVISON:
    8   counsel?                                                  8          -- Miss Chick's résumé.
    9   A        Yes.                                             9   MR. CHALOS:
   10   Q        Is that possible to do?                         10          Okay. I see.
   11   A        Yes.                                            11   Q       Let's look at Request For Production
   12   Q        Okay. And then we'll make                       12   Number 2, if you would. We asked for all
   13   a request -- I mean, we've requested that, and           13   documents, including electronic data and email,
   14   I'm asking --                                            14   in your possession related in any way to
   15   MR. DAVISON:                                             15   defendant's manufacture, marketing, sale,
   16          We can provide that within --                     16   distribution, suspicious order monitoring and
   17   MR. CHALOS:                                              17   lobbying efforts in connection with its opioids
   18          You would forward that to us?                     18   business.
   19   MR. DAVISON:                                             19          Do you see that?
   20          -- the 30 days as provided for in the             20   A       Yes.
   21   30(b)(2).                                                21   Q       Do you have any such documents in your
   22   MR. CHALOS:                                              22   possession?
   23          I'm sorry. I didn't hear you.                     23   A       No. When I ended my employment with
   24   MR. DAVISON:                                             24   the company, all of that material was returned to
   25          We can provide that within the 30 days            25   the company.
                                                       Page 23                                                 Page 25
    1   as provided for in the 30(b)(2), and we will work         1   Q       Did you have a -- a phone that was
    2   with Miss Chick on that.                                  2   given to you from Mallinckrodt?
    3   MR. CHALOS:                                               3   A       I believe so, yes.
    4           Oh, I see. So you have it but you                 4   Q       Was it a smartphone?
    5   didn't provide it?                                        5   A       Yes.
    6   MR. DAVISON:                                              6   Q       Did you give that back to the company
    7           Oh, no. We do not have it yet. I'm                7   as well?
    8   saying we'll -- we'll make sure to get it to you          8   A       Yes.
    9   when we get it from Miss Chick.                           9   Q       Did you use that phone for other things
   10   MR. CHALOS:                                              10   other than telephone calls? In other words, did
   11           Okay. So maybe we should clear this              11   you text or email from that phone?
   12   up. So I had an email exchange with Rocky Tsai           12   A       Yes.
   13   out of --                                                13   Q       Did you send emails to other employees
   14           I think I'm saying it right.                     14   of Mallinckrodt through that phone?
   15   MR. DAVISON.                                             15   A       Yes.
   16           That's correct.                                  16   Q       Did you send text messages to other
   17   MR. CHALOS:                                              17   employees of Mallinckrodt through that phone?
   18           -- from Ropes & Gray, and he said that           18   A       Yes.
   19   they were -- that your company was not                   19   Q       Did you receive text messages from
   20   withholding any documents based on any objections        20   other employees of Mallinckrodt through that
   21   that it interposed.                                      21   phone?
   22   MR. DAVISON:                                             22   A       Yes.
   23           That's correct.                                  23   Q       Did Mallinckrodt pay for the phone
   24   MR. CHALOS:                                              24   service?
   25           And one of the objections was we're not          25   A       Yes.

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    1 Q          Let's look at Number 3 Request For          1   Bristol-Myers Squibb. So you were there from
    2   Production. All documents that you've consulted      2   1988 through 2000. Is that right?
    3   or reviewed or plan to consult in preparation for    3   A       Yes.
    4   your deposition and have relied upon or will rely    4   Q       What did you do before that?
    5   upon for your testimony for your deposition.         5   A       I was region sales manager for a small
    6           Do you see that?                             6   consumer products company which is no longer in
    7   A        Yes.                                        7   business. And that was 1984 through 1988.
    8   Q        Do you have any such documents in your      8   Q       So you started there in fifth grade?
    9   possession?                                          9   A       I -- I started there after I graduated
   10   A        I do not.                                  10   from the University of Georgia in 1984.
   11   Q        Okay. We can put Exhibit 1 aside for       11   Q       Okay. Oh, yeah. Right.
   12   now.                                                12          Can you -- do you have a -- I gave out
   13           Did Mallinckrodt also provide phones        13   all our copies.
   14   for the sales staff, to your knowledge, while you   14          Okay. What type of products did you
   15   were there?                                         15   sell there?
   16   A        Yes. I believe so.                         16   A       They were consumer products, health and
   17   Q        And sales staff also used that to send     17   beauty aids, personal hygiene products,
   18   its text messages?                                  18   contraceptive products, all over the counter.
   19   A        Yes.                                       19   Q       What was the company called?
   20   MR. DAVISON:                                        20   A       Julius Schmid, S-C-H-M-I-D.
   21           Object to the form.                         21   Q       Did you have a sales territory with
   22   A        Yes.                                       22   them?
   23          (MALLINCKRODT CHICK EXHIBIT NUMBER 2         23   A       I did.
   24           WAS MARKED FOR IDENTIFICATION.)             24   Q       Then you moved to Bristol-Myers Squibb
   25   MR. CHALOS:                                         25   in 1988? Is that right?
                                                 Page 27                                                  Page 29
    1   Q         I'm going to hand you what we'll mark      1   A       Yes. I held two positions at -- three
    2   as Exhibit Number 2.                                 2   positions at -- at Schmid and then was recruited
    3           I do have copies of this as well.            3   by Bristol-Myers Squibb.
    4           Okay. Here's -- there we go. Thank           4   Q       So did you --
    5   you. You have the copy with the exhibit number       5          Let's go back to Schmid. You started
    6   on it.                                               6   as a sales rep?
    7           And I will represent to you that this        7   A       Yes.
    8   is a printout from LinkedIn that my number one       8   Q       And then moved up to regional sales
    9   man, Peter Roos, printed. And what he did for        9   manager?
   10   page 3, I believe, was sort of blew up the          10   A       Yes.
   11   experience section that was otherwise interrupted   11   Q       What was the third position?
   12   by a page break.                                    12   A       So the in-between position was a
   13           Does that sound right?                      13   management trainee in the home office in Little
   14   MR. ROOS:                                           14   Falls, New Jersey.
   15           Uh-huh. Yeah.                               15   Q       Who did you sell to with them?
   16   MR. CHALOS:                                         16   A       Primarily retail pharmacies, and also
   17           You're not under oath, so that's okay.      17   wholesale pharmacies as well.
   18   Q         So the question for you, is the           18   Q       Bristol-Myers Squibb then recruited you
   19   information on Exhibit Number 2 accurate?           19   to come work for them?
   20   A         Yes.                                      20   A       Yes.
   21   Q         Is this information that you input into   21   Q       Did you start -- what did -- what was
   22   the LinkedIn system?                                22   your position when you started with Bristol-Myers
   23   A         Yes.                                      23   Squibb?
   24   Q         So let's -- let's walk through some of    24   A       So I began as a region sales manager
   25   this, if we can. Let's start with your time at      25   based in the Southeast here in Atlanta. I

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    1   covered a number of states. I was with               1   Q       Uh-huh. Not in enough cases, perhaps;
    2   their -- what was originally at the time their       2   right? But, in any event, in some cases.
    3   Squibb Mark division, which is their generics and    3   MR. DAVISON:
    4   multisource division at the time.                    4          Objection. That's the situation.
    5   Q        Were opioids among the products that        5   MR. CHALOS:
    6   you were responsible for in that position?           6   Q       Sorry. That was my political
    7   A        No.                                         7   commentary.
    8   Q        What -- what was your -- the first          8          Let's start that question again.
    9   position that you held for any of the                9          For some patients, there is another
   10   companies --                                        10   entity, either an insurance company or the
   11           We're fast-forwarding a little bit, but     11   Federal Government or the State Government, that
   12   we'll come back.                                    12   pays for certain medications. Is that fair to
   13           What was the first -- when was the          13   say?
   14   first time that you were responsible in any way     14   A       Yes. And a patient typically is paying
   15   for sales of opioids?                               15   a premium to access -- to access that type of
   16   A        So when I joined Archimedes in 2011, I     16   benefit. Yes.
   17   had responsibility for building and operating the   17   Q       That's sometimes known as health
   18   market access function for that firm. The single    18   insurance; right?
   19   product that they developed and gained FDA          19   A       We actually call it -- yes, it's health
   20   approval for was a nasally administered fentanyl    20   insurance but a pharmacy benefit, specifically.
   21   product indicated for breakthrough pain in          21   Yes.
   22   cancer.                                             22   Q       So, going back to your time with
   23   Q        What does that mean, market access?        23   Bristol-Myers Squibb, so initially in 1988 you
   24   A        So the primary responsibility is           24   were hired as a regional sales manager for
   25   engaging with private payers and with CMS to gain   25   Squibb -- Squibb Mart, did you say?
                                                 Page 31                                                  Page 33
    1   reimbursement to allow for patient access to the     1   A       Squibb Mark. It was a division of
    2   medication.                                          2   E. R. Squibb & Sons.
    3   Q       Okay. It's important that these drugs        3   Q       And what products were you responsible
    4   are paid for by private payers or CMS in order       4   for there?
    5   for patients to ultimately get the drug; right?      5   A       So they're multisource products, so
    6   MR. DAVISON:                                         6   those were primarily injectable products used in
    7          Objection to form.                            7   hospitals, anti-infective type of products in
    8   MR. CHALOS:                                          8   that particular therapeutic class. So we -- we
    9   Q       He may object from time to time. So          9   sold via hospital contracts and to wholesalers as
   10   unless he tells you not to answer, you can just     10   well.
   11   answer and disregard what he says --                11   Q       What would be an example of the type of
   12   A       Okay.                                       12   drug you're talking about?
   13   Q       -- unless he tells you to not answer,       13   A       A product called Tobramycin.
   14   in which case don't answer.                         14   Q       What is that?
   15   A       So in the US healthcare system, it is       15   A       It's an antibiotic.
   16   customary to gain formulary access -- in this       16   Q       What do you mean when you say
   17   case, for therapeutic products -- for -- for        17   multisource?
   18   patients to be able to access them through their    18   A       Means the products have exhausted their
   19   drug benefit.                                       19   patent life and there are multiple generic
   20   Q       So in the US healthcare market, at          20   offerings from a number of manufacturers and
   21   least in some instances, some -- an insurance       21   distributors.
   22   company or the Federal Government or State          22   Q       Is multisource another way of saying
   23   Government pays for the drugs that are ultimately   23   generic?
   24   taken by a patient? Is that right?                  24   A       Yes.
   25   A       Not in all cases.                           25   Q       Did you eventually get a different job

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     1   with Bristol-Myers Squibb?                           1   acquired the company in 2004.
     2   A       Yes. I was promoted throughout the           2   Q        What did you do for them when you
     3   eleven years I was there.                            3   initially joined up?
     4   Q       Okay. What was the job you held when         4   A        I was recruited to head up their
     5   you left Bristol-Myers Squibb?                       5   national account management team.
     6   A       Was the Director of Customer Marketing,      6   Q        What does that mean?
     7   which meant that I led a team of home                7   A        So I led a team of ten national account
     8   office-based professionals focused on the            8   executives who represented the Aventis portfolio
     9   reimbursement market, focused on the needs of        9   to US payers.
    10   insurers and pharmacy benefit managers, as well     10   Q        Also focused on the third-party payer
    11   as hospital systems, and developed strategies for   11   market?
    12   our products and offerings in way of promotional    12   A        Yes.
    13   resources and contract offerings that were used     13   Q        Did you hold that job throughout your
    14   by our account executives in their engagement       14   time with --
    15   with those payers.                                  15           What do you think of it as? Sanofi?
    16   Q       Was that for a specific line of drugs       16   A        Yes.
    17   or was that for --                                  17   Q        So when I say "Sanofi," I mean the
    18   A       The entire portfolio. And I just want       18   entire time that you worked for that company from
    19   to mention it was the pharmaceutical portfolio,     19   2000 to 2011. Is that fair?
    20   so I was not involved in the oncology or the        20   A        Yes.
    21   virology business or the dermatology business at    21   Q        What other jobs did you hold with them?
    22   that time.                                          22   A        So I was also the senior director of
    23   Q       Okay. What was the second one you said      23   cardiovascular channel marketing. Then I was
    24   after oncology?                                     24   promoted to an area vice president.
    25   A       Virology, V-I-R-O-L-O-G-Y.                  25   Q        Is that sales?
                                                  Page 35                                                  Page 37
     1   MR. CHALOS:                                          1   A        I beg your pardon. I just -- I
     2           That was for you, Lois.                      2   neglected to add a role there. Sorry.
     3   Q        What is -- what is virology?                3           Senior Director of Channel Marketing.
     4   A        So it's now part of the oncology            4   I then returned to the market access group as the
     5   business. I wasn't familiar with it. I just          5   vice president of their specialty account
     6   wanted to distinguish that I was focused on the      6   management team. And from that role I was
     7   pharmaceutical business.                             7   promoted to area vice president.
     8   Q        How many jobs did you hold between your     8   Q        Was the area vice president for sales?
     9   initial job at Bristol-Myers Squibb and the          9   A        Yes.
    10   Director of Customer Marketing job?                 10   Q        In that capacity, did you oversee --
    11   A        So I'll have to count back and reflect.    11           Well, I guess at that level you're
    12   Q        Okay.                                      12   overseeing other managers? Is that fair?
    13   A        Four.                                      13   A        Yes. And other directors, yes.
    14   Q        Were they all marketing or                 14   Q        And they, in turn, oversaw field --
    15   sales-related?                                      15   field sales representatives?
    16   A        Yes.                                       16   A        Yes.
    17   Q        Were you ever, in any of your jobs,        17   Q        What types of products were you
    18   after the Schmid job, your initial job, were you    18   responsible for there?
    19   ever a field sales representative?                  19   A        So I had responsibility for Plavix,
    20   A        No.                                        20   also a product called Multaq.
    21   Q        In 2000 you moved to Sanofi; is that       21   Q        What was that?
    22   right?                                              22   A        So it was a product indicated for
    23   A        Aventis.                                   23   atrial fibrillation.
    24   Q        It was called Aventis then?                24   Q        Okay.
    25   A        It was Aventis until Aven- -- Sanofi       25   A        Also was responsible for a product

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     1   called Avapro and Avalide.                           1   A       Well, the product delivery system had
     2   Q       Which is --                                  2   a -- a measured dosage approach which was in
     3   A       So these are angiotensin inhibitors;         3   place really to allow for a metered dose, to --
     4   Avapro and Avalide in particular.                    4   Q       Uh-huh.
     5   Q       Those were -- so were all the drugs          5   A       -- not allow, you know, more product to
     6   cardiovascular-related?                              6   be dispensed than intended, to prevent any -- any
     7   A       Yes. And also -- I beg your                  7   type of -- or at least to deter any type of
     8   pardon -- in the metabolism side of the business,    8   attempted abuse or --
     9   I had responsibility for Lantus.                     9          And the way in which the product was
    10   Q       What was that?                              10   distributed, not only through the mechanism but
    11   A       A basal insulin.                            11   also through the -- a gel formulation that was
    12   MR. CHALOS:                                         12   administered to the nasal cavity, also inhibited
    13          These are American problems, Peter.          13   absorption and metered that approach.
    14   Peter's Dutch. We are in America.                   14   Q       Do you recall any of the risks
    15   Q       Okay. And, then, what else -- what did      15   associated with the Archimedes product?
    16   you do after that?                                  16   MR. DAVISON:
    17   A       So I returned to the market access team     17          Objection.
    18   as vice president of account management.            18   A       Risks to -- with the Archimedes
    19   Q       Was that for the entire portfolio?          19   product?
    20   A       Yes.                                        20   MR. CHALOS:
    21   Q       And then what?                              21   Q       Yes, ma'am.
    22   A       And then I was recruited to Archimedes.     22   A       Certainly, it, as a fentanyl product,
    23   And, so, I left Sanofi and joined Archimedes.       23   there were certain risks that would -- would
    24   Q       Did Sanofi make an opioid product while     24   travel with the product. So because the product
    25   you were with the company?                          25   could be abused in other forms, Archimedes took
                                                  Page 39                                                  Page 41
     1   A       I don't believe so.                          1   special attention to the mechanism by which the
     2   Q       Okay. So what did -- when you joined         2   product was dispensed to -- to deter that kind of
     3   Archimedes, you were involved in the market          3   abuse.
     4   access function? Is that right?                      4   Q       Was there a risk of addiction with that
     5   A       Yes.                                         5   product?
     6   Q       Was that nasal fentanyl, was that their      6   A       Yes.
     7   sole product at that point?                          7   Q       Did you, when you worked for
     8   A       Yes.                                         8   Archimedes, discuss the risks of the product with
     9   Q       That was your first experience with          9   the customers that you dealt with?
    10   opioids?                                            10   MR. DAVISON:
    11   A       Yes.                                        11          Objection to form.
    12   Q       Did you receive any training when you       12   A       So I did not personally -- was not
    13   joined Archimedes specific to opioids?              13   personally responsible for customers. But in
    14   A       Not specific to opioids. I recall           14   engaging with account executives in their
    15   being educated around the product itself.           15   customer interactions, yes, there were -- the
    16   Q       Did you learn about the risks               16   risks of the product were discussed, yes.
    17   associated with fentanyl at that point?             17   MR. CHALOS:
    18   A       So I learned about the risks associated     18   Q       You, in your capacity at Archimedes,
    19   with the product in particular that we were         19   dealt with -- did you deal with -- directly with
    20   marketing. Yes.                                     20   people from other entities, or were you solely
    21   Q       What were the risks associated with the     21   focused internally?
    22   Archimedes product that you recall?                 22   A       So I dealt with people in other
    23   A       So I would have to go back and look at      23   entities.
    24   the package insert to recall all of the risks.      24   Q       Okay. And those -- and these other
    25   Q       Okay. Do you recall any of them?            25   entities were third-party payers, such as

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     1   insurance companies and people at CMS?               1   A       Yes.
     2   A       Yes.                                         2   Q       And then you received an MBA from
     3   Q       Right?                                       3   Rutgers in Newark, New Jersey? Sorry. In
     4   A       Yes.                                         4   Newark, New Jersey?
     5   Q       I'm sorry. I cut you off, I feel like.       5   A       Yes.
     6   A       I wanted to mention that while I was         6   Q       Did you -- do you have any education
     7   hired to lead the market access function, in the     7   specific to any medical field?
     8   course of my first year of employment there, I       8   A       No.
     9   was also asked to take on the sales                  9   Q       Did you take any courses regarding
    10   responsibility as well.                             10   pharmacology when you were in college or in
    11   Q       Okay. And to whom did you sell?             11   business school?
    12   A       So the sales representatives based in       12   A       No.
    13   the field sold to medical oncologists, radiation    13   Q       Was there a focus of your MBA?
    14   oncologists, and -- and those practices, and --     14   A       Yes.
    15   and hospital systems.                               15   Q       What was that?
    16   Q       What was your job? Were you the             16   A       Finance.
    17   manager of the sales representatives?               17   Q       Since you finished your formal
    18   A       Vice president of sales and market          18   schooling, have you taken any courses related to
    19   access, yes.                                        19   any medical subject?
    20   Q       Did the sales representatives report        20   A       No, outside of professional training
    21   directly to you?                                    21   provided by the companies I was employed by.
    22   A       They reported to region managers, who       22   Q       And that professional training relates
    23   reported in to me.                                  23   to the company's products? Is that right?
    24   Q       Is there a problem in the United States     24   A       Yes.
    25   today with opioid abuse?                            25   Q       What professional training have you had
                                                   Page 43                                                Page 45
     1   MR. DAVISON:                                         1   related to opioids? We -- we already talked
     2         Objection to form.                             2   about the Archimedes training that you had
     3   A      So I'm aware of issues associated with        3   specific to their product. Is that --
     4   opioid abuse in the US through the news.             4          Let me back up.
     5   MR. CHALOS:                                          5          What professional training have you had
     6   Q      What type of issues are you aware of?         6   related to opioids specifically?
     7   A      I'm aware of addiction issues.                7   A       Product-specific training provided by
     8   Q      Any others?                                   8   my employer.
     9   A      No.                                           9   Q       One example of that is the Archimedes
                                                             10   nasal fentanyl product?
                                                             11   A       Yes.
                                                             12   Q       Did you receive, when you worked at
                                                             13   Mallinckrodt, any training related to opioids?
                                                             14   A       Yes. Product training specifically.
                                                             15   Q       Okay. On which product?
                                                             16   A       Xartemis XR in particular.
                                                             17   Q       We're gonna talk about that one a lot.
                                                             18   It's X-A-R-T-E-M-I-S.
                                                             19          Oh. You already had it.
    20   MR. CHALOS:                                         20          XR.
    21   Q       Do you have any --                          21          Any other products, opioid products,
    22          Well, let's go back to your education.       22   that you received training in connection with?
    23   You were -- you received a bachelor of business     23   A       I did have some training on Exalgo as
    24   administration from the University of Georgia; is   24   well.
    25   that right?                                         25   Q       Any others?
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     1   A       Not that I recall.                          1   A       That would have been in the summer of
     2   Q       Since you left Mallinckrodt, have you       2   2013. I joined the company in August of 2013, so
     3   had any professional responsibility for any         3   it would have been sometime in the preceding
     4   opioids products?                                   4   months, June, July, in that time frame.
     5   A       No.                                         5   Q       Did you, during the course of the
     6   Q       So how did you come to leave                6   discussion with Mr. Trudeau or at any point
     7   Archimedes?                                         7   before you actually began working for
     8   A       So the company single asset was             8   Mallinckrodt, did you learn that there was
     9   acquired by another company. At that same time,     9   somebody already in the position of vice
    10   I was being recruited by Mallinckrodt. So when     10   president of specialty sales?
    11   the company, Archimedes, dissolved its US          11   A       I didn't learn that until I arrived at
    12   operation, I joined Mallinckrodt.                  12   the company.
    13   Q       Where was Archimedes based?                13   Q       That was Mr. Wickline?
    14   A       Bedminster, New Jersey.                    14   A       Yes.
    15   Q       Was it affiliated with an international    15   Q       Are you in touch with anyone with
    16   company?                                           16   Mallinckrodt -- I mean, other than the lawyers --
    17   A       Yes.                                       17   have you been in touch with anyone at
    18   Q       Where was that?                            18   Mallinckrodt since you left?
    19   A       Company was based in Reading, England.     19   A       Since I left the company, I may have
    20   Q       Were you recruited by Mallinckrodt for     20   had conversations. I don't recall specifically.
    21   a specific position?                               21   Q       Do you -- do you keep up with anyone
    22   A       I was.                                     22   that you -- that works for Mallinckrodt?
    23   Q       What is that position?                     23   A       Currently, no.
    24   A       I was recruited for the vice president     24   Q       What conversations do you think you had
    25   of market access and interviewed for that role     25   after you left?
                                                 Page 47                                                  Page 49
     1   throughout. When I was interviewed by the CEO,      1   MR. DAVISON:
     2   he asked me to consider the vice president of       2          Objection to form.
     3   specialty sales role. And that's the position I     3   A       So the division that I was part of was
     4   assumed with Mallinckrodt.                          4   dissolved, and, so, I was asked for things like
     5   Q       Who was the CEO at that point?              5   recommendations, job leads. So I engaged in some
     6   A       Mark Trudeau.                               6   of that -- that type of discussion.
     7   Q       Where did you interview with him?           7   MR. CHALOS:
     8   A       In the company's headquarters in            8   Q       Did you have any friend- --
     9   Hazelwood, Missouri.                                9   friendship-type relationships with anyone at
    10   Q       Did you ever learn why they thought you    10   Mallinckrodt?
    11   were appropriate for specialty sales rather than   11   MR. DAVISON:
    12   market access?                                     12          Objection to form.
    13   A       In my discussion -- discussions with       13   A       Yes.
    14   executives, there was an appreciation for the      14   MR. CHALOS:
    15   breadth of my experience in both market access     15   Q       And -- and none of them continued after
    16   and in sales. It was at the time a bit unusual     16   you left?
    17   to have someone who had the depth and breadth of   17   A       They did, though I -- I have not been
    18   market access experience as well as sales          18   engaged recently with -- with anyone who's
    19   experience in -- at that level.                    19   currently employed by the company.
    20   Q       Did your job with Mallinckrodt as vice     20   Q       Do you keep up with anyone who is a
    21   president of specialty sales, did that include a   21   former Mallinckrodt employee?
    22   market access component?                           22   A       Yes.
    23   A       It did not.                                23   Q       Who -- who do you keep up with?
    24   Q       When did you interview with                24   A       Mark Sabella.
    25   Mr. Trudeau?                                       25   Q       How do you spell that one?

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                                                  Page 50                                                  Page 52
     1   A        S-A-B-E-L-L-A.                              1 Q         How do you spell that one?
     2   Q        Okay. Who is Mr. Sabella?                   2   A       T-E-L-D-E-R.
     3   A        Mark was the head of customer               3   Q       Okay.
     4   operation -- excuse me. Commercial Excellence        4   A       -- and Ann van Bevern.
     5   was the department name. It was an operations        5   Q       Have you talked with anyone other than
     6   function that supported the sales and marketing      6   the lawyers about your deposition here today?
     7   effort.                                              7   A       I disclosed to my current employer that
     8   Q        What -- what type of work does the          8   I would be deposed in an action involving a
     9   Commercial Excellence department do?                 9   former employer.
    10   A        They do things like develop physician      10   Q       Anyone else?
    11   target lists, territory alignments, incentive       11   A       No. I beg your pardon. My husband.
    12   compensation plan design and approval process,      12   Q       What does he do?
    13   managing a CRM system. They also manage the         13   A       He's a schoolteacher.
    14   training function, forecasting, analytics, things   14   Q       Okay. So let's go back to
    15   of that nature.                                     15   Mallinckrodt. So you got hired on as a vice
    16   Q        Were they involved in setting sales        16   president of specialty sales? Is that right?
    17   goals for sales reps?                               17   A       Yes.
    18   A        Yes.                                       18   Q       Okay.
    19   Q        Were they also called the analytics        19         (MALLINCKRODT CHICK EXHIBIT NUMBER 3
    20   department?                                         20          WAS MARKED FOR IDENTIFICATION.)
    21   A        That group evolved over time. So they      21   MR. CHALOS:
    22   did analytics, but the expanse of that function     22   Q       We're gonna mark as the next numbered
    23   was -- was greater than just analytics.             23   exhibit your offer letter from Mallinckrodt. It
    24   Q        Was there also an analytics department     24   runs Bates numbers MNK-T1_0007147310 through
    25   when you were there?                                25   MNK-T1_0007147317.

                                                  Page 51                                                  Page 53
     1   A       The analytics function reported in to        1   MR. ROOS:
     2   the customer excellence function.                    2           Here you are.
     3   Q       I see. Okay.                                 3   MR. CHALOS:
     4          Okay. Who else of former Mallinckrodt         4           Thank you. I was just stalling while
     5   employees do you keep up with?                       5   Peter went and got that.
     6   A       I on occasion may get an email from          6           Okay. We'll mark that as Exhibit
     7   Ellen McCune.                                        7   Number 3. There you are. Thank you very much.
     8   Q       Who was that?                                8   MR. DAVISON:
     9   A       She was the vice president of                9           Thank you.
    10   commercial excellence.                              10   MR. CHALOS:
    11   Q       Okay. Anyone else?                          11   Q        If you would, take a moment and look at
    12   A       I have -- since leaving Mallinckrodt, I     12   Exhibit Number 3, Miss Chick. And I'm gonna ask
    13   have seen former account -- or people who were      13   you first if you recognize this document.
    14   account executives at Mallinckrodt. For example,    14   A        Yes.
    15   at PCMA in 2016 I saw some Mallinckrodt account     15   Q        And what is this?
    16   executives at that industry function.               16   A        This is the offer letter extending an
    17   Q       When you say "account executives," are      17   offer of employment to me by Mallinckrodt.
    18   you talking about field sales representatives?      18   Q        And, on the last page of this,
    19   A       No.                                         19   second-to-last page, one that ends in 316, that's
    20   Q       Or you're talking about the managed         20   your signature there?
    21   care side?                                          21   A        Yes.
    22   A       The managed care side.                      22   Q        And it says, in the beginning of this
    23   Q       Okay. Do you remember who you ran into      23   letter, that you're being offered -- I'm
    24   there?                                              24   paraphrasing -- the Vice-President of Sales,
    25   A       I saw Rick Telder --                        25   Specialty Pharmaceuticals for Mallinckrodt

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     1   Pharmaceuticals. Is that right?
     2   A       Yes.
     3   Q       It says the position is field-based.
     4   What does that mean?
     5   A       The position is considered not home
     6   office-based but field-based.
     7   Q       Where -- where did you live at that
     8   time?
     9   A       So I maintained my primary residence in
    10   Montgomery, New Jersey, Skillman.
    11   Q       Uh-huh.
    12   A       And I also had an apartment in
    13   St. Louis.
    14   Q       Did you split your time between the two
    15   locations?
    16   A       I didn't split my time. I spent
    17   primary time in St. Louis.
    18   Q       It says you will report to the
    19   Vice-President and General Manager, Brands.
    20          Do you see that?
    21   A       Yes.
    22   Q       Who was that at that time?
    23   A       Steve Carchedi.



                                                  Page 55                    Page 57




     5   Q       It -- in this letter, I'm looking at
     6   the one, two, three, four -- fifth paragraph that
     7   refers to the company's long-term incentive
     8   program.
     9          Do you see that?
    10   A       Yes.




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     6   Q       Okay. So you worked for
     7   Mallinckrodt --
     8         Actually, let's go back.
     9         You worked for Mallinckrodt for two --
    10   two -- about two years; right?
    11   A       Less than two years, yes.                  11   Q        You also received a company vehicle; is
    12   Q       Okay. It was -- you started in August      12   that right?
    13   of 2013; right?                                    13   A        Yes.
    14   A       Yes.                                       14   Q        What kind of vehicle did they provide
    15   Q       And you left in June of 2015?              15   for you?
    16   A       June. So I started in August of 2013.      16   A        Was a Ford Escape.
    17   Q       Right.                                     17   Q        Did you have the same vehicle for the
    18   A       And exited in June of 2015.                18   entire time you worked at Mallinckrodt?
    19   Q       So just short of two years.                19   A        Yes.
    20   A       Yes.




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                                                             1   Thank you.
                                                             2   Q       You -- you mention -- I'm
                                                             3   paraphrasing -- that after you left Mallinckrodt,
                                                             4   that they dissolved the division or something
                                                             5   like that. Do you recall that?
                                                             6   A       Yes, I recall saying that.
                                                             7   Q       Yeah. What -- what -- what do you know
                                                             8   about that?
     9   MR. DAVISON:                                        9   A       I don't -- I don't have a lot of
    10          Mark, we've been going about an hour.       10   information about the ongoing operations of
    11   MR. CHALOS:                                        11   Mallinckrodt.
    12          Oh, have we? Goodness.                      12   Q       Uh-huh. What do you know about what
    13   MR. DAVISON:                                       13   happened to the division after you left?
    14          Is now a good time --                       14   MR. DAVISON:
    15   MR. CHALOS:                                        15          Objection to form.
    16          We can take a break.                        16   A       I believe the ongoing operations
    17   VIDEOGRAPHER:                                      17   continued with the hospital-based sales force
    18          We are now going off the video record.      18   that was marketing Ofirmev.
    19   The time is currently 10:10 a.m. This is the end   19          At some point -- and I don't know
    20   of media number 1.                                 20   when -- I'm aware Mallinckrodt discontinued the
    21              (OFF THE RECORD.)                       21   marketing of Xartemis XR. I don't know when that
    22   VIDEOGRAPHER:                                      22   was or why that was.
    23          We are now back on the video record         23   MR. CHALOS:
    24   with the beginning of media number 2. The time     24   Q       When you left Mallinckrodt, was
    25   is currently 10:26 a.m.                            25   Mallinckrodt still marketing Xarte- --
                                                 Page 63                                                  Page 65
     1   MR. CHALOS:                                         1   Xartemis XR?
     2   Q       Miss Chick, I should have mentioned         2   A       When I left the company, that had
     3   this earlier. If you need a break at any time,      3   remained a promotional product, yes.
     4   please let me know. We'll do that.                  4   Q       Okay. What was the drug that you
     5   A       Thank you.                                  5   mentioned that they were continuing to market
     6   Q       If there are any questions that I ask       6   after you left the company?
     7   you that you don't understand, will you please      7   A       The product?
     8   let me know that? And I'll do my best to            8   Q       The product, yeah.
     9   rephrase the question.                              9   A       Ofirmev.
    10   A       Yes.                                       10   Q       What was that?
    11   Q       And you're doing a very good job of        11   A       It was a product indicated for pre-,
    12   waiting till I finish to answer my question. I'm   12   peri-, and postoperative surgical pain.
    13   not doing such a good job of waiting until you     13   Q       Was it an opioid?
    14   finish your answer. But if you just keep that in   14   A       No.
    15   your mind that -- wait until I finish before you   15   Q       Do you recall how that was spelled?
    16   respond, and I'll try to reciprocate. Okay?        16   A       O-F, as in Frank, I-R-M, as in Mary,
    17   A       Yes.                                       17   E-V, as in Victor. Ofirmev.
    18   Q       And if there's any question that I ask
    19   that you don't understand, let me know. And if
    20   you answer it, I'm gonna assume that you did
    21   understand it. Is that fair?
    22   A       Yes.
    23          Excuse me.
    24   Q       Sure.
    25   A       I'm gonna get rid of this LifeSaver.

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                                             Page 66                                                       Page 68
                                                        1          Okay. Take one.
                                                        2   Q       We're marking as Exhibit Number 4
                                                        3   MNK-T1_0007147236 through MNK-T1_0007147259.
                                                        4   It's Exhibit Number 4. The title of the document
                                                        5   is "Separation of Employment Agreement and
                                                        6   General Release."
                                                        7          My first question will be "Do you
                                                        8   recognize this document?" Take as much time as
                                                        9   you need to review it.
                                                       10   A       Yes, I recognize the document.
                                                       11   Q       Okay. And what is this document?
                                                       12   A       Was the separation agreement executed
                                                       13   between myself and Mallinckrodt.
                                                       14   Q       Did you have a lawyer in connection
                                                       15   with executing this document?
                                                       16   A       Yes.
                                                       17   Q       Was it somebody that you hired
                                                       18   personally?
                                                       19   A       Yes.
                                                       20   Q       Who was the lawyer?
                                                       21   A       Ben Haftel. H-A-F, as in Frank, T-E-L.
                                                       22   Q       And where is Mr. Haftel located?
                                                       23   A       In Montgomery, New Jersey.
                                                       24   Q       Is this a personal acquaintance?
                                                       25   A       He was a personal acquaintance and also

                                             Page 67                                                     Page 69
                                                        1   personal attorney.
                                                        2   Q      So if you flip over to the third page
                                                        3   of Exhibit Number 4, looking at paragraph 2(a),




    11 MR. CHALOS:
    12         Do I have those? Oh.
    13   MR. ROOS:
    14         Sorry. Here.
    15   MR. CHALOS:
    16         Always a struggle to stay organized.
    17        (MALLINCKRODT CHICK EXHIBIT NUMBER 4
    18         WAS MARKED FOR IDENTIFICATION.)
    19   MR. CHALOS:
    20   Q      So we're marking as Exhibit Number 4
    21   a --
    22         This one?
    23   MR. ROOS:
    24         No.
    25   MR. CHALOS:

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                                                                  1          Yeah.
                                                                  2   Q        -- to 2013, when you signed on with
                                                                  3   Mallinckrodt. We'll mark as Exhibit Number 5 to
                                                                  4   your deposition MNK-T1- -- I'm sorry --
                                                                  5   _0000944549.
                                                                  6         (MALLINCKRODT CHICK EXHIBIT NUMBER 5
                                                                  7          WAS MARKED FOR IDENTIFICATION.)
                                                                  8   MR. CHALOS:
                                                                  9          Oh, did you already --
                                                                 10          No. Sorry. Here you go. That's for
                                                                 11   you. Do you have copies?
                                                                 12   MR. ROOS:
                                                                 13          I already gave them.
                                                                 14   MR. CHALOS:
                                                                 15          Oh, you did? Okay. Good. Thank you.
                                                                 16   Q        Do you recognize the document we marked
                                                                 17   as Exhibit Number 5?
                                                                 18   A        Yes.
                                                                 19   Q        What is this?
                                                                 20   A        This was an organizational announcement
                                                                 21   issued by Steve Carchedi at my joining the
                                                                 22   company and informing on Ron Wickline's
                                                                 23   retirement.
                                                                 24   Q        Do you recall whether Ron Wickline
                                                                 25   leaving Mallinckrodt was his decision or their

                                                       Page 79                                                Page 81
                                                                  1   decision?
                                                                  2   MR. DAVISON:
                                                                  3          Objection to form.
                                                                  4   A       I don't.
                                                                  5   MR. CHALOS:
                                                                  6   Q       Did you ever know the answer to that?
                                                                  7   MR. DAVISON:
                                                                  8          Objection to form.
                                                                  9   A       No.
                                                                 10   MR. CHALOS:
                                                                 11   Q       If you look at the one, two, three,
                                                                 12   fourth paragraph, it says, "With the pending
                                                                 13   launches of MNK-795 and MNK-395, it is critical
                                                                 14   that we have a seamless sales leadership
                                                                 15   transition."
                                                                 16          Do you see that?
                                                                 17   A       Yes.
                                                                 18   Q       What is MNK-395?
                                                                 19   A       I'm trying to recall, and I don't.
    20   MR. CHALOS:                                             20   Q       Do you recall whether the product
    21   Q        All right. Let's go back in time a             21   designated as MNK-395 ever made it to market?
    22   little bit to --                                        22   MR. DAVISON:
    23   MR. ROOS:                                               23          Objection.
    24           Next exhibit?                                   24   A       I -- I don't.
    25   MR. CHALOS:                                             25   MR. CHALOS:

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     1   Q        MNK-795, is that "X-artemis" XR?            1   the southeast region remained, though I don't
     2   A        "Xar-temis" XR, yes.                        2   recall if the regional boundaries changed at that
     3   Q        "Xar-temis."                                3   time.
     4   A        Yes.                                        4   Q        Did the person responsible for Ohio
     5   Q        "Xar-temis." "Xar-temis." Got it.           5   change at that time?
     6   Well, I've been saying that wrong all this time.     6   A        Yes.
     7   So Xartemis.                                         7   Q        Who took over then?
     8          Okay. And if you go down here to the          8   A        Kim Gawart, I believe, had
     9   bullet points where it says Gavin McGowan, do you    9   responsibility for Ohio.
    10   see that?                                           10   Q        Did Mr. Meyer leave the company at that
    11   A        Yes.                                       11   point?
    12   Q        And it lists the three people who will     12   A        He -- he left the company and,
    13   be reporting to you: Gavin McGowan, Bill Nichols    13   subsequently, Miss Gawart was hired.
    14   and Jay Meyer. Do you see that?                     14   Q        Do you know why Mr. Meyer left?
    15   A        Yes.                                       15   MR. DAVISON:
    16   Q        Those were the regional sales directors    16          Objection.
    17   at the time you joined Mallinckrodt?                17   A        I recall he accepted a position with
    18   A        Yes.                                       18   another firm.
    19   Q        Did that change at some point during       19   MR. CHALOS:
    20   your tenure at Mallinckrodt?                        20   Q        Do you know whether it was his choice
    21   A        Did what change?                           21   to leave or whether he was told to leave?
    22   Q        That there were three regional managers    22   A        That was his choice.
    23   reporting to you? Did it ever become four?          23   Q        And, then, is it Kim Gawart?
    24   A        Yes.                                       24   A        Yes.
    25   Q        Did the -- did any of the three people     25   Q        Did Miss Gawart retain her position
                                                  Page 83                                                    Page 85
     1   listed in Exhibit 5, did they leave the company      1   with -- regional sales position with
     2   during the time you were there?                      2   responsibility for Ohio for the remaining time
     3   A        Yes.                                        3   that you were at Mallinckrodt?
     4   Q        Which -- who left?                          4   A       Yes.
     5   A        Gavin McGowan and Jay Meyer.
     6   Q        When did they leave? Do you recall?
     7   A        I don't.
     8   Q        And then there was a fourth regional
     9   manager eventually added?
    10   A        Yes.
    11   Q        Do you recall in which region Ohio was?
    12   A        When I joined the company, Ohio was led
    13   by Jay Meyer, who lived in Ohio and managed a
    14   very large geography west.
    15   Q        Okay. Did that change during the time      15   Q       Did you eventually go back to work?
    16   you were --                                         16   A       I did.
    17   A        Yes.                                       17   Q       When was that?
    18   Q        -- at Mallinckrodt?                        18   A       In late 2015 I decided to initiate a
    19          Okay. What did it change to?                 19   consulting practice and, very shortly thereafter,
    20   A        So we implemented four regions. The        20   became engaged full-time with an entrepreneur who
    21   change primarily involved dividing that very        21   was building a business that I had had some
    22   large geography into two regions, one in the west   22   experience with.
    23   with a region sales director based in California,   23   Q       What was that business?
    24   one in the midwest with a region sales director     24   A       A concierge health navigation service
    25   based in St. Louis, and the northeast region and    25   for seniors.

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     1   Q       Where was that located, that position?       1   A        I did.
     2   A       Princeton, New Jersey.                       2   Q        What was that?
     3   Q       Can you explain what that -- what that       3   A        UCB.
     4   is?                                                  4   Q        What is UCB?
     5   A       So the vision for the business was to        5   A        UCB is a pharmaceutical company with US
     6   provide navigation services to families who had      6   headquarters in Atlanta, global headquarters in
     7   aging parents who might live remote from their       7   Brussels, Belgium.
     8   adult children who could benefit from assistance     8   Q        What -- what do you do -- what did you
     9   in navigating their -- their health benefits.        9   do for them?
    10   Q       Sounds like a good idea.                    10   A        So I was recruited as their US head of
    11          What did you -- what did you do for          11   market access.
    12   them?                                               12   Q        What type of products did they have?
    13   A       So I did a good deal of research, also      13   A        Two therapeutic areas: One primarily
    14   leveraged my own personal experience as not only    14   rheumatology/psoriasis with a product called
    15   a healthcare executive but also a full-time adult   15   Cimzia, and also neurology, epilepsy in
    16   caregiver, and provided insight into service        16   particular.
    17   offerings for the business.                         17   Q        Did they market any opioids when you
    18   Q       Uh-huh. Is that UCB?                        18   worked for them?
    19   A       No.                                         19   A        No.
    20   Q       What is the name of that company, the       20   Q        Did you have the same position the
    21   concierge --                                        21   entire time you worked there?
    22          Oh, is that the name of it, Concierge        22   A        Yes.
    23   Health Navigation Services?                         23   Q        Was there a title?
    24   A       No.                                         24   A        Vice President of U.S. Market Access.
    25   Q       What is the name of that company?           25   Q        And you left there in 2018? Is that
                                                  Page 87                                                 Page 89
     1   A       Theia, T-H-E-I-A.                            1   right?
     2   Q       And who was the person, the                  2   A      Yes.
     3   entrepreneur you mentioned?
     4   A       Joanna Gordon Martin.
     5   Q       And how long did you have that
     6   professional affiliation?
     7   A       We worked together for about four
     8   months.
     9   Q       And what happened to end that
    10   relationship?
    11   A       I made the determination myself that,
    12   based on the business model as I saw it
    13   developing and discussions with Joanna about a
    14   potential for partnership, we did not see things
    15   similarly.
    16   Q       Uh-huh.
    17   A       And I chose not to extend my engagement
    18   with her. She had asked me to -- to do so, and I
    19   declined.
    20   Q       What did you do after that?                 20   Q      When in 2018 did that happen?
    21   A       I was exploring professional                21   A      February of 2018.
    22   opportunities, a number of professional             22   Q      That's when you began your consulting
    23   opportunities through recruiters.                   23   arrangement with Inivata?
    24   Q       And did you eventually find one that        24   A      Yes.
    25   was suitable?                                       25   Q      How did you get hooked up with Inivata?

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     1 A         The chairman of the board contacted me,      1   A      Yes.
     2   knowing my experience. The chairman of the board     2   Q      Okay. The second paragraph, he says,
     3   was the chief executive officer at Archimedes.       3   "To prepare the organization for this growth
     4   Q       Oh. Okay. Who is that? What's that           4   while continuing to build our commercial
     5   person's name?                                       5   capabilities, including product launch for
     6   A       Jeff Buckhalter.                             6   Xartemis XR, formerly known as MNK-795, and
     7   Q       Where is he physically located?              7   MNK-155, I'd like to share some important
     8   A       I believe he is now based out of             8   information regarding changes to the specialty
     9   Jupiter, Florida.                                    9   pharmaceutical -- pharmaceuticals organization."
    10         (MALLINCKRODT CHICK EXHIBIT NUMBER 6          10         Do you see that?
    11          WAS MARKED FOR IDENTIFICATION.)              11   A      Yes.
    12   MR. CHALOS:                                         12   Q      What was MNK-155?
    13   Q       I hand you what we're marking as            13   A      I don't recall.
    14   Exhibit Number 6. It is Bates-stamped               14   Q      Do you recall whether that drug ever
    15   MNK-TI_0000546859 through MNK-T1_0000548862         15   made it to market?
    16   [sic]. My question to you will be, first, do you    16   MR. DAVISON:
    17   recognize this document?                            17         Objection to form.
    18   A       Yes.                                        18   A      I don't recall.
    19   Q       Okay. What is this?                         19   MR. CHALOS:
    20   A       This is an organizational announcement      20   Q      If you go down here to the
    21   issued by Hugh O'Neill.                             21   second-to-last paragraph, it says, "Finally, I
    22   Q       Okay. Who was Hugh O'Neill? Or who is       22   would like to announce that Terry Terifay has
    23   Hugh O'Neill?                                       23   chosen to leave the organization effective
    24   A       So Hugh, at the time at which I was         24   immediately."
    25   with the organization, headed the specialty         25         Do you see that?
                                                  Page 91                                                        Page 93
     1   pharmaceuticals business.                            1   A       Yes.
     2   Q        Was he in that role the entire time you     2   Q       Do you know why Mr. Terifay elected to
     3   were with Mallinckrodt?                              3   leave the organization?
     4   A        No. I actually preceded Hugh to             4   A       I do not.
     5   Mallinckrodt. He joined not long after I joined      5   Q       Do you know whether it was
     6   the company.                                         6   Mr. Terifay's decision to leave the organization?
     7   Q        Did he stay in that role for the            7   MR. DAVISON:
     8   remaining time you were at Mallinckrodt?             8          Objection to form.
     9   A        He did remain in a leadership role of       9   A       I don't.
    10   the specialty business. I believe his role          10   MR. CHALOS:
    11   evolved over time.                                  11   Q       Have you heard anything about that one
    12   Q        Did he take on a different title at        12   way or the other?
    13   some point?                                         13   A       No.
    14   A        I -- I don't recall.                       14   Q       Did you ever ask anybody about that?
    15   Q        Okay.                                      15   MR. DAVISON:
    16           Okay. So if you look at the                 16          Objection to the form.
    17   first -- well, it's the second page, I guess, of    17   A       I don't recall.
    18   Exhibit 6. Yeah. That's the one on the board.       18   MR. CHALOS:
    19   The second paragraph --                             19   Q       If you'll flip on to the next page, it
    20           Well, let me back up.                       20   says, "The opioids franchise will be led by
    21           So this -- this is a document that is       21   Melissa Falcone, Director of Product Management."
    22   from Hugh O'Neill; right? Signed by him? Or at      22         Do you see that?
    23   least it's got his -- not his handwritten           23   A       Yes.
    24   signature but it's -- it purports to be from him.   24   Q       And she was, at that time, Melissa
    25           Do you see that on the next page?           25   Falcone, in charge of marketing for the opioids

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     1   franchise? Is that right?                            1 Marketing for the Hospital Division. Those were
     2   A        At the time of this announcement,           2 acquisitions that had not yet been made at this
     3   Melissa was a member of the opioid marketing         3 time.
     4   team.                                                4 Q         Okay. Did Melissa Falcone remain in
     5   Q        Uh-huh.                                     5   her position through the time that you worked at
     6   A        Yes.                                        6   Mallinckrodt, meaning the position depicted in
     7   Q        Okay. I'm -- so her new position would      7   Exhibit 6?
     8   be Director of Product Management? That is           8   A       I am aware that she accepted another
     9   essentially the marketing manager; is that right?    9   role within the company. I just don't recall
    10   Or is it something else?                            10   when specifically that was.
    11   A        She led the marketing team for the         11   Q       It was during the time you were at
    12   opioid franchise. So she had other marketers, as    12   Mallinckrodt?
    13   listed here, reporting in to her.                   13   A       I -- I don't recall specifically the
    14   Q        Okay.                                      14   time. I believe so.
    15   A        Yes.                                       15   MR. CHALOS:
    16   Q        So if you flip to the next page,           16          495. Oh, I have it here. Peter, I
    17   there's a diagram. It's a black and white, so       17   have it here. Sorry about that.
    18   it's not as easy to see. But --                     18         (MALLINCKRODT CHICK EXHIBIT NUMBER 7
    19          Can we zoom on that?                         19          WAS MARKED FOR IDENTIFICATION.)
    20          So this depicts an organizational            20   MR. CHALOS:
    21   structure that has a group of people reporting to   21   Q       We're gonna mark as Exhibit Number 7
    22   Mr. O'Neill, including you.                         22   MNK-T1_00023333495 through -- that's it. It's a
    23          Is this an accurate depiction of the         23   native format document. It's stapled a little
    24   organizational structure from October of 2013       24   bit funny, so sorry about that. And you can take
    25   through the end of your tenure with Mallinckrodt,   25   as much time as you need to review that.

                                                  Page 95                                                         Page 97
     1   with respect to you and your position and the        1           My question would be "Do you recognize
     2   reporting that your position did?                    2   this document?" The next question will be "What
     3   A       So with respect to me, there was a           3   is it?"
     4   general manager brought in that reported directly    4   A         So I -- I don't recall specifically
     5   to Hugh and to whom I directly reported.             5   this document nor its use, but it appears to be
     6   Q       Who was that?                                6   the organizational structure of the specialty
     7   A       Mike Matthews.                               7   pharmaceuticals business, both field-based and
     8   Q       Who else report- --                          8   home office-based.
     9         First of all, when was that when               9   Q         Okay. If you look at the -- I guess
    10   Mr. Matthews --                                     10   it's the third page of the exhibit that looks
    11   A       I don't recall the specific time.           11   like what's on the board here --
    12   Some -- somewhere likely 20- -- late 2014, early    12           Yeah, slide number 2. Thank you.
    13   2015.                                               13           It's got -- sort of cut off, but I
    14   Q       Who else at that time reported to           14   assume that's you on the left there?
    15   Mr. Matthews?                                       15   A         Yes.
    16   A       Melissa Falcone. Also, the market           16   Q         It's got you -- and it says, I should
    17   access function, which was filled by Todd           17   say, at the top, "Fiscal year '13 through fiscal
    18   Killian.                                            18   year '14, Brands Specialty Pharmaceuticals
    19   Q       Okay. This is the person all the            19   Commercial Leadership Team and Structure."
    20   way -- that was vacant at the time this was         20           Do you see that?
    21   created, I guess?                                   21   A         Yes.
    22   A       Yes.                                        22   Q         Okay. So the top box here, President
    23   Q       Anyone else?                                23   and General Manager -- I'm assuming it's just
    24   A       Also the Vice-President of Sales for        24   president. It's got a -- it's blocked out. But
    25   the Hospital Division and the Vice-President of     25   is that the role Mr. Matthews eventually filled?

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     1   A         Yes. However, that was some period of     1   sales force to this degree, to these numbers.
     2   time after this organizational structure was in     2   Q       Did the four regional directors happen?
     3   place.                                              3   A       Yes.
     4   Q         Do you recall what the fiscal year at     4   Q       And did the 36 district managers
     5   Mallinckrodt was?                                   5   happen?
     6   A         Yes. The fiscal year began October        6   A       I don't recall the specific number.
     7   1st.                                                7   Q       But more -- it increased from 20 at
     8   Q         Okay. And it lists --                     8   some point?
     9   A         I --                                      9   A       I believe so.
    10   Q         Oh, I'm sorry. Go ahead.                 10   Q       And the field sales representative
    11   A         I beg your pardon. I may be confusing    11   number increased from 211?
    12   that with UCB.                                     12   A       I believe so.
    13   Q         Okay.                                    13   Q       Then it says, in parentheses,
    14   A         I may be confusing that with UCB,        14   "Approximately 50/50 MNK/CSO split."
    15   just...                                            15          Do you see that?
    16   Q         Okay. Do you have any recollection of    16   A       Yes.
    17   what the Mallinckrodt fiscal year was? I mean,     17   Q       What does that mean?
    18   don't expend too much brain power. It's not that   18   A       CSO refers to contract sales
    19   hard to --                                         19   organization.
    20   A         I'm sorry. I may -- I may have           20   Q       At some point in fiscal year '14, did
    21   interchanged those two.                            21   Mallinckrodt engage a contract sales association?
    22   Q         Okay. Well, we'll leave that aside for   22   A       Yes.
    23   now.                                               23   Q       Was that inVentiv?
    24           It's got you listed on slide number 2,     24   A       Yes.
    25   which is the third page of Exhibit Number 7 --     25   Q       I-N, capital V, E-N-T-I-V. Is that
                                                 Page 99                                                 Page 101
     1          Is that right? Seven? Yeah.                  1   right?
     2          It shows that -- under your photograph       2   A       Yes.
     3   there, it says, "Fiscal year '13." It shows you     3   Q       And what was the role of inVentiv?
     4   having responsibility for three regional            4   A       So the inVentiv sales force was
     5   directors, 20 district managers and 211 field --    5   contracted to provide promotional support,
     6   field sales reps.                                   6   field-based field support for Xartemis XR.
     7          Do you see that?                             7   Q       So they provided field sales
     8   A        Yes.                                       8   representatives?
     9   Q        Is that consistent with your memory?       9   A       Yes.
    10   A        Yes.                                      10   Q       Did they, the inVentiv sales
    11   Q        Okay. And then, "Planned for fiscal       11   representatives, report to the district managers
    12   year '14," they have four regional directors, 36   12   similar to the Mallinckrodt employed sales
    13   district managers, and 350 to 380 field sales      13   representatives?
    14   reps.                                              14   A       They reported in to their own
    15          Do you see that?                            15   management structure that worked in partnership
    16   A        Yes.                                      16   with our field management structure.
    17   Q        Okay. Did that actually happen?           17   Q       Would a physician being called upon by
    18   A        No.                                       18   a sales representative know whether the
    19   Q        What -- what actually happened in '14     19   representative worked for inVentiv or worked for
    20   in terms of numbers of people?                     20   Mallinckrodt? Do you understand what I mean?
    21   A        I don't recall numbers of people.         21   Would they be able to tell the difference?
    22   Q        What do you recall that was different     22   A       No.
    23   about what happened versus what's depicted in      23   MR. DAVISON:
    24   Exhibit 7?                                         24          Objection to form.
    25   A        I don't believe that we scaled the        25   MR. CHALOS:

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     1   Q       In terms -- from the physician's             1   A       Yes.
     2   standpoint or whoever the person being called        2   Q       Did you ever do ride-alongs while you
     3   upon's standpoint, the sales representative was      3   worked for Mallinckrodt?
     4   being held out as a Mallinckrodt sales               4   A       Yes.
     5   representative?                                      5   Q       Okay. What is a ride-along?
     6   MR. DAVISON:                                         6   A       When one accompanies a field sales
     7          Objection to form.                            7   representative calling on customers.
     8   A       I don't recall what was shown on the         8   Q       How many times did you do a ride-along
     9   business card of those individuals. But they         9   with Mallinckrodt?
    10   clearly represented Mallinckrodt.                   10   A       I don't recall.
    11   MR. CHALOS:                                         11   Q       Was it a lot? I mean, was it something
    12   Q       And they were speaking on behalf of         12   you did frequently?
    13   Mallinckrodt?                                       13   A       No.
    14   A       Yes.                                        14   Q       How did you decide where to do your
    15   Q       Did the -- was there a regional             15   ride-alongs?
    16   director structure for the contract sales           16   A       If there was a particular appointment
    17   organization as well?                               17   with a particular practice or event, I might
    18   A       They weren't referred to as region          18   consider accompanying a representative.
    19   directors. They were employee relations managers    19   Q       Geographically, where did you do your
    20   and a national sales director.                      20   ride-alongs?
    21   Q       So the national sales director was the      21   A       I don't recall.
    22   person that was at your level in their              22   Q       Did you ever travel to do your
    23   organization, essentially?                          23   ride-along?
    24   A       No. They -- he was at the level of the      24   A       Yes.
    25   region sales directors.                             25   Q       Did you ever do any ride-alongs in
                                                 Page 103                                               Page 105
     1   Q       Oh, I see.                                   1   Tennessee?
     2          Was there a person analogous to you in        2   MR. DAVISON:
     3   the contract sales organization?                     3          Objection to form.
     4   A       No.                                          4   A       Not with -- not while with
     5   Q       Did their national sales director            5   Mallinckrodt.
     6   report to you?                                       6   MR. CHALOS:
     7   A       No.                                          7   Q       You did with some other company?
     8   Q       How did you -- how did you -- how did        8   A       Yes.
     9   Mallinckrodt manage the field sales                  9   Q       Which one?
    10   representatives who were employed by inVentiv?      10   A       With Bristol-Myers Squibb.
    11   MR. DAVISON:                                        11   Q       Any others?
    12          Objection to form.                           12   A       No.
    13   A       The field representatives were within       13   Q       Did you do any ride-alongs in Ohio when
    14   the district structure of district managers and     14   you were with Mallinckrodt?
    15   also within the regional sales structure. So        15   A       Not a ride-along, but I visited there
    16   they worked as part of that district team or part   16   for a business review.
    17   of that regional team.                              17   Q       What's a business review?
    18   MR. CHALOS:                                         18   A       I met with the region sales director
    19   Q       Uh-huh.                                     19   and reviewed their business.
    20   A       And that's -- that was the -- that was      20   Q       Was it Mr. Meyer at the time?
    21   the structure.                                      21   A       Yes.
    22   Q       Their messaging, meaning the messaging      22   Q       Did you review it favorably?
    23   that the inVentiv sales reps delivered, was the     23   MR. DAVISON:
    24   same messaging as the Mallinckrodt sales            24          Objection to form.
    25   representatives?                                    25   A       I was simply absorbing information. It

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                                                 Page 106                                                 Page 108
     1   was not long after my joining the company.           1   happened in fiscal year '14, did Mallinckrodt
     2   MR. CHALOS:                                          2   also hire additional field sales representatives?
     3   Q       Uh-huh.                                      3   A        In the Specialty Pharmaceuticals
     4   A       So it was simply introductory                4   Division?
     5   assimilation meeting into the business.              5   Q        Yes, ma'am.
     6   Q       Did you do that with all the regional        6   A        We continued to -- to hire individuals,
     7   sales directors?                                     7   yes.
     8   A       Yes.                                         8   Q        And that was in anticipation of the
     9   Q       Where in Ohio was that?                      9   Xartemis launch?
    10   A       I don't recall if it was Columbus or        10   A        Yes.
    11   Cincinnati.                                         11   Q        When did Xartemis actually launch?
    12   Q       It was one of the two?                      12   A        I recall a national launch meeting in
    13   A       Yes.                                        13   October of 2014.
    14   Q       We've been going a little while. Let        14   Q        If you look at slide 7 of Exhibit 7, it
    15   me just finish with this document, and then we'll   15   says, "The proposed alignment has 86 districts
    16   take a break and make a plan for the rest of the    16   with 377 territories."
    17   day.                                                17   A        Yes.
    18          If you look at --                            18   Q        And it's got a map there.
    19   MR. ROOS:                                           19          First of all, did this -- did this
    20          Three?                                       20   actually come to fruition? In other words, did
    21   MR. CHALOS:                                         21   this alignment actually happen?
    22          Yeah. Yeah. Well, let's look at slide        22   A        There was additional promotional effort
    23   3. Exhibit 7, slide 3. It's the fourth page of      23   placed in the field. I don't know if this
    24   the exhibit.                                        24   particular alignment is what ultimately was
    25   Q       So if you look at this, it looks to         25   implemented.
                                                 Page 107                                                 Page 109
     1   me -- and tell me if this is correct -- that the     1   Q        If you look at the label for Cleveland,
     2   title of the position that you reported directly     2   Ohio --
     3   to was Vice-President/General Manager, Brands.       3          Do you see that?
     4   Was that -- is that right?                           4   A        Yes.
     5   A        Yes. When I joined the company, this        5   Q        It says, "Cleveland, Ohio, 11."
     6   position was vacant. It remained vacant for a        6          Do you have any idea what that means?
     7   period of time until Mike Matthews joined the        7   A        So, as I read the legend on the bottom,
     8   company.                                             8   the label shows the district name in brackets
     9   Q        I see. Okay.                                9   followed by "Span of Control" in brackets. I
    10           Was this -- how did you refer to this?      10   would recall that would mean 11 representatives
    11   Was this a reorganization or realignment? How       11   in the district that was entitled "Cleveland."
    12   did you internally refer to what happened going     12   Q        Okay. Is that consistent with your
    13   into the fiscal year of 2014?                       13   memory?
    14   A        I recall there was anticipation of         14   A        I don't recall specific numbers of
    15   growing the organization in anticipation of         15   representatives in -- in specific districts.
    16   Xartemis XR's approval.                             16   Q        And does that sound about right, 11
    17   Q        Right. I mean, I just -- I want to         17   sales reps for the Cleveland district?
    18   make sure we're talking about the same -- we're     18   MR. DAVISON:
    19   talking the same language.                          19          Objection to form.
    20           Did you -- was this referred to in some     20   A        I don't recall what the number would
    21   way, like a reorganization, realignment --          21   have been or was.
    22   A        I don't --                                 22   MR. CHALOS:
    23   Q        -- revision or something?                  23   Q        Did you make the slides that
    24   A        I don't recall.                            24   are -- that come immediately after the --
    25   Q        Okay. Well, whatever you called what       25          Well, let's back up.

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     1          So if you turn back a few pages, after       1   right?
     2   slide 3, there's a cover sheet that says,           2   A        Yes.
     3   "Mallinckrodt Pharmaceuticals, Stacy Chick,         3   Q        Was that your start date at
     4   Fiscal Year '14, Brands Sales Organization          4   Mallinckrodt?
     5   Structure."                                         5   A        I believe that was around my start
     6          Do you see that?                             6   date.
     7   A       Yes.                                        7   Q        Yeah. I mean, that's the date that
     8   Q       And then there are some slides that         8   I'll represent to you on Exhibit 3, that's the
     9   come after that, three slides that come after       9   date of your offer letter, and that's also the
    10   that, including the map we just looked at.         10   date of --
    11          Do you see that?                            11   A        Yes.
    12   A       Yes, I see that.                           12   Q        -- Exhibit 5, the announcement that
    13   Q       Did you -- did you make these slides?      13   went out.
    14   A       I don't recall specifically making         14   A        Yes.
    15   these slides.                                      15   Q        So is that the date you actually
    16   Q       Did you approve these slides before        16   started working at Mallinckrodt?
    17   they were put into this presentation?              17   A        I believe so.
    18   A       I don't recall specifically.               18   Q        Did you -- did you have an office at
    19   MR. CHALOS:                                        19   Mallinckrodt?
    20          Why don't we take a break.                  20   A        Yes.
    21   VIDEOGRAPHER:                                      21   Q        Where was your office?
    22          We are now going off the video record.      22   A        I was located off the main campus,
    23   The time is currently 11:28 a.m. This is the end   23   along with all of the specialty pharmaceuticals
    24   of media 2.                                        24   colleagues.
    25              (OFF THE RECORD.)                       25   Q        That was in Missouri?
                                                Page 111                                                      Page 113
     1 VIDEOGRAPHER:                                         1   A       Yes.
     2           We are now back on the video record         2   Q       Was it Hazelwood, Missouri? Was that
     3   with the beginning of media number 3. The time      3   the name?
     4   is currently 11:45 a m.                             4   A       Yes.
     5   MR. CHALOS:                                         5   Q       Did you, when you left Mallinckrodt,
     6   Q        Okay. Let's mark as the next numbered      6   have any specific discussions with Mallinckrodt
     7   exhibit Exhibit 8, document MNK-T1_0007147292.      7   about whether you would be bound by a noncompete
     8          (MALLINCKRODT CHICK EXHIBIT NUMBER 8         8   agreement? You know what I mean when I say
     9           WAS MARKED FOR IDENTIFICATION.)             9   "noncompete agreement"?
    10   MR. CHALOS:                                        10   A       Yes.
    11   Q        And my first question to you will be      11         I'm sorry. Could you ask the question
    12   "Do you recognize this document?"                  12   again?
    13   A        Yes.                                      13   Q       Sure.
    14   Q        What is it?                               14         When you left Mallinckrodt, did you
    15   A        This is a noncompete agreement.           15   have any discussions with anyone at Mallinckrodt
    16   Q        This is a document that you signed when   16   about whether you would be bound by a noncompete
    17   you first started working for Mallinckrodt; is     17   agreement?
    18   that right?                                        18   A       I don't recall a discussion on that
    19   A        Yes.                                      19   matter.
    20   Q        If you look at -- let me see here.        20   Q       Did you feel like you were bound by a
    21   It's toward the end. It says page 7 of 8. It       21   noncompete agreement when you left Mallinckrodt?
    22   ends in 7147304. There's a signature. Is that      22   A       Yes.
    23   your signature there?                              23   Q       Did you make your professional
    24   A        Yes.                                      24   decisions based in -- based on your belief that
    25   Q        It's dated 8-12 of 2013. Is that          25   you were bound by a noncompete agreement?

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                                                         Page 114                                                      Page 116
     1   MR. DAVISON:                                                1 Q         Okay. It says on the top "Separation
     2          Objection to form.                                   2   Agreement Summary For Payroll Purposes Only."
     3   A        This was certainly a consideration that            3   May be an internal document. It may be you've
     4   I kept in mind to uphold my obligation as a                 4   never seen it. But do you recognize how -- do
     5   result of the noncompete.                                   5   you -- do you think you've ever seen this
     6   MR. CHALOS:                                                 6   document before?
     7   Q        Could you pick up Exhibit Number 4? It             7   MR. DAVISON:
     8   should be in that stack over there. It's the                8         Objection to form.
     9   separation agreement you had with Mallinckrodt.             9   A       I don't recall this particular
    10   And, specifically, I'd like to turn to page 5 of           10   document.
    11   11. It says "5 of 11" at the bottom. I don't               11   MR. CHALOS:
    12   know that it's the fifth page of the exhibit, but
    13   it ends in 7147244, the paragraph that says
    14   "Release of All Claims."
    15          Do you see that?
    16   A        Yes.
    17   Q        It says here: Executive -- which I
    18   believe is defined -- that's the way they refer
    19   to you in this agreement.
    20          Executive -- bunch of legalese -- does
    21   remise -- whatever that means -- release and
    22   forever discharge the company, its affiliates,
    23   subsidiaries and parents, et cetera, from any              23        I hope everybody's got their readers.
    24   causes of action.                                          24 We're going to mark as Exhibit Number 10 a
    25          I'm paraphrasing, but -- or I'm                     25 document with the Bates number MNK-T1_0000546174,

                                                         Page 115                                                     Page 117
     1 selectively quoting. But what is -- this -- did               1 and it runs through MNK-T1_0000546204.
     2 you understand that this document, Exhibit 4,                 2          Here's your copy.
     3 included a release of all claims?                             3         (MALLINCKRODT CHICK EXHIBIT NUMBER 10
     4 MR. DAVISON:                                                  4          WAS MARKED FOR IDENTIFICATION.)
     5          Objection to form.                                   5   MR. CHALOS:
     6 A         That's what it says in the document.                6   Q       The Bates number is printed very, very
     7   MR. CHALOS:                                                 7   small on the document for some reason. I don't
     8   Q       Okay. Were you contemplating bringing               8   know why.
     9   claims against Mallinckrodt at the time you left            9          You can take as much time as you need
    10   the company?                                               10   to review this document. I'm going to direct you
    11   A       No.                                                11   to the couple pages that I want to ask you about,
    12   Q       Did you believe you had any basis --               12   and those are the pages that end in 546184 --
    13          God bless you.                                      13   A       All right.
    14          Did you believe you had any basis to                14   Q       -- and 185.
    15   bring any legal claims against Mallinckrodt in             15   A       Okay.
    16   connection with your employment?                           16   Q       But you can look at the rest of the
    17   A       No.                                                17   document if it's helpful.
    18         (MALLINCKRODT CHICK EXHIBIT NUMBER 9                 18   MR. ROOS:
    19          WAS MARKED FOR IDENTIFICATION.)                     19          "Culture, Our Foundation"?
    20   MR. CHALOS:                                                20   MR. CHALOS:
    21   Q       Okay. We've marked as Exhibit Number 9             21          Yeah. There it is.
    22   a two-page document, MNK-T1_007147320 through              22   Q       So the front page of the document says
    23   MNK-T1_007147321. Do you recognize this                    23   "US Specialty Pharmaceuticals Town Hall," dated
    24   document, ma'am?                                           24   June 24th of 2014. Do you see that?
    25   A       No.                                                25   A       June 26th --

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     1   Q       Sorry.                                          1   each person but in categories.
     2   A       -- 2014.                                        2   A       Home office-based employees would be
     3   Q       June 26th, 2014.                                3   present, field-based employees via video
     4   A       Yes.                                            4   conference.
     5   Q       Looking at those small numbers has              5   Q       And you were present even though you
     6   scrambled my brain.                                     6   were technically a field-based employee?
     7          June 26, 2014. US Specialty                      7   A       Yes.
     8   Pharmaceuticals Town Hall; right?                       8   Q       Mr. O'Neill was present?
     9   A       Yes.                                            9   A       Yes.
    10   Q       Was that a physical meeting where              10   Q       Was -- were all the members of the
    11   people were present?                                   11   commercial -- the Brand Specialty Pharmaceutical
    12   A       Yes.                                           12   Commercial Leadership Team present?
    13   Q       Do you remember -- do you remember the         13   A       I don't know.
    14   meeting?                                               14   Q       Okay. So if you turn to the page that
    15   A       I don't recall this specific meeting.          15   is on the board here, which is -- ends in 6184,
    16   Q       If you look at the --                          16   it says "Culture, Our Foundation."
    17   A       I beg your pardon.                             17          Do you see that?
    18   Q       Yes.                                           18   A       Yes.
    19   A       May I -- just -- may I just go through         19   Q       Okay. Before this meeting, had you had
    20   the rest of the document?                              20   any exposure to the "Culture, Our Foundation"
    21   Q       Take as much time as you need.                 21   concepts within Mallinckrodt?
    22   A       Thank you. That will help me.                  22   MR. DAVISON:
    23   Q       And I might suggest if you look at the         23          Objection to form.
    24   second page, it says -- it has video                   24   A       I don't recall specifically when this
    25   instructions.                                          25   concept was introduced.
                                                     Page 119                                                Page 121
     1   A       Yes. Yes.                                       1   MR. CHALOS:
     2   Q       Okay. So --                                     2   Q       There is a mission statement here,
     3   A       Can I go through the rest of the                3   "Reveal and relieve disease for a healthier
     4   document first?                                         4   world."
     5   Q       Absolutely. Tell me when you're ready.          5          Do you see that?
     6   A       Thank you.                                      6   A       Yes.
     7         It actually does help to go through the           7   Q       Was that the mission of this -- the
     8   document.                                               8   specialty pharmaceuticals group while you were at
     9   Q       Uh-huh.                                         9   Mallinckrodt?
    10   A       I -- I do recall this town hall. It            10   A       This -- this cultural foundation
    11   was -- the date was -- was helpful.                    11   applied throughout the entire company.
    12   Q       Okay. So this was a -- an in-person            12   Q       Okay. And is that true for all of the
    13   meeting?                                               13   statements on this page of Exhibit Number 10?
    14   A       Yes.                                           14   A       So this -- this approach applied to all
    15   Q       Were some people participating by              15   divisions of the company.
    16   video?                                                 16   Q       Yes. Okay. Yeah, that's what I'm
    17   A       Yes.                                           17   asking.
    18   Q       Were you in person at the meeting?             18   A       Yes.
    19   A       Yes.                                           19   Q       That's true? Okay.
    20   Q       Where was it?                                  20   A       Yes.
    21   A       At the company's headquarters in               21   Q       Okay. And is that -- were these the --
    22   Hazelwood, New Jersey -- excuse me -- Hazelwood,       22   the approach that was in place during the entire
    23   Missouri.                                              23   time you were at Mallinckrodt?
    24   Q       Was it the entire --                           24   A       No.
    25         Who -- who was present? I don't mean             25   Q       These came into being while you were at

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                                                Page 122                                                Page 124
     1   Mallinckrodt?                                       1   Q       Okay. Do you personally agree with
     2   A       Yes.                                        2   that as being a good core value to have?
     3   Q       And did they persist through the end of     3   A       Yes.
     4   the time that you were at Mallinckrodt?             4   Q       With --
     5   A       Yes.                                        5          You have been in marketing or sales in
     6   Q       If you look at the core values listed       6   the pharmaceutical world for about 20 years; is
     7   on this page, do you see that?                      7   that right?
     8   A       Yes.                                        8   A       More than 20 years. Yes.
     9   Q       It says, "Quality, an unwavering            9   Q       Woo. You're right. 30 years. All
    10   commitment to quality."                            10   right. I'll stop saying that.
    11          Do you see that?                            11          You've been in the pharmaceutical
    12   A       Yes.                                       12   marketing and sales role for a number of years;
    13   Q       While you were at Mallinckrodt, was it     13   right?
    14   a core value of the company that it had an         14   A       Yes.
    15   unwavering commitment to quality?                  15   Q       And, in the course of that, have you
    16   A       Based on my experience, yes.               16   developed an understanding of what are best
    17   Q       Okay. And was it a core value of           17   practices for pharmaceutical marketing?
    18   Mallinckrodt that the company had integrity in     18   MR. DAVISON:
    19   everything the company does?                       19          Objection to form.
    20   A       Yes.                                       20   A       I've had experience over the years in
    21   Q       Did you agree that that was a good core    21   different therapeutic categories to -- to
    22   value for the company to have?                     22   understand and to evaluate practices.
    23   A       Yes.                                       23   MR. CHALOS:
    24   Q       Why is that?                               24   Q       Are there standards in the marketing
    25   A       Why do I believe integrity is a good       25   field that apply to pharmaceutical marketing?
                                                Page 123                                                Page 125
     1   core value?                                         1   MR. DAVISON:
     2   Q       Uh-huh.                                     2           Objection to form.
     3   A       Dealing with the healthcare industry        3   A        Could you elaborate on what you mean by
     4   with the trust of patients, working in a complex    4   "standards"?
     5   environment, having the -- the trust of             5   MR. CHALOS:
     6   healthcare professionals and -- and patients and    6   Q        Yeah. Are there general principles
     7   a high standard in operating I believe is           7   that are accepted in the marketing world, in the
     8   important.                                          8   pharmaceutical marketing world, that apply
     9   Q       If you look at the bottom right of this     9   to -- to pharmaceutical marketing?
    10   page, it says, "Trustworthy. We consistently       10   MR. DAVISON:
    11   model our values."                                 11           Objection to form.
    12         Do you see that?                             12   A        I'm sorry. I'm not -- I'm not
    13   A       Yes.                                       13   following what specifically you're asking for.
    14   Q       And if you flip over to the next page,     14   MR. CHALOS:
    15   which is -- ends in 546185, it says                15   Q        Okay. For example, we just talked
    16   "Trustworthy."                                     16   about a phrase, "Do the right thing, without
    17         Do you see that?                             17   compromise." Right?
    18   A       Yes.                                       18   A        Yes.
    19   Q       It says, "We do the right thing,           19   Q        Is that something that is a general
    20   without compromise."                               20   principle that would apply to pharmaceutical
    21         Do you see that?                             21   marketing, in your view, and based on your
    22   A       Yes.                                       22   experience?
    23   Q       Was that a core value of Mallinckrodt      23   A        Yes. In addition to the regulatory
    24   while you were there?                              24   environment in which the pharmaceutical industry
    25   A       Based on my experience, yes.               25   operates in the United States.

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     1   Q       So a pharmaceutical marketer should be       1   A       Yes. That is required in the
     2   committed to meeting regulatory standards and        2   regulation.
     3   obligations?                                         3   MR. CHALOS:
     4   MR. DAVISON:                                         4   Q       Do you believe that pharmaceutical
     5          Objection to form.                            5   companies should be transparent about who or what
     6   A       The company should be committed to           6   they financially support and who is paid to
     7   following regulatory standards.                      7   endorse their products?
     8   MR. CHALOS:                                          8   MR. DAVISON:
     9   Q       Okay.                                        9          Objection to form.
    10   A       Yes.                                        10   A       Yes.
    11   Q       And a company should speak with candor      11   MR. CHALOS:
    12   about the performance of its products?              12   Q       Do you agree that a pharmaceutical
    13   MR. DAVISON:                                        13   company must never put patients at risk by
    14          Objection to form.                           14   putting profits over patient safety when
    15   A       Yes. Yes.                                   15   marketing a product?
    16   MR. CHALOS:                                         16   MR. DAVISON:
    17   Q       And a company should show unwavering        17          Objection to form.
    18   commitment to patient safety and the integrity of   18   A       Yes.
    19   its products?                                       19   MR. CHALOS:
    20   A       Yes.                                        20   Q       Do you agree that a pharmaceutical
    21   Q       And a company engaged in pharmaceutical     21   company must never make a false or misleading
    22   marketing should act responsibly in its             22   statement to the public?
    23   communities? Do you agree with that?                23   MR. DAVISON:
    24   A       Yes.                                        24          Objection to form.
    25   Q       Do you agree that pharmaceutical            25   A       Yes.
                                                 Page 127                                                 Page 129
     1   companies must never make a false or misleading      1   MR. CHALOS:
     2   statement to the medical community?                  2   Q        Should scientific and educational
     3   MR. DAVISON:                                         3   activities be used for purposes of promoting a
     4         Objection to form.                             4   pharmaceutical product?
     5   A       I believe that it's a pharmaceutical         5   MR. DAVISON:
     6   company's obligation to be truthful and to           6          Objection to form.
     7   provide balanced information, as required by the     7   A        I believe you said scientific and
     8   regulations.                                         8   medical education?
     9   MR. CHALOS:                                          9   MR. CHALOS:
    10   Q       Why is it a pharmaceutical company's        10   Q        I said scientific and education --
    11   obligation to be truthful?                          11          I'll re-ask the question.
    12   MR. DAVISON:                                        12   A        Okay.
    13         Objection to form.                            13   Q        Should scientific and educational
    14   A       The information that a pharmaceutical       14   activities be used for the purpose of promoting a
    15   company provides to healthcare professionals is     15   pharmaceutical product?
    16   essential to the practice of medicine, and it is    16   MR. DAVISON:
    17   important for healthcare professionals to have      17          Objection to form.
    18   accurate information.                               18   A        As I consider scientific and medical
    19   MR. CHALOS:                                         19   education and reflecting on my experience, those
    20   Q       Do you agree that a pharmaceutical          20   are scientific and medical education exchange
    21   company must always accurately disclose             21   opportunities and not suitable for use in
    22   information about the risks of the product, in      22   promotion.
    23   addition to the benefits of the product?            23   MR. CHALOS:
    24   MR. DAVISON:                                        24   Q        Are there ethics rules that govern
    25         Objection to form.                            25   pharmaceutical marketing that you're aware of?

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     1 MR. DAVISON:                                                1   Q        The field sales team?
     2          Objection to form.                                 2   A        Yes.
     3   A        Yes.                                             3   Q        Okay. The re line says, "Talking
     4   MR. CHALOS:                                               4   points re MNK-155 update."
     5   Q        Okay. What are those? I mean -- I                5          Do you see that?
     6   don't mean what are all the rules, but what is            6   A        Yes.
     7   that called?                                              7   Q        Do you -- I know I had asked you
     8   A        So I believe the -- the agency's                 8   earlier, but --
     9   division has -- has changed its name over time.           9   MR. DAVISON:
    10   But there is an office within the FDA that               10          Objection to form.
    11   governs pharmaceutical marketing.                        11   MR. CHALOS:
    12   Q        Okay. Are there any industry rules or           12          Whatever.
    13   principles that you're aware of? Meaning, is             13   Q        -- do you have any recollection as to
    14   there an industry body that puts out ethics rules        14   what MNK-155 was?
    15   for marketing that you're aware of?                      15   MR. DAVISON:
    16   MR. DAVISON:                                             16          Objection to form.
    17          Objection. Objection to form.                     17   A        I don't.
    18   A        I'm -- I'm not aware of that entity.            18   MR. CHALOS:
    19   MR. CHALOS:                                              19   Q        Okay.
    20          I did it again. Put the sticker on the            20          Did you -- I think he objected. Did
    21   wrong document.                                          21   you get that?
    22         (MALLINCKRODT CHICK EXHIBIT NUMBER 11              22   THE COURT REPORTER:
    23          WAS MARKED FOR IDENTIFICATION.)                   23          I will.
    24   MR. CHALOS:                                              24   MR. CHALOS:
    25   Q        We're gonna mark as Exhibit Number 11           25          Okay. It was quiet, so...
                                                       Page 131                                               Page 133
     1   MNK-T1_0000543744. I'm gonna ask you about this           1   MR. DAVISON:
     2   document, particularly the section update                 2          I'll be a little louder.
     3   regarding MNK-155. But you can read the rest of           3   MR. CHALOS:
     4   it at your convenience.                                   4          Yes, please. Make your objections
     5          Have you had a chance to review that               5   louder, would you?
     6   document?                                                 6   Q        It says, "I wanted to share" --
     7   A       Yes.                                              7          I'm sorry. Let me -- let me back up.
     8   Q       Okay. So it says this is an email from            8   Yeah.
     9   a person named Rhonda Sciarra, S-C-I-A-R-R-A.             9          Miss Sciarra says in this email, "With
    10          Do you see that?                                  10   the field call tomorrow, we had talked with
    11   A       Yes.                                             11   Melissa and Kate about a few quick talking
    12   Q       Do you -- who is Miss Sciarra?                   12   points" -- sorry -- "talking point resources for
    13   A       Rhonda was part of the non- --                   13   you regarding the update with MNK155."
    14   communications department.                               14          Do you see that?
    15   Q       She, in this email dated January 15th            15   A        Yes.
    16   of 2015, at 6:31 p.m., it was an email to you and        16   Q        Okay. And then she lists some bullet
    17   somebody named Neil McDaniel.                            17   points here. The second one says, "The US Food
    18          Do you see that?                                  18   and Drug Administration (FDA) has extended the
    19   A       Yes.                                             19   review action date of the new drug application
    20   Q       Who was Neil McDaniel?                           20   (NDA) for MNK-155 in response to Mallinckrodt's
    21   A       Neil was our field operations manager.           21   submission of additional abuse deterrence data."
    22   Q       What does that mean?                             22          Do you see that?
    23   A       He reported to me and was part of our            23   A        Yes.
    24   operational day-to-day interactions with the             24   Q        Okay. Does that jog your memory at all
    25   field team.                                              25   about MNK-155?

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                                                     Page 134                                                  Page 136
     1 A          No.                                              1          Do you see that?
     2   Q        The next bullet point says, "The                 2   A       Yes.
     3   updated action is expected in mid-April 2015, and         3   Q       MNK-795 was Xartemis; right?
     4   the product is expected to launch in the first            4   A       Yes.
     5   half of 2015."                                            5   Q       She says, "Per our discussion, attached
     6           Do you see that?                                  6   are current examples (draft) of BOD slides being
     7   A        Yes.                                             7   created."
     8   Q        Does that jog your memory at all as to           8          Is BOD Board of Directors?
     9   whether MNK-155 made it to market during the time         9   A       Yes.
    10   that you were at Mallinckrodt?                           10   Q       She says, "If you can take the content
    11   A        I don't believe that it did in the time         11   you sent me for the sales launch preparedness and
    12   that I was there.                                        12   format into two -- 2-3 slides, would greatly
    13   Q        Were you involved in preparing for a            13   appreciate it."
    14   launch of MNK-155 in any way?                            14          Do you see that?
    15   MR. DAVISON:                                             15   A       Yes.
    16           Objection to form.                               16   Q       Okay. And then she has some slides
    17   A        I don't recall.                                 17   here that are attached. I guess these are the
    18   MR. CHALOS:                                              18   example slides.
    19   Q        And do you recall being involved in             19          Do you see those?
    20   preparing for a launch of a new product other            20   A       Yes.
    21   than Xartemis while you were at MNK?                     21   Q       Okay. And did you periodically prepare
    22   A        No.                                             22   slides for Mallinckrodt to be presented to the
    23   Q        Okay. You can put that aside.                   23   Board of Directors?
    24          (MALLINCKRODT CHICK EXHIBIT NUMBER 12             24   A       I periodically presented -- or
    25           WAS MARKED FOR IDENTIFICATION.)                  25   developed slides. How they were used -- I don't
                                                       Page 135                                                Page 137
     1   MR. CHALOS:                                               1   know if they were used in Board of Director
     2   Q        We're gonna mark as the next numbered            2   meetings.
     3   exhibit, Exhibit 12, document MNK-T1_0000540835.          3   Q        How frequently --
     4   It ends with MNK-T1_0000540842. That's Exhibit            4          I mean, this seems to be a specific
     5   12. Take as much time as you need to look at              5   request for slides for Board of Directors. Did
     6   that.                                                     6   that occur any other time other than this, that
     7          Okay. Have you had a chance to review              7   you recall?
     8   that?                                                     8   A        Not that I recall.
     9   A        Yes.                                             9   Q        Did you, in fact, prepare slides as
    10   Q        Okay. The transmittal email here on             10   requested by Miss Hasse?
    11   the first page of Exhibit 12 is from a person            11   A        I don't recall.
    12   named Deborah Hass (phonetic) or Hasse,                  12   Q        Did you ever make any presentations to
    13   H-A-S-S-E.                                               13   the Board of Directors?
    14          Do you see that?                                  14   A        No.
    15   A        Yes.                                            15   Q        Did you have any discussions about
    16   Q        And Miss Hasse is the director of               16   presentations that were being made to the Board
    17   strategic marketing? Is that how you remember            17   of Directors?
    18   it?                                                      18   A        I don't recall.
    19   A        Yes.                                            19   Q        Was that something that just happened
    20   Q        What does that mean?                            20   at a different level within the organization?
    21   A        Deborah was one of our marketers in the         21   MR. DAVISON:
    22   specialty pharmaceutical brands.                         22          Objection to form.
    23   Q        Okay. She, in her email, the subject            23   A        When -- preparations or presentations
    24   line is, "MNK-795 launch plan, BOD, November             24   to the board?
    25   13.pptx."                                                25   MR. CHALOS:

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     1   Q        Presentations I'm talking about.                 1   MR. CHALOS:
     2   A        So I -- I don't know who would be                2   Q       Okay. And had you ever heard of
     3   presenting to the board, but I was not part of            3   a -- something called Mallinckrodt PLC?
     4   that.                                                     4   A       I don't recall specifically.
     5   Q        Okay. You -- what company did you work           5   Q       Okay.
     6   for --                                                    6   MR. CHALOS:
     7   MR. DAVISON:                                              7          Why don't we leave it there and we'll
     8          Objection to form.                                 8   go eat lunch?
     9   MR. CHALOS:                                               9   MR. DAVISON:
    10   Q        -- when you were at --                          10          Sounds good.
    11          Sorry.                                            11   VIDEOGRAPHER:
    12          When you were at Mallinckrodt, what               12          We are now going off the video record.
    13   company did you work for?                                13   The time is currently 12:23 p.m.
    14   A        What division did I work for?                   14              (LUNCH RECESS.)
    15   Q        No. Let me --                                   15   VIDEOGRAPHER:
    16   A        I'm sorry.                                      16          We are now back on the video record.
    17   Q        Let me -- let me give it some more              17   The time is currently 1:16 p.m.
    18   context.                                                 18   MR. CHALOS:
    19   A        I'm sorry. Okay.                                19   Q       Miss Chick, did you have any role in
    20   Q        If you look at Exhibit 4, Exhibit 8,            20   marketing or selling Exalgo at any time?
    21   these are the separation agreement and the               21   A       Yes.
    22   noncompete agreement that you signed. The party          22   MR. DAVISON:
    23   listed is Mallinckrodt Enterprises, LLC --               23          Objection to form.
    24          I'm looking at the first paragraph of             24   MR. CHALOS:
    25   both of those documents, Exhibit 4 and 8.                25   Q       What was your role?
                                                       Page 139                                               Page 141
     1   A        Okay. Thank you. Yes.                            1   A        So, as the head of specialty sales,
     2   Q        Okay. And if you look at Exhibit 3,              2   Exalgo was one of the promoted products by the
     3   which is your offer letter --                             3   sales force at the time.
     4   A        Yes.                                             4   Q        And, at some point, that -- the company
     5   Q        -- it says -- well, it's coming from             5   stopped marketing Exalgo; is that right?
     6   somebody named Ian Watkins, Senior Vice-President         6   A        Yes.
     7   and Chief Human Resources Officer. I'm just               7   Q        Do you recall when that was?
     8   reading from the last page of Exhibit 3.                  8   A        I don't.
     9          It says, "I'm pleased to offer you the             9   Q        It was while you were with
    10   position of Vice-President, Sales, Specialty             10   Mallinckrodt, though?
    11   Pharmaceuticals for Mallinckrodt                         11   A        I believe so, yes.
    12   pharmaceuticals."                                        12   MR. CHALOS:
    13          Do you see that?                                  13          Do we need to do anything with that?
    14   A        Yes.                                            14   THE COURT REPORTER:
    15   Q        So it looks like Mallinckrodt                   15          It says "mute" here.
    16   Pharmaceuticals' letterhead.                             16   MR. CHALOS:
    17          Do you see that?                                  17          Yeah.
    18   A        Yes.                                            18   THE COURT REPORTER:
    19   Q        So what -- who did you consider that            19          I hope everybody can hear.
    20   you worked for when you were at Mallinckrodt?            20   MR. CHALOS:
    21   MR. DAVISON:                                             21          All right. Here goes nothing.
    22          Objection to form.                                22          Can you hear us on the phone?
    23   A        I worked -- I considered myself working         23   MS. MUSKETT:
    24   for Mallinckrodt in the pharmaceutical division.         24          Yeah.
    25   Mallinckrodt had several divisions.                      25   MR. CHALOS:

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     1        Okay.                                                  1   according to the front -- first page of Exhibit
     2 Q        Was Exalgo --                                        2   13. I want to direct your attention to the
     3        Let's just mark this.                                  3   Exalgo section there. It says -- it's the second
     4        (MALLINCKRODT CHICK EXHIBIT NUMBER 13                  4   paragraph on the front page. It says, "As you
     5        WAS MARKED FOR IDENTIFICATION.)                        5   know, we are no longer promoting Exalgo as a
     6 MR. CHALOS:                                                   6   consequence of generic entry."
     7 Q        We'll mark as Exhibit 13                             7          Do you see that?
     8 MNK-T1_0000136035. It's a two-page document. It               8   A       Yes.
     9 ends at MNK-T1_0000136036.                                    9   Q       Does that refresh your memory about
    10        Okay. So let me revise that. It's a                   10   when the company stopped promoting Exalgo?
    11 three-page document, even though the third page              11   A       I would just accept it as -- as it's
    12 is blank. So it goes from -- Exhibit 13 goes                 12   written here, that it was around that time.
    13 from MNK-T1_0000136035 through MNK-T1_0000136037.            13   Q       Okay. It -- and I should maybe back
    14        You can take as much time as you need                 14   up. The first paragraph says "given the recent
    15 to review that document. In a moment I'm going               15   changes with Exalgo." So does that -- is that
    16 to ask you if you recognize it and then what is              16   consistent with your memory, at least, that it
    17 it, if you do.                                               17   was sometime in -- in around May of 2014 that
    18 A        Okay.                                               18   Mallinckrodt stopped promoting Exalgo?
    19 Q        Okay. Do you recognize that document?               19   A       Yes.
    20 A        I -- I've read the document. I don't                20   Q       So it was about, what, six months or so
    21 recall the document specifically.                            21   after you were at the company?
    22 Q        Okay. If you flip over to the second                22   A       Yes.
    23 page, it says, "Best regards, Stacy Chick,                   23   Q       Did you play any role in crafting the
    24 Melissa Falcone and Mike Wessler."                           24   sales messages for Exalgo?
    25        Do you see that?                                      25   A       No.
                                                         Page 143                                                Page 145
     1   A        Yes.                                               1   Q       Did you play any role in determining
     2   Q        This was a communication that was sent             2   the sales strategies for Exalgo in terms of which
     3   out to the specialty pharmaceutical sales teams.            3   customers to call on?
     4   Is that right?                                              4   A       May I ask counsel a question?
     5   A        I can't tell --                                    5   Q       Sure.
     6   MR. DAVISON:                                                6   VIDEOGRAPHER:
     7          Objection to form.                                   7          We'll go off the video record.
     8   A        -- from the document if it -- if this              8          We are now going off the video record.
     9   was a draft or if it was actually sent.                     9   The time is currently 1:23 p.m.
    10   MR. CHALOS:                                                10              (OFF THE RECORD.)
    11   Q        I see.                                            11   VIDEOGRAPHER:
    12          Okay. Would -- how were documents like              12          We are now back on the video record.
    13   this communicated to the sales teams? Were they            13   The time is currently 1:25 p.m.
    14   emailed?                                                   14   MR. CHALOS:
    15   A        So anything of a communication nature             15   Q       So what's the answer?
    16   like this would have been emailed.                         16   A       Could you re-ask the question for me,
    17   Q        Does it -- when you were at                       17   please?
    18   Mallinckrodt, if something was a draft, was there          18   Q       Sure.
    19   some marker on it that said "draft" or something           19          Did you play any role in determining
    20   like that?                                                 20   the sales strategies for Exalgo in terms of which
    21   A        I don't recall specifically.                      21   customers to call on?
    22   Q        Okay. But do you see anything about               22   A       So I was a participant in discussions
    23   the document that suggests to you it's a draft?            23   around target lists, which would include which
    24   A        No.                                               24   customers to call on, which types of physician
    25   Q        It's dated May the 20th of 2014,                  25   specialties to call on. I was part of that

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     1   process, yes.                                        1   to promote a product, everything from physician
     2   Q        Okay. What was your concern about           2   targeting to messaging to resources. So sales
     3   answering that question?                             3   strategy could -- could mean a lot of things,
     4   A        I wanted to make sure that I understood     4   so...
     5   the question when you said sales strategy --         5   Q        So, as we go forward, if you have a
     6   Q        Uh-huh.                                     6   question about what I mean by my question --
     7   A        -- for an established product. I            7   A        Uh-huh.
     8   wanted to just have clarity that, you know, for      8   Q        -- I'd prefer if you ask me that rather
     9   the time that I was there, my role in Exalgo was     9   than ask Mallinckrodt's lawyer what I mean by my
    10   somewhat limited in shaping or crafting or          10   question. Is that fair?
    11   evolving the strategy.                              11   A        Okay. Thank you.
    12   Q        And you felt like you needed to ask        12   Q        Is there some element of sales strategy
    13   your Mallinckrodt lawyer that question?             13   that you feel like you're not at liberty to
    14   MR. DAVISON:                                        14   disclose in this deposition today?
    15          I'm going to object to questions             15   A        Not at all.
    16   relating to why she would ask a question as to      16   Q        Did you have conversations with lawyers
    17   read my mind.                                       17   at Mallinckrodt -- not this team representing you
    18   MR. CHALOS:                                         18   here today but while you were at Mallinckrodt --
    19          I'm not sure it's attorney-client            19   at any time about any product that you were
    20   privileged.                                         20   responsible for?
    21   MR. DAVISON:                                        21   A        I didn't have individual conversations.
    22          I'm gonna instruct the witness not to        22   If I did, they would have been part of materials
    23   answer.                                             23   review preparing for review committee.
    24   MR. CHALOS:                                         24   Q        I'm trying to understand what's -- what
    25   Q        Okay. So your concern was --               25   we've been going back and forth in questions and
                                                 Page 147                                                 Page 149
     1           First of all, there was a question           1   answers for three hours today, and I asked you a
     2   pending when she got up to ask you a question,       2   question and for some reason you decided you
     3   which is --                                          3   needed to ask your lawyer about it. I'm trying
     4   MR. DAVISON:                                         4   to understand why that was. I'm not asking for
     5           I understand.                                5   what you said to your lawyer, but if you can help
     6   MR. CHALOS:                                          6   explain what is it about asking about the sales
     7           -- in itself probably violates               7   strategy for Exalgo triggered a concern that you
     8   protocol, but I was wanting to be accommodating      8   needed to ask your lawyers about.
     9   for that. But I don't know that there's an           9   A       I beg your pardon. I should have asked
    10   expectation that that'd be a privileged             10   you that question. I just wanted to get clarity
    11   conversation during the pendency of a question      11   on sales strategy -- not clarity. I wanted to
    12   pending.                                            12   express that sales strategy is quite broad. And
    13           But let me see if I can get the             13   so I wasn't -- I wasn't sure about how -- how to
    14   information without impeding on the                 14   think about that, but it -- my answer here hasn't
    15   attorney-client relationship, which I certainly     15   changed at all.
    16   don't want to do.                                   16          Sales strategy or marketing strategy's
    17   Q         So you said you -- you were -- you        17   a complex process, and it's not something that
    18   wanted to make sure you understood the question     18   one -- one person alone does. So I wanted to
    19   when I said sales strategy.                         19   make sure that I represented that it was a
    20   A         Yes.                                      20   process with multiple stakeholders.
    21   Q         What is ambiguous about sales strategy,   21   Q       Did you consider your question to your
    22   if anything? Or what is unclear about sales         22   lawyer to be confidential in some way?
    23   strategy?                                           23   A       No.
    24   A         I didn't characterize it as unclear.      24   Q       Okay. So why don't you tell me the
    25   It's a lot of elements into -- that go into how     25   question you asked your lawyer?

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     1   MR. DAVIS:                                          1   that right?
     2          I'm gonna object to the form of that.        2   A       Yes.
     3   I'm gonna instruct her not to answer. Object to     3   Q       What does it mean to be opioid-naive?
     4   it as privileged.                                   4   A       To not have had exposure to an opioid
     5   MR. CHALOS:                                         5   previously nor have blood levels that would
     6          Hmm. Let me think about that.                6   indicate use of opioids.
     7          All right. Well, let's -- we'll leave        7   Q       Let's look back at Exhibit 13, if you
     8   that there for now and we'll think about what we    8   would. Under the target -- under -- or on page
     9   want to do about that.                              9   1, "Xartemis XR," do you see where that paragraph
    10   Q        Did you play any role with respect to     10   is?
    11   the sales strategy for Xartemis in terms of who    11   A       Yes.
    12   to call on?                                        12   Q       Then there's a paragraph number 1 there
    13   A        I was a participant in that process,      13   says "Targeting."
    14   yes.                                               14          Do you see that?
    15   Q        What was your role with respect to        15   A       Yes.
    16   Xartemis?                                          16   Q       It says -- let me see -- third
    17   A        With respect to Xartemis, I was the       17   sentence, "It is vital to present Xartemis XR to
    18   sales leader, so I had participated in             18   all targets, not just hyper and super targets."
    19   discussions concerning customer targeting,         19          Do you see that?
    20   position targeting, messaging, resources to be     20   A       Yes.
    21   used in that approach.                             21   Q       That is in reference to the
    22   Q        Did you participate in the process of     22   prescribers; right?
    23   deciding which types of patients the sales team    23   A       Yes.
    24   would convey to physicians would be appropriate    24   Q       Okay. So prescribers were put into
    25   for prescribing Xartemis to?                       25   categories that included hyper target, super
                                                Page 151                                                 Page 153
     1   MR. DAVISON:                                        1   target, target, and opportunistic target? Is
     2           Objection to form.                          2   that right?
     3   A        I would characterize my role in that       3   A        Yes.
     4   more of a recipient of information, of              4   Q        What does each of those determinations
     5   understanding market research findings, clinical    5   mean, in general terms? Let's start with hyper
     6   information about where patient benefit would be    6   target. What does that mean?
     7   observed. But I didn't make a determination         7   A        So I don't recall the specific
     8   about the specific patient type. That -- that       8   definition. As I read this, this would mean to
     9   is -- that was not my role.                         9   me targets that would have more likely patient
    10   MR. CHALOS:                                        10   population within their practice than others.
    11   Q        What patient type was targeted by the     11   Q        So in -- in terms of -- of gradations,
    12   Xartemis sales team while you were at              12   hyper targets would be physicians who, for
    13   Mallinckrodt?                                      13   whatever reason, were most likely to be
    14   MR. DAVISON:                                       14   prescribing or most likely to prescribe Xartemis
    15           Objection to form.                         15   or at least be -- potentially prescribe Xartemis?
    16   A        The patient profile for Xartemis XR was   16   Am I saying that right?
    17   an acute pain patient.                             17           Let me scratch that. Let's start
    18   MR. CHALOS:                                        18   again.
    19   Q        What does that mean?                      19           In terms of gradations, hyper target
    20   A        So patients that would experience acute   20   was the top category, I guess?
    21   pain as a result of something on the order of      21   A        Yes.
    22   surgical experience, perhaps a fracture, an        22   Q        And what -- what is that evaluating?
    23   injury, some sort of trauma event like that.       23   Is it the likelihood that this physician would be
    24   Q        So the patient profile for Xartemis       24   a prescriber of Xartemis?
    25   was -- or included opioid-naive patients? Is       25   A        So a lot of ingredients go into a

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     1   targeting approach --                                1   MR. DAVISON:
     2   Q       Uh-huh.                                      2          Objection to form.
     3   A       -- considering physician specialty,          3   A       That's -- that's what the sentence
     4   practice location, prescribing history, a number     4   says, yes.
     5   of elements.                                         5   MR. CHALOS:
     6   Q       Okay. But here, the directive to the         6   Q       Okay. Do you recall giving that
     7   sales reps is don't just focus on your hyper and     7   instruction?
     8   super targets but focus on all your targets. Is      8   A       I don't recall the specific instance,
     9   that right?                                          9   but this term, "logic and emotion," was used as a
    10   A       That's how I read this, yes.                10   training approach.
    11   Q       Okay. Oh, I see. I guess I should           11   Q       At Mallinckrodt?
    12   have read the last sentence here.                   12   A       Yes.
    13          "Please keep in mind the targets were        13   Q       The number one focus of the
    14   created to provide you with the best                14   pharmaceutical -- specialty pharmaceutical sales
    15   opportunities for success --"                       15   team at Mallinckrodt in May of 2014 was in
    16          "You" being the sales representative         16   generating Xartemis XR prescriptions. Is that
    17   there; is that right?                               17   right?
    18   A       Yes.                                        18   A       I'm sorry. Could you ask the question
    19   Q       "-- taking into account acute pain          19   again?
    20   patient volume, market access, brand usage and      20   Q       Sure.
    21   volume."                                            21          The number one focus of the
    22          Is that right?                               22   Mallinckrodt specialty pharmaceutical sales team
    23   A       Yes.                                        23   in 2014 was to generate Xartemis XR
    24   Q       So are those the ingredients that went      24   prescriptions; is that correct?
    25   into this categorization?                           25   MR. DAVISON:
                                                 Page 155                                                 Page 157
     1   A        They're some of the ingredients.            1          Objection to form.
     2   Q        There are others as well?                   2   A        Yes.
     3   A        Yes.                                        3   MR. CHALOS:
     4   Q        What others do you think that are not       4   Q        And in August of 2014, a number one
     5   listed there?                                        5   priority of the Mallinckrodt specialty
     6   A        One that comes to mind would be             6   pharmaceutical sales team was to increase the
     7   physician specialty.                                 7   number of high-value prescribers and overall
     8   Q        Okay. Any others come to mind?              8   prescriptions of Xartemis. Is that correct?
     9   A        That's probably the most significant.       9   A        So -- I'm sorry. I don't have the
    10   Q        And the next paragraph there, on the       10   benefit of what you're reading from.
    11   back side -- there we go -- page -- paragraph 2,    11   Q        Yeah. I'm asking your memory.
    12   "Message," third line down, it says, "To increase   12   A        Based on -- based on what I recall from
    13   your impact, remember to add logic and emotion to   13   those time periods, yes.
    14   your conversations to appeal to HCPs on an -- on    14   Q        At some point, there was a concern with
    15   an emotional level."                                15   respect to Xartemis that pharmacies were not
    16          Do you see that?                             16   stocking Xartemis such that it would be available
    17   A        Yes.                                       17   if a patient were prescribed it. Is that right?
    18   Q        What is HCP there?                         18   A        Yes.
    19   A        Healthcare practitioner or healthcare      19   Q        The sales representatives were
    20   professional.                                       20   instructed to include pharmacies among the
    21   Q        And, so, the instructions to the sales     21   customers that they called on; is that right?
    22   representatives was to add logic and emotion to     22   A        Yes.
    23   the conversations to appeal to healthcare           23   Q        And the Mallinckrodt sales
    24   practitioners on an emotional level. Is that        24   representatives were also instructed to ask
    25   right?                                              25   physician practice groups or physician offices to

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     1   call pharmacies to tell them that they intended      1   not a product that retail pharmacies took on
     2   to prescribe Xartemis so that the pharmacy would     2   without having known demand.
     3   then order Xartemis? Is that right?                  3   Q       Okay. And how -- what was the physical
     4   A       Yes.                                         4   process for a sales representative to have an
     5   Q       And at some point the -- Mallinckrodt        5   order made by the pharmacy?
     6   had a -- an app that the sales representatives       6   A       Most often it's when a prescription is
     7   would bring with them into the pharmacies, and       7   presented by a patient or through an electronic
     8   they would attempt to persuade the pharmacy to       8   media from the physician to the pharmacy.
     9   make an order right there for Xartemis. Is that      9   Q       Okay. Was there ever a program
    10   right?                                              10   where -- I don't know if program's the right
    11   MR. DAVISON:                                        11   word. Do you recall, while you were at
    12          Objection to form.                           12   Mallinckrodt, that the sales representatives were
    13   A       May I clarify --                            13   encouraged to ask the pharmacy that they were
    14   MR. CHALOS:                                         14   calling on to make an order of Xartemis at the
    15   Q       Sure, absolutely.                           15   time the pharm- -- the sales representative was
    16   A       -- what you just said?                      16   in the pharmacy, irrespective of whether a
    17   Q       Yes.                                        17   prescription was headed their way?
    18   A       The app was a pharmacy locator for          18   A       Yes.
    19   pharmacists that -- or pharmacies that stocked      19   Q       And how -- how physically --
    20   Xartemis XR to check and was primarily used not     20          Well, I'm going to ask how physically
    21   within the pharmacy but primarily within a          21   did that happen? Was there a computer program or
    22   physician's office to be able to check the          22   did somebody pick up a phone and call to make an
    23   nearest location of a pharmacy stocking Xartemis    23   order?
    24   XR.                                                 24   A       No. More -- most often a sales
    25   Q       Was there ever a -- maybe I'm               25   professional would present themselves within the
                                                 Page 159                                                 Page 161
     1   not -- maybe app is not the right word. Maybe        1   pharmacy, ask to speak to a pharmacist, ask if
     2   it's some kind of other computer program. But        2   the product was on the shelf. If not, sales
     3   was there ever some sort of system where the         3   professional would detail the pharmacist on the
     4   sales reps would go into the pharmacies and would    4   product and share with them that the product was
     5   ask the pharmacy to make an order of Xartemis on     5   being actively promoted to physicians in the area
     6   the spot --                                          6   and ask for a bottle to be ordered from the
     7   A       Yes.                                         7   wholesaler or from the warehouse to be placed on
     8   Q       -- through the -- through the sales          8   the pharmacy shelf, thereby having a -- an
     9   representative?                                      9   inventory ready when a prescription was
    10   A       Yes.                                        10   presented.
    11   Q       Okay. How -- explain that. How did --       11   Q        I see. And did this sales
    12   how did that process work? Please.                  12   representative have any way to facilitate that
    13   A       So with the launch of a new product,        13   order, or would the pharmacy have to order it
    14   without a historical demand upon which to           14   through some other channel?
    15   anticipate future orders and, therefore, guide      15   A        So a pharmacist or a pharmacy tech
    16   inventory management at the pharmacy level,         16   would order the product. A sales professional
    17   oftentimes it's difficult to get a pharmacy to      17   was not -- is not part of that equation.
    18   stock a new product without that demand, that       18   Q        Okay. So they would -- the sales
    19   demonstrated demand.                                19   professional would say to the pharmacist, after
    20          And, so, in this case, having                20   their interaction, "Would you please now order
    21   physicians write a prescription for an acute pain   21   this from your wholesaler, whoever you choose?"
    22   product, which was needed, you know, in -- in       22   Is that how it worked?
    23   fairly short course, physicians and patients        23   A        Yes.
    24   needed information about which pharmacists or       24   Q        Okay. In other words, they wouldn't
    25   which pharmacies stocked Xartemis XR. This was      25   actually make the order through the sales rep.

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     1 A          No.                                         1   1:09 a.m., to a group of people that looks to
     2   Q        I asked that the wrong way.                 2   me -- I'm gonna guess here -- the regional sales
     3           Would they actually make the order           3   directors?
     4   through the sales rep?                               4   A       Yes.
     5   A        No.                                         5   Q       And who is Thomas Bonk?
     6   Q        At some point --                            6   A       So Thomas was the national sales
     7           Well, let's mark this as the next            7   director for inVentiv Health associated with the
     8   numbered exhibit.                                    8   contract sales organization.
     9          (MALLINCKRODT CHICK EXHIBIT NUMBER 14         9   Q       And, in -- in general terms, you were
    10           WAS MARKED FOR IDENTIFICATION.)             10   forwarding an email that Christian Kampfl had
    11   MR. CHALOS:                                         11   sent to his west region sales team? Is that
    12   Q        So we're marking as Exhibit Number 14      12   right?
    13   MNK-T1_0000135662 through MNK-T1_0000135664.        13   A       Yes.
    14   It's Exhibit 14.                                    14   Q       Christian Kampfl at that time was the
    15           Oh. You ready?                              15   regional director for the west region?
    16   A        Uh-huh.                                    16   A       Yes.
    17   Q        Okay. So at some point Mallinckrodt        17   Q       Kimberly Gawart was at the time the
    18   had a program they called the PPI program. Is       18   regional sales director responsible for a region
    19   that right?                                         19   that included Ohio; is that right?
    20   A        Yes.                                       20   A       Yes.
    21   Q        Okay. What was that?                       21   Q       Did Miss Gawart's region at that time
    22   A        This was a patient copay program           22   include Tennessee as well?
    23   delivered by a card that would assist with          23   A       I don't recall.
    24   patient out-of-pocket costs associated with a       24   Q       You, in your email, said -- this is to
    25   prescription.                                       25   Christian, Bill, Kim and Jay. "As successful and
                                                 Page 163                                                 Page 165
     1 Q           And the intention of the PPI program       1   accomplished senior field leaders, I know each of
     2   was that the patient would not have to pay any       2   you send inspirational and motivating messages to
     3   out-of-pocket money for one prescription of          3   your teams. Please cc me on these. It's so very
     4   Xartemis; is that right?                             4   important that we motivate and encourage our
     5   A         Yes.                                       5   teams to reach their potential."
     6   Q         Was there a limit as to what number of     6          Is that right? That's what you said.
     7   pills was in the prescription in terms of whether    7   A       Yes.
     8   the PPI card would be available?                     8   Q       "I'll continue to share these messages
     9   A         I don't recall.                            9   with your colleagues and home office so all know
    10   Q         It was -- the PPI card was a              10   how invested each of you are in our success."
    11   one-time-use only up to $450.00; right?             11          Right? That's what you said there?
    12   A         Yes.                                      12   A       Yes.
    13   Q         You can put that aside.                   13   Q       You then go on to reference a goal of
    14           (MALLINCKRODT CHICK EXHIBIT NUMBER 15       14   10 TRx's per territory per week by September.
    15            WAS MARKED FOR IDENTIFICATION.)            15          Do you see that?
    16   MR. CHALOS:                                         16   A       Yes.
    17   Q         So we'll mark as Exhibit Number 15,       17   Q       What does that mean?
    18   it's a three-page document, MNK-T1_0000545292       18   A       This was a general goal for every
    19   through MNK-T1_0000545294. Will be Exhibit 15.      19   territory to achieve by the end of September.
    20            Have you had a chance to review that       20   Q       And what does ten TRx's mean?
    21   document?                                           21   A       Ten prescriptions.
    22   A         Yes.                                      22   Q       This was, in this context, ten
    23   Q         Okay. The first, in terms of how it       23   prescriptions of Xartemis?
    24   appears on the page, the beginning of Exhibit 15    24   A       Yes.
    25   is an email from you dated July 23rd of 2014, at    25   Q       You go on here to say, "It is so

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     1   important that each of you take time to reflect             1   Q       One of the challenges with Xartemis was
     2   on what you and your teams have accomplished                2   that physicians had a -- had ingrained
     3   since launch."                                              3   prescribing habits in terms of what they
     4          And the first bullet point here is,                  4   prescribed for their acute pain patients; is that
     5   "Courageous entry into new customer                         5   right?
     6   types -- surgical specialty practices -- moving             6   MR. DAVISON:
     7   from chronic pain expertise and into acute pain             7          Objection to form.
     8   expertise."                                                 8   A       Yes.
     9          Do you see that?                                     9   MR. CHALOS:
    10   A       Yes.                                               10   Q       And one of the goals of the
    11   Q       What did you mean by that?                         11   Mallinckrodt sales force at that time was to
    12   A       We learned through the launch of                   12   change ingrained prescribing habits to include
    13   Xartemis XR that ambulatory surgical centers were          13   the Xartemis product; right?
    14   new but also approp- -- appropriate, meaning               14   A       Yes.
    15   patient types -- practice setting that the sales           15   MR. CHALOS:
    16   force of Mallinckrodt that had previously been             16          Let's take a break here so we can
    17   very focused in chronic pain with the promotion            17   change the tape.
    18   of Exalgo, this was a -- a new practice setting            18   VIDEOGRAPHER:
    19   for the sales force that lent itself to volumes            19          We are now going off the video record.
    20   of patients with acute pain.                               20   The time is currently 2 p.m. This is the end of
    21   Q       When you say they were new, the                    21   media number 3.
    22   ambulatory surgery centers were new, you mean new          22              (OFF THE RECORD.)
    23   to the Mallinckrodt sales force?                           23   VIDEOGRAPHER:
    24   A       Yes.                                               24          We are now back on the video record
    25   Q       Okay. And this -- Xartemis was, in                 25   with the beginning of media number 4. The time
                                                       Page 167                                                    Page 169
     1   terms of sales messaging, was being promoted as a           1 is currently 2:09 p.m.
     2   drug that is both -- both fast-acting and                   2 MR. CHALOS:
     3   long-lasting; is that right?                                3 Q       We're gonna mark as Exhibit 16 a
     4   A       Yes.                                                4 document that's MNK-T1_0000537717 through
     5   Q       Whereas, Exalgo was more focused on                 5 MNK-T1_0000537718.
     6   people with chronic pain who needed long-lasting,           6         (MALLINCKRODT CHICK EXHIBIT NUMBER 16
     7   steady state opioids?                                       7          WAS MARKED FOR IDENTIFICATION.)
     8   A       Yes.                                                8   MR. CHALOS:
     9   Q       With respect to --                                  9   Q       And you can read the entire document.
    10          Well, let's look at the fourth bullet               10   I'm gonna direct you to a couple of places, but
    11   point here. Sorry. The third. "Convincing                  11   you can read it.
    12   retail pharmacists to stock XXR" --                        12   A       Okay.
    13          XXR is Xartemis XR; right?                          13   Q       Ready?
    14   A       Yes.                                               14          Okay. So Exhibit -- sorry -- 16, have
    15   Q       -- "in the most challenging C-II                   15   you seen this document before?
    16   environment and moving inventory to demonstrate            16   A       I'm reading it now, and I see my name
    17   demand."                                                   17   attached to it, an email that I sent, so I would
    18          Do you see that?                                    18   have to say yes.
    19   A       Yes.                                               19   Q       And it's entitled "Important
    20   Q       What does C-II mean there?                         20   Information," the --
    21   A       That's a narcotic schedule                         21          Sorry. I'm looking at the text of the
    22   classification.                                            22   communication here. "Important Information.
    23   Q       So, in other words, a Schedule II drug             23   Please read entire communication."
    24   is what -- what Xartemis was?                              24          And it's directed to the specialty
    25   A       Yes.                                               25   pharmaceutical sales team. Do you see that?

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     1   A       Yes.                                                  1   representative could earn?
     2   Q       Okay. The second paragraph of the                     2   MR. DAVISON:
     3   communication says, "As a consequence of generic              3          Objection.
     4   entry, we will stop all Exalgo field promotion on             4   A       As long as the representative was
     5   Monday, May 19."                                              5   meeting the -- the goal. So, yes, it's about
     6          Do you see that?                                       6   numbers of prescriptions, but it's also versus
     7   A       Yes.                                                  7   potential in the territory.
     8   Q       Okay. So is that consistent with your                 8   MR. CHALOS:
     9   memory of when the field promotion for Exalgo was             9   Q       And that was, in part, to control for
    10   stopped?                                                     10   the variance among territories in terms of
    11   A       Yes.                                                 11   potential?
    12   Q       I knew I'd seen a date somewhere. I                  12   A       Yes.
    13   just couldn't remember where I'd seen it.                    13   Q       So sales representatives had a
    14          And, as a result of stopping the Exalgo               14   financial incentive to encourage physicians to
    15   field promotion, Mallinckrodt had to then adjust             15   write prescriptions for Mallinckrodt products in
    16   the formula for calculating sales representative             16   their territories; right?
    17   incentive compensation; right?                               17   MR. DAVISON:
    18   A       Yes.                                                 18          Objection to form.
    19   Q       And let's back up one step and talk                  19   A       The primary responsibility of the sales
    20   about that concept.                                          20   representative was to educate physicians about
    21          The sales representatives at                          21   Xartemis XR and the properties of the product. I
    22   Mallinckrodt were paid a base salary, and then               22   don't know that I would use the word "encourage."
    23   they were given bonuses based on performance;                23   I think we -- we consider it more of educating
    24   right?                                                       24   and informing.
    25   A       They are base salary as the primary                  25   MR. CHALOS:
                                                           Page 171                                                Page 173
     1   means of their compensation, and then there was a             1 Q         Okay. The purpose of educating
     2   variable incentive performance-based component of             2   physicians about Mallinckrodt products was to
     3   their compensation.                                           3   generate prescriptions for Mallinckrodt products;
     4   Q        Okay. And the incentive                              4   right?
     5   performance-based component of their compensation             5   A       Yes.
     6   was based in part on the number of prescriptions              6   Q       When --
     7   written in their territory for                                7          And let's -- I guess we can put aside
     8   Mallinckrodt-promoted drugs?                                  8   Exhibit 16 for now. Let's go to this document.
     9   A        Yes. It was based on achievement to a                9         (MALLINCKRODT CHICK EXHIBIT NUMBER 17
    10   territory-specific goal for those -- for each                10          WAS MARKED FOR IDENTIFICATION.)
    11   product in their territory.                                  11   MR. CHALOS:
    12   Q        And there was some formula that                     12          So we'll mark as Exhibit 17
    13   factored in variables such as the number of                  13   MNK-T1_0001024933. Exhibit 17.
    14   targets in their -- in their territory as well as            14          See, Lois, we're eating into those
    15   the number of prescriptions written for                      15   zeros over there on the left.
    16   Mallinckrodt products; right?                                16   Q       Have you had a chance to review the
    17   A        Actually, the incentive compensation                17   document?
    18   formula is based upon a number of factors,                   18   A       Yes.
    19   including market potential based on prescribing              19   Q       This -- do you recognize the document,
    20   history of similar products and, yes, numbers of             20   number 17?
    21   physicians in a territory and -- and other                   21   A       I do.
    22   factors.                                                     22   Q       Okay. What is that?
    23   Q        And, as a general principle, the more               23   A       This was a letter of recognition that
    24   prescriptions that were written in a given                   24   went to a number of sales professionals who were
    25   territory, the more bonus pay a sales                        25   performing at a higher level amongst their peers

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     1   in Xartemis XR.                                     1   just don't recall at this time.
     2   Q       Okay. And is this the type                  2   Q       Are they at the end of a calendar year,
     3   communication that --                               3   typically, the 2013 trip -- sorry -- 2014 trip?
     4          Well, first of all, this was something       4   A       The trip would have been in the spring
     5   that came from you?                                 5   of the following year.
     6   A       Yes.                                        6   Q       Did you go on one in 2015?
     7   Q       Okay.                                       7   A       Yes, I believe so. I'm sorry. I
     8   A       Myself and Hugh O'Neill.                    8   recall one trip, and I just don't recall if it
     9   Q       This went to sales representatives,         9   was 2014 or 2015.
    10   other than Jean-Paul Lemerand; is that right?      10   Q       Okay. The district managers were also
    11   A       Yes.                                       11   given a bonus based on their performance of the
    12   Q       I mean, you selected a group of high       12   sales representatives in their districts; is that
    13   performers and sent them this letter; is that      13   right?
    14   right?                                             14   A       Yes.
    15   A       Yes. I don't recall how many or what       15   Q       And were the regional managers also
    16   the threshold was, but yes.                        16   given a bonus based on the performance of the
    17   Q       Was there any --                           17   sales representatives in their region?
    18          Let me back up. At the end of each          18   A       Yes.
    19   year, the highest performers in terms of sales     19   Q       Was that based on the same formulas
    20   representatives would get, in addition to their    20   that applied to the sales representatives?
    21   bonus pay, they'd get some sort of recognition.    21   A       The formulas applied for managers and
    22   I believe in some years it's called the            22   directors were different from those for
    23   President's Club? Is that right?                   23   individual sales representatives.
    24   A       Yes.                                       24   Q       What else went into the district and
    25   Q       And that would include, at least in        25   regional managers' formulas, if you know?
                                                Page 175                                                 Page 177
     1   some years, a trip somewhere for some period of     1   A       I -- I don't recall the specifics.
     2   time? Is that right?                                2   But, as you described, it was based on the
     3   A       Yes.                                        3   collective achievement of their respective teams.
     4   Q       A vacation trip; right? In other            4   That's how it differed from an individual sales
     5   words, it wasn't a "you get to go do more work."    5   representative.
     6   You get to go and hang out with your family and     6   Q       Okay. Same -- same variables but
     7   stuff.                                              7   averaged out over their sales force?
     8   A       There was a guest included on an            8   A       Yes.
     9   incentive trip with other winners and their         9   Q       In 2014, was there an additional
    10   guests.                                            10   incentive put in place for sales representatives
    11   Q       I think one year it was in Maui. Is        11   related to Xartemis?
    12   that right?                                        12   A       Additional to their variable
    13   A       Yes.                                       13   compensation?
    14   Q       And at some point --                       14   Q       Yes, ma'am.
    15          Well, by the way, did that happen at        15   A       There may have been a sales contest. I
    16   the two year-ends that you were at Mallinckrodt?   16   don't -- I don't recall specifics.
    17   MR. DAVISON:                                       17   Q       Do you recall there being a, quote,
    18          Objection to form.                          18   surge in 2014 with respect to Xartemis?
    19   A       So I attended a President's Club trip      19   A       Yes.
    20   in Hawaii as part of the 2014 award.               20   Q       And --
    21   MR. CHALOS:                                        21   A       Thank you.
    22   Q       Was there one in 2013 as well?             22   Q       And do you recall that there was a -- a
    23   A       I believe so.                              23   weekend trip that was being offered as part of a
    24   Q       You didn't go to it?                       24   sales contest for sales representatives? I think
    25   A       I don't recall. I -- I may have. I         25   it was in the fourth quarter of 2014.

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     1 A          I believe -- I believe that's correct.      1   A       Yes.
     2   Q        Did you go on that trip as well?            2   Q       He says he wants the plan of action to
     3   A        No.                                         3   include a back-to-basics approach to generate RXs
     4   Q        At some point, Mallinckrodt concluded       4   immediately.
     5   that Xartemis promotion was not successful. Is       5          Do you see that?
     6   that right?                                          6   A       Yes.
     7   MR. DAVISON:                                         7   Q       RXs are prescriptions?
     8           Objection to form.                           8   A       Yes.
     9   A        Yes.                                        9   Q       He encourages -- encouraged the brand
    10   MR. CHALOS:                                         10   team to put forth a guarantee program around
    11   Q        Let's look at --                           11   Xartemis that says if the physician and the
    12          (MALLINCKRODT CHICK EXHIBIT NUMBER 18        12   patient are not satisfied with Xartemis, we,
    13           WAS MARKED FOR IDENTIFICATION.)             13   Mallinckrodt, will reimburse their cost of the
    14   MR. CHALOS:                                         14   copay not only for that patient but for the next
    15   Q        Let's mark as Exhibit 18                   15   patient that the physician puts on the drug. Is
    16   MNK-T1_000223534 [sic] through MNK-T1_0002235397.   16   that right?
    17           You can read the entire thing. I'm          17   A       Yes. That's what it says there.
    18   gonna ask you questions about probably              18   Q       Did that ever happen? Did that program
    19   Mr. O'Neill's portion of this email.                19   ever get implemented?
    20           Okay. Have you had a chance to review       20   A       I don't recall that program being
    21   Exhibit Number 18?                                  21   implemented.
    22   A        Yes.                                       22   Q       He also -- Mr. O'Neill says that he
    23   Q        So this is in -- let me focus on the       23   would like to take our highest performing 10
    24   email from Mr. O'Neill to you, Ellen McCune, Todd   24   percent of reps and bring them together on a
    25   Killian dated May 19th, 2014, at 8:52 p.m.,         25   weekend to turn them loose on the organization
                                                 Page 179                                                 Page 181
     1   subject line: Critical, Immediate Attention          1   and the non-prescribing physicians.
     2   Required.                                            2          Do you see that?
     3          Do you see that?                              3   A        Yes.
     4   A       Yes.                                         4   Q        Do you have any idea what it means to
     5   Q       This is -- Hugh O'Neill is the, at this      5   turn them loose on the organization?
     6   point, the boss over -- over your group; right?      6   MR. DAVISON:
     7   A       Yes.                                         7          Object to form.
     8   Q       And Mr. O'Neill at this point was            8   A        I don't know what he meant by that.
     9   characterizing the Xartemis launch as a failure;     9   MR. CHALOS:
    10   right?                                              10   Q        Did that ever happen? Was there ever a
    11   A       Yes.                                        11   gathering of the highest 10 percent -- highest
    12   Q       That's his word?                            12   performing 10 percent of reps brought together on
    13   A       Yes.                                        13   a weekend?
    14   Q       He, Mr. O'Neill, requested an immediate     14   A        I -- I don't recall.
    15   plan of action to be shared with the entire         15   Q        Mr. O'Neill went on to say, "The bottom
    16   commercial leadership. Is that right?               16   line is one have one common goal, generate
    17   A       Yes.                                        17   prescriptions."
    18   Q       Do you remember getting this email, by      18          Do you see that?
    19   the way?                                            19   A        Yes.
    20   A       Yes.                                        20   Q        He said, "Everything else that is not
    21   Q       Nothing good happens Monday night at        21   generating prescriptions should become a
    22   8:52 p.m., I guess. I'm sure that was a fun         22   secondary priority."
    23   email to get, huh? I say that sarcastically.        23          Do you see where he said that?
    24   This is a, I assume, a difficult email to           24   A        Yes.
    25   receive; right?                                     25   Q        Did -- well, what happened -- well, let

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     1   me rephrase that.                                         1 exhibit, 19 -- let's mark as Exhibit 19
     2          What, if anything, occurred as a result            2 MNK-T1_0000173752 through MNK-T1_0000173753.
     3   of Mr. O'Neill's May 19th, 2014, email? Let's             3         (MALLINCKRODT CHICK EXHIBIT NUMBER 19
     4   talk about the short term.                                4          WAS MARKED FOR IDENTIFICATION.)
     5   A        Sure. While I don't recall specifics,            5   MR. CHALOS:
     6   I do recall this point in the product's life              6   Q       Okay. Have you had a chance to review
     7   cycle. And the use of analytical insights, which          7   that?
     8   are mentioned throughout here, continued to               8   A       Yes.
     9   inform the organization where the opportunities           9   Q       Okay. Before we talk about Exhibit 19,
    10   existed and where -- where representatives had           10   I want to ask you one more question about Exhibit
    11   been successful in educating physicians on               11   18.
    12   Xartemis XR. That's my -- my recollection at             12          Do you recall sending response to
    13   that point in time.                                      13   Mr. O'Neill's May 19th, 2014, email?
    14   Q        Okay. Is Mallinckrodt currently                 14   A       I don't recall specifically doing so.
    15   promoting Xartemis XR?                                   15   Q       Okay. Let's go back to Exhibit Number
    16   MR. DAVISON:                                             16   19. This is an email from you dated April the
    17          Objection to form.                                17   16th of 2014 at 12:02 p m. Subject line, "XXR
    18   A        I don't know. I don't believe so.               18   performance to date."
    19   MR. CHALOS:                                              19          Do you see that?
    20   Q        Is it still on the market?                      20   A       Yes.
    21   A        I don't believe so.                             21   Q       Okay. This was to the field leadership
    22   Q        Was it on the -- on the market when you         22   team? Is that right?
    23   were --                                                  23   A       Yes.
    24          Is that -- is "on the market" not the             24   Q       Is that the district managers,
    25   right --                                                 25   essentially?

                                                       Page 183                                                Page 185
     1          You seem to be --                                  1   A       And the region sales directors.
     2          All right. Let me ask a question, and              2   Q       Okay. Let me go down to the second
     3   then you can --                                           3   paragraph. This is Exhibit 19. You got it?
     4          Okay. Is -- was Mal- -- was                        4   Yeah.
     5   Mallinckrodt promoting Xartemis XR when you left          5          Second paragraph --
     6   the company?                                              6          And you can read as much of that as you
     7   A        It had been up until that point. After           7   a need to. I'm gonna ask you about this XXR map
     8   that point, I -- I don't know.                            8   tool that's referenced in the last sentence.
     9   Q        Was it -- it your understanding that             9   A       Yes.
    10   you being asked to leave the company corresponded        10   Q       See that? What was the XXR map tool?
    11   with a decision about the future of Xartemis XR          11   A       It referred to the payer penetration
    12   as a product?                                            12   for a specific physician and the coverage of
    13   MR. DAVISON:                                             13   certain payers in that prescriber's practice.
    14          Objection to form.                                14   Prescription coverage, I should say.
    15   A        I can't speculate about what the                15   Q       Okay. And that was based on data from
    16   organization's intention was with respect to the         16   some vendor that could tell you which insurance
    17   product. But with respect to the specialty sales         17   company or federal or state program covered
    18   force that had primary responsibility for                18   particular physicians' patients in terms of drug
    19   Xartemis XR, I believe the entire division was           19   benefit?
    20   dissolved.                                               20   MR. DAVISON:
    21   MR. CHALOS:                                              21          Objection to form.
    22   Q        At the time or near the time that you           22   A       The tool actually --
    23   left the company?                                        23   MR. CHALOS:
    24   A        Yes.                                            24   Q       Let me ask it this way. What was that?
    25   Q        Let's mark as the next numbered                 25   A       Sure.

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     1   Q       What does that mean?                         1          The texts there, you're talking about
     2   A       The tool actually provided insight into      2   text messages on the phone?
     3   which payers provided what degree of                 3   A       Yes.
     4   reimbursement and coverage for Xartemis XR.          4   Q       And the progress that you're
     5   Q       And how did that correlate with the          5   referencing there means -- or refers to the
     6   particular physician's patients?                     6   progress of detailing physicians about Xartemis?
     7   A       So, using third-party data, one can see      7   A       Yes.
     8   the -- we -- it's referred to as payer               8   Q       We'll put this aside, 19.
     9   penetration within a physician's practice. How       9          You know, I may be about done, so why
    10   many claims by a particular insurer or a pharmacy   10   don't we take a break and let me talk to my
    11   benefit manager were adjudicated based on that      11   lawyer here and see where we are.
    12   physician's prescription.                           12   VIDEOGRAPHER:
    13   Q       I see. So that would be data from           13          We are now going off the video record.
    14   something like IMS or IQVIA?                        14   The time is currently 2:39 p.m.
    15   A       Yes.                                        15             (OFF THE RECORD.)
    16   Q       And, from that data, you could also see     16   VIDEOGRAPHER:
    17   what percentage of prescriptions written by a       17          We are now back on the video record.
    18   particular prescriber were paid for with cash;      18   The time is currently 2:53 p.m.
    19   right?                                              19   MR. CHALOS:
    20   A       I don't know if that was included in        20   Q       Okay.
    21   this particular tool. But through IMS data, we      21         (MALLINCKRODT CHICK EXHIBIT NUMBER 20
    22   could see proportion of cash patients or cash       22          WAS MARKED FOR IDENTIFICATION.)
    23   paid prescriptions to a physician's total pay RX.   23   MR. CHALOS:
    24   Q       Would the PPI program or some other         24   Q       Miss Chick, we've marked as Exhibit 20
    25   program cover prescriptions that were paid for      25   document MNK-T1_0000740311 through

                                                 Page 187                                                Page 189
     1   with cash?                                           1   MNK-T1_0000740327.
     2   A        I don't recall the specifics on that        2          Have you had a chance to review this
     3   particular card. I -- I don't know what -- I         3   document?
     4   don't recall what the application of that card to    4   A       Yes.
     5   a cash-paying patient would be.                      5   Q       What's this document?
     6   Q        Were there any programs, whether it was     6   A       This appears to be a district analysis
     7   the PPI program or some other program, at            7   of Xartemis XR performance.
     8   Mallinckrodt during the time you were there that     8   Q       Is district analysis something that was
     9   would provide payment for prescriptions for          9   done on -- at some regular intervals when you
    10   cash-paying customers -- cash-paying patients?      10   were at Mallinckrodt?
    11   A        I don't recall anything being              11   A       Not with this approach. Not -- not
    12   specifically targeted to cash-paying patients.      12   regularly with this approach.
    13   Q        Was -- were there any programs that        13   Q       What do you mean by "this approach"?
    14   were available to be used by cash-paying            14   A       This is an in-depth analysis of every
    15   patients?                                           15   territory looking at a number of metrics.
    16   A        I don't recall any.                        16   Q       Uh-huh. So is this more in depth in
    17   Q        Back to Exhibit Number 19 on -- in the     17   detail than the typical district analysis?
    18   first paragraph, third page -- sentence, you        18   A       Yes.
    19   said, "Thank you for your leadership" -- sorry.     19   Q       Do you recall how many times
    20   "Thank you for the leadership you're                20   Mallinckrodt did a district-level analysis
    21   demonstrating day in and day out. I see the         21   similar to the one set forth in Exhibit 20 with
    22   early morning, all day and late night               22   respect to Xartemis while you were with the
    23   communications to your teams. I'm sure the texts    23   company?
    24   are far more frequent to and from your team,        24   A       I don't recall how frequently.
    25   sharing their progress with you."                   25   Q       And was it more than once, you think?
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     1   A       I don't recall.                                      1   written since last six weeks."
     2   Q       Okay. Was this document presented at                 2   A       Yes.
     3   some meeting?                                                3   Q       And number 3 is "Replace outliers
     4   A       I don't know.                                        4   greater than 100 total prescriptions with average
     5   Q       Okay. Let's flip, if you would, to                   5   of high prescriptions to eliminate biasness."
     6   slide number 6, which is Bates number                        6          Do you see that?
     7   MNK-T1_0000740316. And the top of it says "North             7   A       Yes.
     8   Central Districts Performance and Potential to               8   Q       I'm not sure biasness is a word, but I
     9   Prescribe."                                                  9   think I understand what it means.
    10          Do you see that?                                     10          Four, "Estimated total TRx" -- so total
    11   A       Yes.                                                11   prescriptions -- "of oxycodone, plus OxyContin,
    12   Q       Okay. And if you look at the left                   12   plus oxy/APA volume times acute share of their
    13   axis --                                                     13   practice times percent of commercial lives."
    14          And I never can remember if that's the               14          Do you see that?
    15   X or the Y axis, but let's just call it the left            15   A       Yes.
    16   vertical axis -- axis.                                      16   Q       Acute share of their practice means
    17          -- it says, "Potential score in                      17   what percentage of a particular prescriber's
    18   thousands." It's got a list of values.                      18   practice is for acute pain? Is that right?
    19          Do you see that?                                     19   A       What products are prescribed for acute
    20   A       Yes.                                                20   pain.
    21   Q       Do you know what that means?                        21   Q       I see. Okay. "Times num-" -- sorry.
    22   A       I don't. I was actually going to look               22   "Percent of commercial lives."
    23   in the document to see if the potential score was           23          What does that mean?
    24   defined.                                                    24   A       Percent of commercial lives would refer
    25   Q       Yes. Oh.                                            25   to a privately insured benefit. So we spoke
                                                       Page 191                                                   Page 193
     1   A        Okay. Yes.                                          1   earlier about percentage of a physician's
     2   Q        Look at that. And it even says --                   2   practice by payer --
     3   A        Yes.                                                3   Q        Uh-huh.
     4   Q        -- it's the -- it's the Y axis.                     4   A        -- or payer penetration. This
     5   A        Yes.                                                5   particular phrase, "commercial lives," would
     6   Q        How about that. Hey. Yes.                           6   refer to privately insured or nongovernmental
     7           Okay. So if we turn back to slide                    7   insured lives.
     8   number 4, which is -- ends in Bates number                   8   Q        Okay. Number five is "Roll-up for
     9   740314, the center of the page, that column says             9   respective territory/districts for total
    10   "Y axis" -- "Y axis potential score." Then it               10   potential score of prescribers." Is that right?
    11   lists five factors that went into that.                     11   A        Yes.
    12           Do you see that?                                    12   Q        What does that mean, "roll-up"?
    13   A        Yes.                                               13   A        I read this as a summary or a total for
    14   Q        So is that -- those are factors that               14   either the territory or the district for a total
    15   went into calculating the vertical, or Y axis, on           15   prescriber potential.
    16   slide 6?                                                    16   Q        I see.
    17   A        That's how I would interpret it.                   17          Okay. And, then, the X axis on slide 6
    18   Q        Okay. And that's some --                           18   is the total prescriptions divided by the
    19           Okay. And, then, those -- those                     19   potential of prescribers?
    20   variables or those steps to calculate the Y axis            20   A        Yes.
    21   include "Identify continuous target prescribers,"           21   Q        And what is the potential of
    22   right, as number 1?                                         22   prescribers? Is that what we just talked about,
    23   A        Yes.                                               23   all that?
    24   Q        Number 2 is "Eliminate one-time                    24   A        That's how I would interpret it, yes.
    25   prescribers who have written only once and not              25   Q        Okay. Okay. So let's see if we can
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     1   put this into English terms. So if we look at        1   A        So "Go Deep, Get New," just to make
     2   slide 6, let's take Cleveland, Ohio, as an           2   sure that I was recalling this correctly.
     3   example, which is on sort of the left upper          3   Q        Okay. And they're defined somewhere in
     4   quadrant there. Well, no. It's on the left           4   this document?
     5   upper part of the page.                              5   A        Yes. So, for example, on one of the
     6   A        Yes.                                        6   next pages, North Central St. Louis --
     7   Q        Do you see it there?                        7   Q        Yes.
     8   A        Yes.                                        8   A        Okay. So down at the bottom, I
     9   Q        And it's -- it's a -- it spans about        9   believe, of each --
    10   12,000 to 14,000 on the potential score. I guess    10   Q        This is the page that ends --
    11   that's in thousands, so I guess that's 12 million   11   A        -- territory --
    12   to 14 million. Does that sound right?               12   Q        Sorry. This is -- this ends in --
    13   A        That's -- that's how it's portrayed.       13   A        Yes.
    14   Q        Okay.                                      14   Q        -- 40317?
    15   A        Yes.                                       15   A        Yes.
    16   Q        And then it, on the X axis, falls          16   Q        Okay. Got it.
    17   somewhere between -- well, closer to .025 on the    17   A        Yes.
    18   prescriptions per potential of prescriber; right?   18   Q        Okay.
    19   A        Yes.                                       19   A        So I was just looking for that
    20   Q        So what -- how would you translate, you    20   definition to clarify how that was being
    21   know, in English terms, the positioning of          21   interpreted.
    22   Cleveland in slide 6 of Exhibit 20?                 22   Q        Okay. Does that help you understand?
    23   MR. DAVISON:                                        23   A        Well, as I -- as I read, I don't recall
    24           Objection to form.                          24   specifically how -- how to think about Cleveland
    25   A        And could I ask you to clarify --          25   in this example, so I'm just trying to refresh my
                                                 Page 195                                                 Page 197
     1   MR. CHALOS:                                          1   memory.
     2   Q         Sure.                                      2   Q        Okay. Yeah. Take whatever time you
     3   A         How would I interpret the -- the status    3   need.
     4   of Cleveland versus what?                            4   A        So as I look at the --
     5   Q         Just in general. I mean, is                5          And I actually went to
     6   it -- is --                                          6   MNK-T1_0000740320, which is the territory
     7           I'll give you a for instance, and tell       7   analysis for Cleveland --
     8   me if I'm getting this right.                        8   Q        Got it.
     9   A         Okay.                                      9   A        -- to -- to look at that versus other
    10   Q         So it's Cleveland is an area that has     10   territories.
    11   high potential for prescriptions of Xartemis, but   11          And looking at the box on the bottom,
    12   not, in actuality, a lot of prescriptions for       12   in terms of those definitions, it appears that,
    13   Xartemis, at least at this point?                   13   relatively speaking, the opportunity within that
    14   A         I want -- I just wanted to go back and    14   territory is to focus, as it says, on increased
    15   look --                                             15   focus on orthopedic surgery, pain management, and
    16   Q         Sure.                                     16   podiatrist. And then the --
    17   A         -- look for something.                    17          I anticipate the size of the bubble is
    18   Q         Okay.                                     18   relative, as we talked about, in terms of the
    19   A         As a means --                             19   market potential.
    20           I don't know that -- one of the             20   Q        So is it accurate to say, as you get
    21   other --                                            21   into where Cleveland is, which is the top left of
    22           Okay. Here it is. I was looking for         22   that graph, those are areas that have high
    23   the definitions of the labels on each one of        23   potential, but Xartemis is not reaching the
    24   those cohorts.                                      24   potential in terms of numbers of prescriptions;
    25   Q         Okay.                                     25   whereas, if you look at St. Louis, for example,

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     1   where it says "get new prescribers," it looks        1   aware.
     2   like they have more prescriptions per prescriber     2          So, before we start, we just wanted to
     3   but haven't -- but have a lower potential? Am        3   reserve our rights to redepose this witness in
     4   I -- is that reading that right?                     4   future litigation if it becomes necessary due to
     5   A         Yes.                                       5   later-disclosed documents.
     6   Q         Okay.                                      6   MR. DAVISON:
     7   A         That's how I would read that.              7          And Mallinckrodt disagrees with your
     8   Q         So Go -- the Go Deep bunch on the top      8   position. We have complied with the deposition
     9   left there would suggest that the sales              9   protocols. No further depositions of this
    10   representatives translate this -- this into         10   witness will be necessary, and we will object to
    11   practice, which the sales representatives would     11   any further deposition of this witness.
    12   have to focus on the -- would have to --            12   MS. HERZFELD:
    13           I'll start that again.                      13          Okay. Very good.
    14           The Go Deep folks have -- territories       14   Q       Moving along, so as vice-president of
    15   have a lot of potential but just haven't yet        15   specialty sales for Mallinckrodt, were you
    16   realized the potential and translated into          16   responsible at all for sales of Mallinckrodt
    17   numbers of prescriptions?                           17   opioids in the state of Tennessee?
    18   A         That's how I would interpret that.        18   A       I was responsible for US sales of
    19   Q         Okay. The Nashville, Tennessee,           19   Mallinckrodt opioid products, inclusive of
    20   district there, do you know whether that includes   20   Tennessee.
    21   the entire state of Tennessee?                      21   Q       Okay. And do you remember anyone that
    22   A         I -- I don't recall.                      22   worked for you or under you or with you during
    23   Q         Okay. Those are all the questions I       23   your time at Mallinckrodt with Tennessee-specific
    24   have for you at this time. So I guess we'll go      24   responsibilities?
    25   off the record and swap seats.                      25   A       I'm sorry. I don't recall specific
                                                 Page 199                                                 Page 201
     1   VIDEOGRAPHER:                                        1   names at this point in time.
     2          We are now going off the video record.        2   Q        Okay. What about Jay Meyer? Do you
     3   The time is currently 3:07 p.m.                      3   remember Jay Meyer?
     4               (OFF THE RECORD.)                        4   A        Jay Meyer, yes.
     5   VIDEOGRAPHER:                                        5   Q        And what were Jay Meyer's
     6          We are now back on the video record.          6   responsibilities?
     7   The time is currently 3:10 p.m.                      7   A        When I arrived at the company,
     8                 EXAMINATION                            8   Jay Meyer was the region sales director for the
     9   BY MS. HERZFELD:                                     9   west region, which was quite expansive.
    10   Q        Good afternoon, Miss Chick. How are        10   Q        Okay. Do you think that might have
    11   you?                                                11   included Tennessee?
    12   A        I'm well. Thank you.                       12   A        I don't know if it was in that
    13   Q        My name is Tricia Herzfeld, and I'm one    13   district -- that region or the southeast
    14   of the attorneys representing the plaintiffs in     14   region --
    15   the Tennessee state litigation.                     15   Q        Okay.
    16          Are you familiar with the Tennessee          16   A        -- just off the top of my head.
    17   state litigation?                                   17   Q        Okay. And do you recall who was in
    18   A        I'm not.                                   18   charge of the southeast region?
    19   MS. HERZFELD:                                       19   A        Bill Nichols.
    20          Okay. Before we start, I just want to        20   Q        Bill Nichols.
    21   renew the objections that we have in this case      21          Okay. And Bill Nichols, do you know if
    22   for the document production being insufficient,     22   he's still employed at Mallinckrodt?
    23   not on time, and incomplete, in addition to the     23   A        I believe he's retired.
    24   other objections that we've laid out in our         24   Q        Okay. And do you know what year he
    25   previous depositions, which I think counsel is      25   retired?

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     1   MR. DAVISON:                                         1   Q        Okay. Do you know if Tennessee was a
     2          Objection to form.                            2   high-performing area for your specialty sales
     3   A        I don't recall. Although I was aware        3   team?
     4   of his intention to retire, I don't recall           4   A        I don't recall it as being an outlier
     5   specifically when that may have occurred.            5   necessarily.
     6   MS. HERZFELD:                                        6   Q        Okay. Do you recall it being an
     7   Q        Okay. And do you believe that you           7   outlier in any circumstance?
     8   became aware of his intention to retire while you    8   A        No.
     9   were employed at Mallinckrodt or after you left?     9   Q        Okay. Do you know if there were any
    10   A        While I was employed.                      10   Tennessee-specific bonuses or initiatives?
    11   Q        Okay.                                      11   A        I'm sorry. Could you define
    12          Okay. And who was Dan Polesovsky?            12   Tennessee-specific bonuses or initiatives?
    13   A        Polesovsky.                                13   Q        Do you know of any specific programs or
    14   Q        Okay. Very good. Thank you.                14   some sort of incentive to someone in Tennessee?
    15   A        Yes. Dan was a district manager.           15   A        Versus other states?
    16   Q        And do you know what district Dan was a    16   Q        Yes, ma'am.
    17   district manager for?                               17   A        I don't know of any that would be
    18   A        I'm trying to recall geography. I'm        18   exclusive or limited to Tennessee versus other
    19   sorry. It's been some years.                        19   states.
    20   Q        Okay. Do you think it might have had       20   Q        Okay. Do you recall any sales
    21   anything to do with Tennessee, Dan's district?      21   incentives or specific programs targeted towards
    22   MR. DAVISON:                                        22   the southeast?
    23          Objection to form.                           23   MR. DAVISON:
    24   A        I -- I just don't recall.                  24           Objection to form.
    25   MS. HERZFELD:                                       25   A        I don't recall anything specific to the
                                                 Page 203                                                Page 205
     1   Q        Okay. What about Brad Newberry? Do          1   southeast.
     2   you recall who Brad Newberry is?                     2   MS. HERZFELD:
     3   A        That name's not familiar. I don't           3   Q        Okay. At any point in your tenure, did
     4   recall specifically that individual.                 4   Tennessee itself have a specific sales tactic?
     5   Q        Okay. What about Todd Druen?                5   Did you --
     6   A        Todd Druen was a district manager.          6          I'm gonna start over.
     7   Q        Do you know what district he managed?       7          At any point in your tenure, was there
     8   A        I -- I recall that he was associated        8   any sort of different message that was given to
     9   somewhere in the southeast US, but I don't know      9   physicians or pharmacies in Tennessee versus
    10   which -- I don't recall which region he was         10   other states?
    11   affiliated with.                                    11   A        It was not our practice to distinguish
    12   Q        Okay. And what about Christopher           12   sales messages by state or geography,
    13   Clark?                                              13   necessarily. I don't recall anything similar to
    14   A        The name is familiar, but I don't          14   that.
    15   recall, again, the specific geography.              15   Q        Okay. Can you recall any time that a
    16   Q        Okay. And Susan Young?                     16   message would have deviated for geography
    17   A        Sorry. I don't recall a specific           17   purposes?
    18   geography.                                          18   A        The only specificity would be with
    19   Q        Okay. But do you recall Susan Young's      19   respect to payer coverage in a geography. That
    20   position?                                           20   would, in my mind, be the only reason for it to
    21   A        I don't.                                   21   be different.
    22   Q        Okay. But do you recall the name Susan     22   Q        Okay. And, so, when you're talking
    23   Young?                                              23   about payer coverage, that would be who's paying
    24   A        I don't recall it specific to              24   for the product; is that correct?
    25   Mallinckrodt.                                       25   A        It would be the insurance coverage

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     1   either through an insurer or pharmacy benefit      1   church mission trip?
     2   manager, yeah.                                     2   A        So, as an aside, I've actually not been
     3   Q       And, so, could that also be some sort      3   in Johnson City, Tennessee, but working on
     4   of a state-run program, like TennCare, for         4   projects with ASP --
     5   example?                                           5   Q        Okay.
     6   A       Yes.                                       6   A        -- in other areas of Appalachia.
     7   Q       Do you recall ever hearing anything        7          So in the time frames of around 2008 or
     8   about any issues with the products being on the    8   so for several years, and then again 2011, '12
     9   formulary for TennCare?                            9   time frames, the summers of those years.
    10   A       I don't recall.                           10   Q        Okay. And when --
    11   Q       Okay. Were you aware specifically of      11          I just want to make sure I understand.
    12   any opioid abuse problems in Tennessee?           12   So it was with a church or an organization that
    13   MR. DAVISON:                                      13   was based out of Johnson City?
    14          Objection to form.                         14   A        So it was with our church, sponsored by
    15   A       At the time of my employment with         15   ASP, Appalachian Service Project, which is based
    16   Mallinckrodt?                                     16   in Johnson City, Tennessee.
    17   MS. HERZFELD:                                     17   Q        Okay. And where did you go in
    18   Q       Yes, ma'am.                               18   Appalachia?
    19   A       Not necessarily, no.                      19   A        We went several locations over those
    20   Q       Okay. And what about since you have       20   years, primarily in West Virginia.
    21   left employment with Mallinckrodt?                21   Q        Okay. And during those times when you
    22   MR. DAVISON:                                      22   were on those --
    23          Objection to form.                         23          I don't really want to call them
    24   A       I'm not aware of Tennessee specific,      24   mission trips. Service projects?
    25   but I'm generally aware of issues.                25   A        Yes.
                                               Page 207                                                 Page 209
     1   MS. HERZFELD:                                      1   Q       Is that a fair statement?
     2   Q        Of opioid abuse issues?                   2   A       That's a fair statement.
     3   A        Yes.                                      3   Q       Okay. When you were on those service
     4   Q        Okay. And have you heard at all of        4   projects in Appalachia, did you become aware of
     5   those being particularly pronounced in the         5   the opioid issues in Appalachia at that time?
     6   Appalachian region of the country?                 6   A       Yes.
     7   A        Yes.                                      7   MR. DAVISON:
     8   Q        Okay. And do you consider Tennessee to    8          Objection to form.
     9   be part of Appalachia, in your opinion?            9   MS. HERZFELD:
    10   A        Yes -- yes. I've -- and -- and I've      10   Q       And to what is it that you became
    11   learned this through actually being in            11   aware?
    12   Appalachia, yes.                                  12   MR. DAVISON:
    13   Q        Okay. When did you go to Appalachia?     13          Objection to form.
    14   A        So I was in that area of the country     14   A       In those project assignments, we were
    15   with our church mission team --                   15   based in the community and learned about the
    16   Q        Okay.                                    16   community, the issues in the community, and
    17   A        -- affiliated with the Appalachian       17   worked on homes for individual families, some of
    18   Service Project, which is based out of Johnson    18   whom had been affected by opioid abuse and -- and
    19   City, Tennessee.                                  19   other economic factors.
    20   Q        Oh. Very good.                           20   MS. HERZFELD:
    21           Okay. So now I'm going to back up,        21   Q       And, so, was it part of your
    22   because very few people have been to Johnson      22   understanding that the service projects that you
    23   City, Tennessee, so you've piqued my interest a   23   went on, the places your service projects took
    24   little bit.                                       24   you in Appalachia, that those areas were hard hit
    25           When did you go to Appalachia with your   25   by -- by opioid addiction?

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     1   MR. DAVISON:                                         1   a -- if a family member, you show, shared their
     2          Objection to form.                            2   experience.
     3   A       So I don't have an appreciation for the      3   Q        Okay. And can you give me some
     4   areas. What I experienced were in communities,       4   examples?
     5   in specific communities in which we were             5   MR. DAVISON:
     6   involved, and in some cases with specific            6           Objection to form.
     7   families.                                            7   A        I recall in one town there seemed to be
     8   MS. HERZFELD:                                        8   very little industry, very little retail. It
     9   Q       And tell me the types of things you          9   appeared quite bleak. We had heard -- I don't
    10   were doing with -- with those families.             10   have firsthand accounts, but we had heard that
    11   MR. DAVISON:                                        11   opioid abuse had been an issue in the community.
    12          Objection to form.                           12   MS. HERZFELD:
    13   A       So our project teams were assigned to       13   Q        Okay. And do you know who you-all
    14   work on homes to improve their -- their function.   14   heard that from?
    15   Could range anywhere from insulating to repairing   15   A        The members in the community who were
    16   to even external drainage.                          16   involved with ASP oftentimes spent the entire
    17   MS. HERZFELD:                                       17   summer there, and, so, became familiar with the
    18   Q       So kind of like Habitat For Humanity        18   circumstances in the town.
    19   projects where you're, like, physically nailing     19   Q        Okay. And was that story pretty much
    20   stuff and helping out?                              20   consistent for the -- the various locations that
    21   A       So the difference is Habitat builds new     21   you went to with ASP?
    22   homes. ASP works on existing homes.                 22   MR. DAVISON:
    23   Q       Okay. And I'm assuming there was some       23           Objection to form.
    24   sort of a financial component on how people were    24   A        Not every -- not every location.
    25   selected to have their homes helped by the          25   MS. HERZFELD:
                                                 Page 211                                                 Page 213
     1   organization?                                        1   Q       Okay. Do you remember specifically
     2   A       I don't know the --                          2   which locations seemed to have opioid abuse
     3   MR. DAVISON:                                         3   problems in their community versus which ones did
     4          Objection to form.                            4   not?
     5   A       I don't know the criteria with which         5   MR. DAVISON:
     6   ASP selected families. ASP performed that            6          Objection to form.
     7   function and assigned our groups upon arrival.       7   A       I don't. I don't necessarily.
     8   MS. HERZFELD:                                        8   MS. HERZFELD:
     9   Q       Okay. And was your opinion that the          9   Q       Do you remember any of the names of any
    10   folks seemed to be pretty poor?                     10   of the towns that you went to?
    11   MR. DAVISON:                                        11   A       I'd have to go back and look. It was
    12          Objection to form.                           12   quite some time ago.
    13   A       Relative to what our youth experienced      13   Q       That's okay.
    14   and grew up in, there was a significant             14          Did you ever go to Welch, West
    15   difference in economic means.                       15   Virginia?
    16   MS. HERZFELD:                                       16   A       No.
    17   Q       And it would have been a lower economic     17   Q       Do you recall if you were ever in Mingo
    18   means?                                              18   County, West Virginia?
    19   A       Yes.                                        19   A       No.
    20   Q       Okay. And how -- so how is it in that       20   Q       Okay. But you believe they were all in
    21   project that you'd become aware of opioid abuse     21   West Virginia?
    22   issues? How -- how did that come about?             22   A       Not all of them.
    23   A       Simply being in the community for a         23   Q       Okay. So I'm glad I asked that.
    24   week's period of time, being aware of what was      24          Okay. Where were the other ones?
    25   going on in -- in -- in a neighborhood or if        25   A       I believe we also went to Kentucky at

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     1   one point.                                         1
     2   Q        Okay. Do you recall where in Kentucky?    2   MS. HERZFELD:
     3   A        I don't.                                  3   Q    Okay.
     4   Q        And what about any towns in Tennessee?
     5   A        I don't believe I ever was on an ASP
     6   trip to Tennessee.                                 6   Q        Okay. So other than going for the
     7   Q        Okay. So the affiliation there would      7   wedding and the time at Bristol-Myers Squibb,
     8   be with the ASP which is in Johnson City?          8   what other times have you been in Tennessee?
     9   A        Headquartered, yes.                       9   A        Even prior to Bristol-Myers Squibb,
    10   Q        Okay. Have you ever been to the          10   when I was with Schmid, I would travel to Memphis
    11   tri-cities area, upper east Tennessee?            11   to call on accounts with my sales representative.
    12   A        No.                                      12   Q        Have you ever been to Knoxville?
    13   Q        Okay. On -- and I think you'd said       13   A        No.
    14   before that you had been to Tennessee with your   14   Q        Okay. And in your position at
    15   job at Bristol-Myers Squibb. Is that correct?     15   Mallinckrodt, did that ever take you to
    16   A        Yes.                                     16   Tennessee?
    17   Q        Okay. And is that the only other time    17   A        I don't recall traveling on business
    18   you'd been to Tennessee?                          18   to -- to Tennessee while at Mallinckrodt.
    19   A        No.                                      19   Q        Okay. Have you ever heard of the
    20   Q        Okay. When else -- when else have you    20   acronym AHIDTA?
    21   been?                                             21   A        No.
                                                           22   Q        A-H-I-D-T-A.
                                                           23   A        No.
                                                           24   Q        Have you ever heard of the Appalachian
                                                           25   High Intensity Drug Trafficking Area?
                                                                                                        Page 217
                                                            1   A        Not until now.
                                                            2   Q        When I just said it?
                                                            3   A        Yes.
                                                            4   Q        Okay. Yes, ma'am.
                                                            5          Do you know what neonatal abstinence
                                                            6   syndrome is?
                                                            7   A        No.
                                                            8   Q        It's not something you've heard of?
                                                            9   A        No.
                                                           10   Q        Okay. Have you heard of a condition
                                                           11   where newborns are born dependent upon opioids?
                                                           12   A        Yes. I've -- I'm familiar with reading
                                                           13   stories about that.
                                                           14   Q        Okay. And do you believe that you were
                                                           15   familiar with that condition at the time that you
                                                           16   worked at Mallinckrodt?
    17   MS. HERZFELD:                                     17   A        I don't know that I could reliably say
                                                           18   that.
                                                           19   Q        Okay. Do you know how you became
                                                           20   familiar with the condition?
                                                           21   A        I don't.
                                                           22   Q        Okay.
                                                           23   A        Most --
                                                           24          I don't.
                                                     ,     25   Q        Okay. Did anybody at Mallinckrodt ever

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     1   give you any training or instruction on neonatal            1   there would be geographic information associated
     2   abstinence syndrome?                                        2   with that physician included.
     3   MR. DAVISON:                                                3   MS. HERZFELD:
     4          Objection to form.                                   4   Q       Okay. But you don't know that there
     5   A       No.                                                 5   was, like, a specific list for Tennessee or by
     6   MS. HERZFELD:                                               6   state?
     7   Q       Okay. Have you ever heard that                      7   A       I don't.
     8   Appalachia has elevated rates of neonatal                   8   Q       Okay. And when you would get
     9   abstinence syndrome?                                        9   information from the other group that told you
    10   MR. DAVISON:                                               10   why someone was to be put on the no-call list,
    11          Objection to form.                                  11   would they tell you why?
    12   A       I wasn't aware of that.                            12   A       Yes.
    13   MS. HERZFELD:                                              13   Q       Okay. And how often would you
    14   Q       Okay. Were you involved at all in the              14   communicate with that separate group?
    15   creation or maintenance of the no-call lists for           15   A       So at their initiation.
    16   prescribers?                                               16   Q       And do you know how they would get
    17   A       I was involved in informing and                    17   their information?
    18   communicating on those lists.                              18   A       I don't.
    19   Q       Okay. And what does "informing and                 19   Q       Okay. And you said that they had
    20   communicating" mean?                                       20   different information sources. Various
    21   A       So I believe you're referring to the               21   information sources I think is what you said. Do
    22   order monitoring function within Mallinckrodt.             22   you know what those were?
    23   Q       Yes, ma'am.                                        23   A       I don't know all of them.
    24   A       A separate group monitored various                 24   Q       Okay. Could you tell me the ones you
    25   information sources and would bring to our                 25   know?
                                                         Page 219                                                Page 221
     1   attention any issues associated with physicians             1   A       If a state medical board took action on
     2   who were found to be on our call list who were              2   a physician license, I don't know how they
     3   called into question about their prescribing                3   obtained that information, necessarily, but that
     4   activity.                                                   4   would be an information source, as well as the --
     5   Q        Okay. And, so, when you say "informing             5   the news, electronic media.
     6   and communicating," what was your role?                     6   Q       Okay. So, to your knowledge, someone
     7   A        So my role was as a recipient of                   7   in that suspicious order monitoring group would
     8   information from that department, understanding             8   be monitoring the news?
     9   what their findings and recommendations were.               9   MR. DAVISON:
    10   Q        Okay. And when you say "findings and              10          Objection to form.
    11   recommendations," you mean whether somebody is on          11   A       I don't know how exactly they did it,
    12   the no-call list or not on the no-call list?               12   but I recall that when physicians -- if -- if a
    13   MR. DAVISON:                                               13   physician appeared in the news on prescribing
    14          Objection.                                          14   activity issues, that would be one source of
    15   A        Yes. And if there were any                        15   information that they would -- they would have
    16   recommendations about changing the status of a             16   access to.
    17   physician on that list.                                    17   MS. HERZFELD:
    18   MS. HERZFELD:                                              18   Q       Can you think of any other sources of
    19   Q        Okay. And do you know if the no-call              19   information?
    20   list was kept by state or by -- sorry about                20   A       I -- I don't definitively know exactly
    21   that -- by state or by ZIP code, like locale in            21   other sources of information.
    22   any way?                                                   22   Q       Okay. Those are the only ones you can
    23   MR. DAVISON:                                               23   think of for now?
    24          Objection to form.                                  24   A       Yes.
    25   A        So because it was physician-specific,             25   MR. DAVISON:

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     1         Objection to form.                           1   Q      Okay. What about Specialty Associates,
     2   MS. HERZFELD:                                      2   also known as Montclair Health and Wellness, in
     3   Q       Okay. Okay. Do you recall any              3   Lewisburg, Tennessee?
     4   specific communication about any Tennessee         4   A      I don't recall.
     5   physicians being on that list or not on that       5   Q      Okay. What about Hamblen Neuroscience
     6   list?                                              6   Center in Hamblen, Tennessee?
     7   A       I don't recall any Tennessee               7   A      I don't remember.
     8   physicians.                                        8   Q      Okay. What about the Pain -- Tennessee
     9   Q       Okay. I'm gonna go through a series of     9   Pain Institute in Hixson, Tennessee?
    10   names with you, and if you could let me know if   10   A      I don't recall.
    11   you recall any communication about those          11   Q      Okay. What about the Lynnville Family
    12   physicians.                                       12   Medical Clinic in Lewisburg, Tennessee?
    13   A       Okay.                                     13   A      I don't recall.
    14   Q       Okay. First one is Abdelrahman            14   Q      Okay. Or North Alabama Pain Services
    15   Mohamed.                                          15   in Lewisburg, Tennessee, or in Alabama?
    16   A       I don't recall.                           16   A      I don't recall.
    17   Q       Okay. What about Timothy Gowder? Have     17   Q      Okay. Do generic sales of Mallinckrodt
    18   you ever heard of him?                            18   products impact the specialty sales force
    19   A       I don't recall.                           19   alignment? Did they when you were there?
    20   Q       Okay. Gary Arlan Moore?                   20   MR. DAVISON:
    21   A       I don't recall.                           21         Objection to form.
    22   Q       Okay. What about a doctor by the name     22   A      I'm sorry. I -- could you further
    23   of David Florence?                                23   elaborate on your question?
    24   A       I don't recall.                           24   MS. HERZFELD:
    25   Q       He also had a reality show, very          25   Q      Sure.
                                               Page 223                                                 Page 225
     1   short-lived, called DocStar. Does that ring a      1          So I'm trying to figure out what role,
     2   bell to you at all?                                2   if any, generic sales of Mallinckrodt products
     3   A       No.                                        3   played a role in making determinations for which
     4   Q       Mark Murphy? Have you heard of that        4   physicians were targeted.
     5   prescriber?                                        5   A        So, in my experience at Mallinckrodt,
     6   A       I don't recall.                            6   generic sales of any product, Mallinckrodt or
     7   Q       Okay. What about Ed White?                 7   otherwise, did not factor into -- into our
     8   A       I don't recall.                            8   approach, other than looking at prescribing
     9   Q       Okay. Or a physician's assistant named     9   history for physicians. So for physicians who
    10   Pam White?                                        10   would treat, in this case, with Xartemis XR,
    11   A       I don't recall.                           11   acute pain, generic products would have been
    12   Q       Okay. What about some specific            12   included in the -- the market basket of
    13   Tennessee clinics? I'm wondering if they had      13   physicians' prescribing habits.
    14   your product promoted at those particular         14   Q        And when you say "market basket," can
    15   clinics. Just let me know if you remember any     15   you tell me what you mean by that?
    16   communications about them. Okay?                  16   A        When looking at physicians who might be
    17   A       Okay.                                     17   appropriate recipients of medical information
    18   Q       Okay. So the first one would be           18   from Mallinckrodt, one -- we looked at what their
    19   The Center For Advanced Medicine in Manchester,   19   prescribing history had been. We also looked at
    20   Tennessee. Do you recall any communications       20   things like specialty and other things as well.
    21   about them?                                       21   So when I say "market basket," it's really
    22   A       I don't.                                  22   looking at what is their prescribing history in,
    23   Q       Okay. What about Center Pointe Clinic     23   in this case, acute pain.
    24   in Kingsport, Tennessee?                          24   Q        Okay. And when talking about the
    25   A       I don't.                                  25   various pharmacies that were selected by you-all,

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     1 I think you talked a little bit with Mr. Chalos               1   my memory. So thank you.
     2 about some -- some different factors that went                2   Q        Sure.
     3 into selecting those -- those pharmacies. And                 3          Okay. And, so, this is -- it's a
     4 I'm curious if selling a high level of                        4   Tennessee Bates number, so it may be a little
     5 Mallinckrodt generic opioids at those pharmacies              5   different than what the rest of you-all have.
     6 would factor at all into your determination of                6   But it's Mallinckrodt_TNSTA00224454. And I think
     7 who to target from a pharmacy basis.                          7   that's only a Tennessee Bates number. I don't
     8 MR. DAVISON:                                                  8   have another one. My apologies.
     9          Objection.                                           9          And does this appear to be an email
    10   A       I'm not aware of any criteria that was             10   that was sent to your email account, ma'am?
    11   applied that would be similar to what you just             11   A        Yes.
    12   described.                                                 12   Q        Okay. From Travis Moore. Who is
    13   MS. HERZFELD:                                              13   Travis Moore?
    14   Q       Okay.                                              14   A        Travis was the director of sales
    15          Okay. I've got a couple documents I                 15   operations.
    16   want to go through with you, if that's okay.               16   Q        Okay. And what is a push report?
    17          Do you know what a push report is?                  17   A        The report essentially provided
    18   A       A push report. It's not ringing a                  18   performance feedback on an individual physician
    19   bell.                                                      19   level to each territory for the products that
    20   Q       Okay. I'm gonna hand you what we will              20   were promoted at the time.
    21   mark as Exhibit 21.                                        21   Q        Okay. And how often would the push
    22         (MALLINCKRODT CHICK EXHIBIT NUMBER 21                22   reports be generated?
    23          WAS MARKED FOR IDENTIFICATION.)                     23   A        I don't recall the frequency of those
    24   MS. HERZFELD:                                              24   reports.
    25   Q       If you could take a look at that, then             25   Q        Do you think they were quarterly,

                                                         Page 227                                                     Page 229
     1   let me know.                                                1   weekly, monthly? Do you have no idea at all?
     2   A       Yes. Thank you.                                     2   MR. DAVISON:
     3   Q       Okay. Does that refresh your memory                 3          Objection to form.
     4   now?                                                        4   A        I -- I -- I simply do not recall the
     5   A       It does.                                            5   frequency because I didn't receive them
     6   Q       Okay. Great. And, so, looking at                    6   personally.
     7   Exhibit 21, what does it appear to be to you?               7   MS. HERZFELD:
     8   A       I'm sorry. I was just trying to review              8   Q        Okay.
     9   and recall.                                                 9   A        I just simply don't recall.
    10   Q       That's okay. You can take your time.               10   Q        Who received them?
    11   A       So it appears that the push reports                11   A        The sales professionals and the
    12   were performance reports that went out on a -- a           12   district managers.
    13   weekly basis, I believe.                                   13   Q        Okay. And when you say the performance
    14   Q       Okay. And your memory has been                     14   for each physician, it'd be like a targeted
    15   refreshed by this exhibit, I take it?                      15   physician and maybe how many times they're
    16   A       To some degree.                                    16   visited and how many prescriptions they wrote?
    17   Q       Okay. And what is Exhibit 21 that                  17   What types of factors?
    18   you're looking at here?                                    18   MR. DAVISON:
    19   A       So could I take a moment and read?                 19          Objection.
    20   Q       Sure. Sure.                                        20   A        So it, I don't believe, included call
    21   A       Thank you.                                         21   information but did include, by physician,
    22          So this is recalling for me that I                  22   product prescription information --
    23   didn't receive all of these, I stated in this              23   MS. HERZFELD:
    24   email, because the reports were individually               24   Q        Okay.
    25   generated and distributed. So that's refreshing            25   A        -- over time.

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     1 Q         Okay. I don't think I have any more        1   recalls to me the -- the Tennessee responsibility
     2   questions on this exhibit, so you can set that     2   he had.
     3   aside.                                             3   Q        Okay. And did you supervise Todd
     4          My understanding is we need to change       4   Druen?
     5   the tape, so we'll take a break. Okay?             5   A        I did for a period of time after Jay
     6   A       Okay.                                      6   Meyer's departure.
     7   VIDEOGRAPHER:                                      7   Q        Okay. And, so, you would have been
     8          We are now going off the video record.      8   Todd Druen's supervisor in, looks like, mid-2014?
     9   The time is currently 3:40 p.m. This is the end    9   A        Yes.
    10   of media number 4.                                10   Q        Okay. I guess my question is, if
    11              (OFF THE RECORD.)                      11   you'll flip with me to the second page, it says
    12   VIDEOGRAPHER:                                     12   "Cultural Hallmarks, Manager Completes Prior to
    13          We are now back on the video record        13   Discussion" in that dark bar. Do you see where
    14   with the beginning of media number 5. The time    14   I'm at?
    15   is currently 3:49 p.m.                            15   A        Oh, yes.
    16   MS. HERZFELD:                                     16   Q        Okay. And did I read that correctly?
    17   Q       Okay. Miss Chick, we're back from a       17   A        Yes.
    18   short break. I'm going to hand you what is        18   Q        Okay. And then it says "Leader's
    19   marked as Mallinckrodt Chick Exhibit 22. And,     19   Assessment of Employee Demonstrating Mallinckrodt
    20   again, this is a Tennessee Bates number. It's     20   Cultural Hallmarks."
    21   MNK_TNSTA01372717. Take a look at that for me.    21          Do you see where it says that?
    22         (MALLINCKRODT CHICK EXHIBIT NUMBER 22       22   A        Yes.
    23          WAS MARKED FOR IDENTIFICATION.)            23   Q        And, so, maybe I'm just incorrect. It
    24   MS. HERZFELD:                                     24   would appear to me that it says "Manager
    25   Q       Okay. Do you recognize this document?     25   Completes Prior to Discussion." So did you

                                                Page 231                                                      Page 233
     1   A        Yes.                                      1   complete this section?
     2   Q        Okay. What is it?                         2   A       I did not.
     3   A        This is a midyear performance             3   Q       Okay. Do you know who would have?
     4   discussion guide.                                  4   A       Reading this, it appears that Todd
     5   Q        Okay. And who would have been the         5   completed this himself.
     6   person who created this document?                  6   Q       Okay. And, so, looking down where it
     7   A        So this document reflects input from      7   says "competitive" --
     8   Todd Druen.                                        8   A       Yes.
     9   Q        Okay. And does it reflect input from      9   Q       "I have delivered timely feedback to
    10   you as well?                                      10   representatives both via the FCR and verbal
    11   A        This -- this document does not.          11   coaching during field rides."
    12   Q        Okay. So it says on the top of this      12          Do you know what that means?
    13   document that it's the 2014 Midyear Performance   13   A       The statement?
    14   Discussion Guide. Is that right?                  14   Q       Yes, ma'am.
    15   A        Yes.                                     15   A       As a district manager, Todd represents
    16   Q        Okay. And the employee name is           16   that he provided feedback to his representatives
    17   Todd Druen. Who was he?                           17   by way of the FCR, or field coaching report, and
    18   A        Todd was a district sales manager.       18   also verbal coaching as he rode along with his
    19   Q        Okay. And do you remember what           19   sales representatives.
    20   district he was in?                               20   Q       Okay. So I think I understand.
    21   A        I don't recall the district he was in.   21   A       Uh-huh.
    22   However, reading the document recalls to me the   22   Q       So where it says "Manager Completes
    23   Nashville district.                               23   Prior to Discussion," that would be the district
    24   Q        Okay.                                    24   manager, not the manager that's written on -- on
    25   A        And seeing the list of payers also       25   the top of the form on page 1.

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     1   A        So reading the form in the way it was      1   A       This email states every Tuesday and
     2   intended to be completed, yes. The manager would    2   Friday.
     3   have completed cultural hallmarks commentary        3   Q       Okay. And do you recall a time when
     4   prior to discussion. In this instance, this         4   that stopped, when you stopped receiving reports
     5   individual completed this part himself.             5   every Tuesday and Friday?
     6   Q        Okay. That clears it up for me.            6   A       I don't recall at all.
     7   A        Okay.                                      7   Q       Okay. And what would you do with the
     8   Q        Thank you very much.                       8   reports when you received them?
     9   A        Uh-huh.                                    9   A       These reports would be useful to use
    10   Q        Okay. You can set that aside.             10   along with TRx information just to have an
    11   A        Okay.                                     11   overall assessment of resource utilization when
    12   Q        And I believe, before, you were           12   it came to this particular resource.
    13   speaking to Mr. Chalos about the copay and PPI     13   Q       Okay. And you would monitor the copay
    14   report.                                            14   and PPIs from physicians all over the country; is
    15   A        The card, yes.                            15   that correct?
    16   Q        Okay. And did you receive reports on      16   MR. DAVISON:
    17   copays and PPIs, to your knowledge?                17          Objection to form.
    18   A        I -- I don't recall specific reports,     18   A       The report included redemptions from
    19   although I would imagine --                        19   across the country.
    20          Let me -- let me restate that.              20   MS. HERZFELD:
    21          I don't recall how frequently I would       21   Q       Okay. And across the country would
    22   have seen that information, but I recall           22   also include redemptions from Tennessee?
    23   generally redemptions of those reports.            23   A       Yes.
    24   Q        Okay.                                     24   Q       Okay. Thank you, ma'am. You can set
    25   A        Or of those cards.                        25   that aside.
                                                Page 235                                                 Page 237
     1 Q          Okay. And do you recall them               1         (MALLINCKRODT CHICK EXHIBIT NUMBER 24
     2   being -- those redemptions being put together in    2          WAS MARKED FOR IDENTIFICATION.)
     3   a report?                                           3   MS. HERZFELD:
     4   A        Yes.                                       4   Q       Okay. And then my last one here we're
     5   Q        Okay.                                      5   gonna mark as Mallinckrodt Chick Exhibit 24.
     6         (MALLINCKRODT CHICK EXHIBIT NUMBER 23         6   That Bates number is MNK_TNSTA02582409.
     7          WAS MARKED FOR IDENTIFICATION.)              7          Wow. Thank you.
     8   MS. HERZFELD:                                       8          Okay. Do you recognize this document,
     9   Q        I'm gonna hand you -- or it has been       9   ma'am?
    10   marked as Mallinckrodt Chick Exhibit 23. And,      10   A       Yes.
    11   again, it's a state case Bates number,             11   Q       Okay. What does it appear to be to
    12   MNK_TNSTA00222642.                                 12   you?
    13          Okay. Does this email look familiar to      13   A       This appears to be an email forwarded
    14   you?                                               14   to me from Jay Meyer, the region director, not
    15   A        It isn't familiar, but I see the          15   long after I began at Mallinckrodt, from one of
    16   recipients, so...                                  16   his district managers.
    17   Q        Okay. And it's dated May 13th, 2014;      17   Q       Okay. And did you know that district
    18   is that correct?                                   18   manager, Christian Paranjothi?
    19   A        Yes.                                      19   A       Yes.
    20   Q        Okay. And does this refresh your          20   Q       And how did you know Christian
    21   recollection at all as to how often you would      21   Paranjothi?
    22   have received the reports?                         22   A       We called him Kitcha.
    23   A        Yes.                                      23   Q       Okay.
    24   Q        Okay. And how often would that have       24   A       Kitcha was a district manager with
    25   been?                                              25   Mallinckrodt.

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     1   Q        Okay. And did -- was Kitcha employed,      1   "Bonus payouts are next Friday."
     2   the entire time you were at Mallinckrodt, with      2          Did you know anything about the bonus
     3   Mallinckrodt?                                       3   payouts?
     4   A        Kitcha left the organization at some       4   MR. DAVISON:
     5   point while I was employed at Mallinckrodt. I       5          Objection to form.
     6   don't recall specifically when.                     6   A       Not at this time. I had only recently
     7   Q        Okay. And do you know if Kitcha            7   joined the company within days of this email, so
     8   left --                                             8   I did not know anything about the bonus payouts
     9           Is it a -- I'm sorry. Is it a male or       9   by that point.
    10   female?                                            10   MS. HERZFELD:
    11   A        Male.                                     11   Q       Okay. And then number 3, it looks like
    12   Q        Okay. Do you know if Kitcha left on       12   there's some introduction of you to the -- to the
    13   his own volition or if he was terminated?          13   group.
    14   A        Kitcha left on his own volition.          14   A       Yes.
    15   Q        Okay. And was the performance of          15   Q       Okay. And then, below that, it says,
    16   Kitcha satisfactory during his employment?         16   "Folks, stay focused on Exalgo, Sumavel and
    17   A        Yes.                                      17   Pennsaid."
    18   Q        Okay. And, so, when you received this     18          What is Sumavel?
    19   email, did you respond to it in any way? Do you    19   A       Sumavel was a very small product in
    20   recall?                                            20   comparison, and I don't -- I don't recall a whole
    21   A        I don't recall responding to the email.   21   lot about Sumavel.
    22   I may have, but I don't recall specifically.       22   Q       Okay. Do you know if it was an opioid
    23   Q        Okay. And do you know if any              23   product?
    24   information in this email was incorrect?           24   A       I don't recall.
    25   MR. DAVISON:                                       25   Q       Okay. And Pennsaid, was that an opioid
                                                Page 239                                                 Page 241
     1          Objection to form.                           1   product?
     2   MS. HERZFELD:                                       2   A       No.
     3   Q       Let me back up.                             3   Q       Okay. And but had "HQ" --
     4   A       Okay.                                       4          And I'm assuming that means
     5   Q       I'll ask you a more specific question.      5   headquarters?
     6   A       Okay.                                       6   A       Yes.
     7   Q       Looks like some people might have heard     7   Q       -- "worry about our launch plans."
     8   that there was a car allowance. Do you know what    8          Do you know what they're referring to
     9   that was about?                                     9   there with launch plans?
    10   MR. DAVISON:                                       10   MR. DAVISON:
    11          Objection to form.                          11          Objection to form.
    12   A       I had only recently joined the             12   A       I -- I can't speculate about what
    13   organization. When I did so, there had been -- I   13   Kitcha was speaking or was thinking about with
    14   learned that there had been recently internal      14   that statement.
    15   discussion of moving from leased company cars to   15   MS. HERZFELD:
    16   a car allowance or a lease management program      16   Q       Okay. And then the next statement is,
    17   managed by Runzheimer.                             17   "You only have one responsibility, sell baby
    18   Q       Okay. It looks like that didn't            18   sell."
    19   happen?                                            19          Did I read that correctly?
    20   A       It did not.                                20   A       Yes.
    21   Q       At least during your tenure.               21   Q       Okay. And was that kind of the mantra
    22   A       While I was there.                         22   of the sales department?
    23   Q       Sorry. I didn't mean to talk over you.     23   MR. DAVISON:
    24   That's my fault. My apologies.                     24          Objection to form.
    25          Okay. And then it says, number 2,           25   A       I'm not aware of a mantra.

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                                                                             Review
                                                Page 242                                                          Page 244
     1   MS. HERZFELD:                                       1           CERTIFICATE
     2   Q       Was Kitcha incorrect when he said "You      2
     3   only have one responsibility, sell baby sell"?      3        I do hereby certify that the above and
                                                             4 foregoing transcript of proceedings in the matter
     4   MR. DAVISON:
                                                             5 aforementioned was taken down by me in machine
     5          Objection to form.
                                                             6 shorthand, and the questions and answers thereto
     6   A       I'm sorry. You asked was he incorrect?      7 were reduced to writing under my personal
     7   MS. HERZFELD:                                       8 supervision, and that the foregoing represents a
     8   Q       Was he -- I mean, was he correct? Was       9 true and correct transcript of the proceedings
     9   that right? You have one responsibility, sell      10 given by said witness upon said hearing.
    10   baby sell?                                         11       I further certify that I am neither of
    11   MR. DAVISON:                                       12 counsel nor of kin to the parties to the action,
    12          Objection to form.                          13 nor am I in anywise interested in the result of
    13   A       That's -- that's Kitcha's statement.       14 said cause.
    14   That was not a Mallinckrodt statement. So I -- I   15
    15   don't quite know how to answer your question.      16
                                                            17
    16   MS. HERZFELD:
                                                            18
    17   Q       Okay. Did you respond at all to this
                                                                             LOIS ANNE ROBINSON, RPR, RMR
    18   email?                                             19               REGISTERED DIPLOMATE REPORTER
    19   MR. DAVISON:                                                        CERTIFIED REALTIME REPORTER
    20          Objection to form.                          20
    21   A       I don't recall having responded to it.     21
    22   I may have.                                        22
    23   MS. HERZFELD:                                      23
    24   Q       Okay. Do you recall having any             24
    25   conversations about this email?                    25

                                                Page 243                                                          Page 245
     1   A       I don't -- I don't recall.                  1           ERRATA PAGE
     2   Q       Okay. If you'll just give me two            2
                                                             3          I, STACY CHICK, the witness herein, have
     3   minutes to take a break.
                                                                 read the transcript of my testimony, and the same
     4   VIDEOGRAPHER:                                       4   is true and correct, to the best of my knowledge,
     5          We are now going off the video record.           with the exceptions of the following changes noted
     6   The time is currently 4:03 p.m.                     5   below, if any:
     7              (OFF THE RECORD.)                        6   Page/Line Word/Words to be changed Correct Word
     8   VIDEOGRAPHER:                                       7   _________ ________________________ _____________
     9          We are now back on the video record.         8   _________ ________________________ _____________
    10   The time is currently 4:07 p.m.                     9   _________ ________________________ _____________
    11   MS. HERZFELD:                                      10   _________ ________________________ _____________
                                                            11   _________ ________________________ _____________
    12          Okay. Miss Chick, we're back on the
                                                            12   _________ ________________________ _____________
    13   record after a short break, and I don't have any   13   _________ ________________________ _____________
    14   further questions for you. Thank you for your      14   _________ ________________________ _____________
    15   time today.                                        15   _________ ________________________ _____________
    16   MR. DAVISON:                                       16   _________ ________________________ _____________
    17          We have no questions. Thanks.               17   _________ ________________________ _____________
    18   VIDEOGRAPHER:                                      18   _________ ________________________ _____________
    19          We are now going off the video record.      19   _________ ________________________ _____________
                                                            20   _________ ________________________ _____________
    20   The time is currently 4:07 p.m. This is the end
                                                            21
    21   of media number 5 and the end of the deposition.                    ____________________________
    22        (Deposition concluded at 4:07 p.m.)           22                DEANNA STACY AYERS CHICK
    23
                                                            23
    24                                                      24
    25                                                      25


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                                                                             Review
                                                          Page 246
     1           DECLARATION OF WITNESS
     2
     3        I, the undersigned, declare under penalty
     4 of perjury that I have read the foregoing
     5 transcript, and I have made any corrections,
     6 additions, or deletions that I was desirous of
     7 making; that the foregoing is a true and correct
     8 transcript of my testimony contained herein.
     9       EXECUTED this ______ day of ____________,
    10 2019, at ____________________, ___________________.
              (City)          (State)
    11
    12
    13
    14
    15
                   _______________________________
    16             DEANNA STACY AYERS CHICK
    17
    18
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    25




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